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KRISTY BECK-MILLER, VOL. 2                                    MICHAEL J. DANIELS, ET AL v. AETC II PRIVATIZED HOUSING, LLC, ET AL


                                                                                                               Page 1

                                    IN THE UNITED STATES DISTRICT COURT
                                     FOR THE WESTERN DISTRICT OF TEXAS
                                            SAN ANTONIO DIVISION

               MICHAEL J. DANIELS, ET AL., )
                                           )
                   PLAINTIFFS,             )
                                           )
               VS.                         ) CASE NO.
                                           ) SA-19-CA-01280-FB
               AETC II PRIVATIZED HOUSING, )
               LLC, ET AL.,                )
                                           )
                    DEFENDANTS.            )


               ****************************************************

                                             ORAL DEPOSITION OF

                                             KRISTY BECK-MILLER

                                                MAY 5, 2022

                                                 VOLUME TWO

               ****************************************************

                                      THE ORAL DEPOSITION of KRISTY BECK-MILLER,

               produced as a witness at the instance of the

               Defendants and duly sworn, was taken in the

               above-styled and numbered cause on the 5th day of

               May 2022, from 9:12 a.m. to 4:11 p.m., before

               TERRY L. SCHULTZ, Certified Court Reporter in and

               for the State of Texas, reported by stenographic and

               computer-aided transcription, at Pulman, Cappuccio &

               Pullen, LLP, 2161 NW Military Highway, Suite 400,

               San Antonio, Texas 78213, pursuant to the Federal

               Rules of Civil Procedure and the provisions stated
                                                                                                              EXHIBIT
                                                                                                                     17
Hoffman Reporting & Video Service                                                                                    210-736-3555
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                                                               Page 2                                                             Page 4
    1       on the record or attached hereto.                            1                I-N-D-E-X
    2                                                                    2       WITNESS:
    3                 S-T-I-P-U-L-A-T-I-O-N-S                                    KRISTY BECK-MILLER                                  PAGE
    4                                                                    3
    5              It is further stipulated and agreed by                4       Stipulations ................................... 2
    6       and between counsel for the respective parties               5       Appearances .................................... 3
                                                                         6       Index .......................................... 4
    7       hereto that the original of the deposition of
                                                                         7       Exhibit Index .................................. 4-5
    8       KRISTY BECK-MILLER shall be sent to RYAN C. REED,
                                                                         8       Examination by Mr. Boone ....................... 6
    9       the attorney for the witness, for the purpose of
                                                                         9       Witness Signature Page ......................... 226
   10       obtaining the signature of the witness thereon              10       Reporter's Certificate ......................... 227
   11       before any notary public.                                   11
   12                                                                   12             E-X-H-I-B-I-T I-N-D-E-X
   13                                                                   13       EXHIBIT                      PAGE
   14                                                                            NO.        DESCRIPTION          MARKED
   15                                                                   14
   16                                                                   15       Exhibit 26        Hill Summary Letter and Report 7
   17                                                                   16       Exhibit 27        Invoice                   8
   18
                                                                        17       Exhibit 28        Invoice                   9
                                                                        18       Exhibit 29        Invoice                  10
   19
                                                                        19       Exhibit 30        Invoice                  11
   20
                                                                        20       Exhibit 31        Invoice                  12
   21                                                                   21       Exhibit 32        Invoice                  12
   22                                                                   22       Exhibit 33        Invoice                  12
   23                                                                   23       Exhibit 34        Field Notes for Daniels Home   13
   24                                                                   24       Exhibit 35        Field Notes for Wolf home     18
   25                                                                   25

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    1               A-P-P-E-A-R-A-N-C-E-S                                1     E-X-H-I-B-I-T I-N-D-E-X C-O-N-T-I-N-U-E-D
    2                                                                    2   EXHIBIT                      PAGE
           FOR THE PLAINTIFFS:                                               NO.          DESCRIPTION         MARKED
                                                                         3
    3                                                                    4   Exhibit 36 Chain of Custody for Vinales        18
              RYAN C. REED                                                            Home
    4         PULMAN, CAPPUCCIO & PULLEN, LLP                            5
              2161 NW Military Highway, Suite 400                            Exhibit 37   Excerpt from S520            20
    5         San Antonio, Texas 78213                                   6
              PHONE: (210) 222-9494                                          Exhibit 38   Rachel Adams Report             28
    6         E-MAIL: rreed@pulmanlaw.com                                7
                                                                             Exhibit 39   Video Transcript           58
    7         ROBERT E. BRZEZINSKI
                                                                         8
              WATTS GUERRA, LLP                                              Exhibit 40   George Coto's Report         70
    8         Four Dominion Drive, Bldg. 3, Suite 100                    9
              San Antonio, Texas 78257                                       Exhibit 41   E-Mail Correspondence           167
    9         PHONE: (210) 477-0500                                     10
              E-MAIL: rbrzezinski@wattsguerra.com                            Exhibit 42   E-Mail Correspondence           168
   10                                                                   11
   11      FOR THE DEFENDANTS:                                               Exhibit 43   E-Mail Correspondence           169
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   12        WALTER H. BOONE                                                 Exhibit 44   E-Mail Correspondence           173
             BALCH & BINGHAM, LLP                                       13
   13        188 East Capitol Street, Suite 1400                             Exhibit 45   E-Mail Correspondence           172
             Jackson, Mississippi 39201                                 14
   14        PHONE: (601) 961-9900                                           Exhibit 46   E-Mail Correspondence           193
             FAX: (601) 961-4466                                        15
   15        E-MAIL: wboone@balch.com                                        Exhibit 47   Social Media Messages           195
   16                                                                   16
                                                                             Exhibit 48   E-Mail Correspondence           210
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   18                                                                        Exhibit 49   E-Mail Correspondence           211
   19                                                                   18
   20      ALSO PRESENT:                                                     Exhibit 50   E-Mail Correspondence           211
   21                                                                   19
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   22         The Witness; and                                          20
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   23         TERRY L. SCHULTZ,                                         21            Rebuttal Expert Witness
              Certified Court Reporter.                                 22   Exhibit 53 Witness's Handwritten List        223
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                         -oOo-                                          24
   25                                                                   25


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                                                       Page 6                                                               Page 8
    1                  P-R-O-C-E-E-D-I-N-G-S                         1       Q. Remember the designation list that we
    2                  KRISTY BECK-MILLER,                           2    went through where we got all five of the reports in
    3        having been previously duly sworn, testified as         3    the Daniels case and then the two letters?
    4        follows:                                                4       A. Yes.
    5                     EXAMINATION                                5       Q. Okay. And the Hill report was not one of
    6        BY MR. BOONE:                                           6    the reports that you listed that you were basing
    7           Q. As a reminder, Ms. Miller, this is a              7    your opinions on in this case, true?
    8        continuation of your deposition, so you're still        8       A. True.
    9        under oath. You understand that, correct?               9       Q. All right. And the Hill is a separate
   10           A. Correct.                                         10    case, and we may have to come back and talk about
   11           Q. And have you had any conversations with          11    what you learned there.
   12        anyone regarding the substance of your testimony?      12       A. Okay.
   13           A. No.                                              13       Q. But for purposes of the Daniels case, you
   14                 MR. REED: Just I want to clarify.             14    are not relying on any conclusions or facts or data
   15        We have had conversations regarding the documents      15    gathered at the Hill residence to opine in the
   16        that you requested. But other than identifying         16    Daniels case; is that true?
   17        documents, no substance.                               17       A. That is true.
   18                 MR. BOONE: Okay. Thank you.                   18       Q. Okay. Next, I'm going to show you --
   19           Q. (By Mr. Boone) And you have now produced         19    Maybe we'll do this separately. You had a series of
   20        some documents which were called for by the            20    invoices that you located. Is that correct?
   21        subpoena, correct?                                     21       A. Correct.
   22           A. Correct.                                         22       Q. I'm going to mark the first one as
   23           Q. And I wanted to kind of walk through some        23    Exhibit 27 and get you to identify that for us.
   24        of those. And we might as well go ahead and mark       24              (Exhibit 27 marked.)
   25        them.                                                  25              MR. REED: Walter, I'd just like to


                                                       Page 7                                                               Page 9
    1                  (Exhibit 26 marked.)                          1    say with the exception of Exhibit 27, the other
    2           Q. (By Mr. Boone) The first one is Exhibit           2    invoices I thought had been produced. And so
    3        Number 26, which is your report in the Hill -- from     3    forgive me if they have not and you're just seeing
    4        that Hill inspection; is that correct?                  4    them for the first time this morning.
    5           A. Correct.                                          5             MR. BOONE: All right.
    6           Q. I didn't put it together till today, but          6       Q. (By Mr. Boone) So can you tell us what
    7        you did that inspection on the same day that you did    7    Exhibit 27 is?
    8        Paisano and Hiatt, right?                               8       A. It is the invoice for travel and the
    9           A. I suppose so. Per the date, yeah.                 9    deposition for this week.
   10           Q. Okay. Well, you don't have an                    10       Q. Okay. And you're producing that pursuant
   11        independent recollection of that?                      11    to the subpoena that we issued?
   12           A. No.                                              12       A. Correct.
   13           Q. Okay. But you agree that the Hill                13       Q. All right. I'll show you an invoice
   14        inspection was for a separate home, right?             14    we'll mark as Exhibit 28.
   15           A. Correct.                                         15             (Exhibit 28 marked.)
   16           Q. And the Hill plaintiffs are actually in a        16       Q. (By Mr. Boone) And if you'd identify 28
   17        separate case, right?                                  17    for us?
   18                  MR. REED: I don't think she knows            18       A. This is the invoice for the Hiatt home on
   19        that. But yes, we'll stipulate to that.                19    December 13th, 2019.
   20                  THE WITNESS: Okay. Yes.                      20       Q. All right. And we were talking about how
   21           Q. (By Mr. Boone) And when we went through          21    much you charge. So for the Hiatt, the
   22        the list of things you were opining about and the      22    full-meal-deal Hiatt inspection, you charged $1550?
   23        reports that you opined about, you did not include     23       A. Correct.
   24        the Hill report in that list, correct?                 24       Q. So that includes the initial mold
   25           A. Correct.                                         25    assessment of $650, right?


                                                                                                3 (Pages 6 to 9)
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                                                      Page 10                                                              Page 12
    1           A. Correct.                                           1              (Exhibit 31 marked.)
    2           Q. And then the air sampling for 750, right?          2       Q. (By Mr. Boone) And then I'll show you
    3           A. Yes. Correct.                                      3    the last one from that time, Exhibit Number 31.
    4           Q. And then you charged for the ATP swabs of          4    Tell us what that is.
    5        150?                                                     5       A. This is an invoice dated December 13,
    6           A. Correct.                                           6    2019, for $1800 for travel expenses and being out of
    7           Q. And for the air samples, you told me that          7    the office for several days.
    8        your cost on those was somewhere in the neighborhood     8       Q. Okay. So you add that to the total list
    9        of 30 to 40 dollars per sample?                          9    I gave before, and that's how much you were paid for
   10           A. Correct.                                          10    the December inspection, true?
   11           Q. All right. All right.                             11       A. True.
   12                 (Exhibit 29 marked.)                           12              (Exhibit 32 marked.)
   13           Q. (By Mr. Boone) I'll show you Exhibit 29.          13       Q. (By Mr. Boone) I'm going to show you
   14        Tell us what that is.                                   14    Exhibit Number 32. Tell us what this is.
   15           A. This is the bill for -- the invoice for           15       A. It's billed on January 10th, 2020, and
   16        the Hill home on December 13th.                         16    it's hourly rate for conference call with Ryan Reed.
   17           Q. And how much is that invoice?                     17       Q. All right. And that was billed to Ryan
   18           A. 1475.                                             18    Reed?
   19           Q. What's the difference between that one            19       A. Yes.
   20        and the one we just looked at?                          20              (Exhibit 33 marked.)
   21           A. The number of samples.                            21       Q. (By Mr. Boone) I'll show you Exhibit
   22           Q. All right. So you charged the customer            22    Number 33. Can you tell us what that is?
   23        how much per sample?                                    23       A. Invoice on January 16th, 2020, an hourly
   24           A. 75 per sample.                                    24    rate for writing a letter for -- on a Randolph case
   25           Q. I see. Okay. It's sitting right there.            25    working on Hills drawing, letters and e-mails for


                                                      Page 11                                                              Page 13
    1                  So we can just do the math on however          1    three hours.
    2         many samples the report had, air samples or tape or     2       Q. It says "fixing Hills drawing." Do you
    3         swab samples, and multiply that times 75, and that's    3    remember what that is?
    4         how much they'll get charged?                           4       A. I think I had to go in and kind of make
    5            A. Yes.                                              5    it a little bit clearer as to what I was wanting and
    6            Q. All right. Let's mark Exhibit Number 30.          6    to do the colors on it.
    7         And you can tell us what this is.                       7       Q. And it says "letters and e-mails."
    8                  (Exhibit 30 marked.)                           8       A. Right.
    9                  THE WITNESS: Invoice dated                     9       Q. To whom?
   10         December 13, 2019, the Paisano home.                   10       A. I'm not a hundred percent sure that I
   11            Q. (By Mr. Boone) So this is the third one          11    remember.
   12         that you did on that same day for December 10th,       12       Q. All right. And the next in the stack are
   13         correct?                                               13    documents broken down by particular home; is that
   14            A. Correct.                                         14    right?
   15            Q. And how much is this one?                        15       A. Correct.
   16            A. $1925.                                           16               (Exhibit 34 marked.)
   17            Q. And again, the difference is what?               17       Q. (By Mr. Boone) So I'll show you Exhibit
   18            A. The number of samples.                           18    Number 34. Can you identify that for us?
   19            Q. Were all of these -- These invoices, all         19       A. This is the field notes that I took while
   20         three were charged to the particular families -- Oh,   20    I was in the Daniels home on April 5th of 2019.
   21         no. They were charged to Ryan Reed.                    21       Q. All right. So here is the -- you have
   22            A. Correct.                                         22    the -- and we'll talk about this when we talk about
   23            Q. So on that occasion, you charged and             23    the Daniels report. But you have one of the Daniels
   24         collected $1925 plus $1475 plus $1550, correct?        24    e-mail addresses right here on the front page,
   25            A. Correct.                                         25    right?


                                                                                           4 (Pages 10 to 13)
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                                                    Page 14                                                              Page 16
    1           A. Correct.                                         1    where I make my additional notes and kind of draw
    2           Q. And then it says, on the third page,             2    what needs to be removed.
    3        "Limited preliminary water impact and microbial        3       Q. All right. And then the last page is
    4        assessment." And you have written observations         4    what?
    5        there, right?                                          5       A. It's if a post -- if the post-testing had
    6           A. Correct.                                         6    been done after remediation, I would have put my
    7           Q. And when you say "VMG," that's when              7    notes in there.
    8        you're talking about visible mold growth, correct?     8       Q. Okay. So the way I'm looking at this --
    9           A. Correct.                                         9    and you tell me if I'm wrong -- the way the pages
   10           Q. And we kind of agreed yesterday that            10    are numbered, this is like a little packet that you
   11        without these, that if you didn't see something,      11    take with you to every job; is that right?
   12        that meant that there was nothing there. Is that      12       A. Correct.
   13        fair?                                                 13       Q. So at the bottom center of each page, it
   14           A. Fair.                                           14    says Page 1, 2, 3, 4, 5, 6. So you spit these out
   15           Q. So if there's nothing written here, then        15    and take blank copies of this in hard copy to each
   16        we can assume that there was no visible mold growth   16    job, right?
   17        or no moisture damage or no water damage. Fair?       17       A. It's on my computer.
   18           A. Fair.                                           18       Q. Right. But then you handwrite the stuff
   19           Q. All right. So the only examples of that         19    on there at the job?
   20        in this house are in the observations section,        20       A. Correct.
   21        correct?                                              21       Q. Okay. So you have a hard copy of this
   22           A. Correct.                                        22    for each mold assessment that you do?
   23           Q. And then you have some notes regarding          23       A. Not hard copy. It's on the computer.
   24        relative humidity?                                    24       Q. So you write it --
   25           A. Correct.                                        25       A. I have a Surface Pro, so I write it on


                                                    Page 15                                                              Page 17
    1            Q. And it says, "Fluctuates between 57 and         1     there.
    2         47." What does that mean?                             2        Q. Okay. Excellent.
    3            A. Between 57 and 47 percent.                      3              So there's an electronic version of
    4            Q. Okay. But is that in the same room at           4     each one of these somewhere?
    5         different times or different rooms?                   5        A. Somewhere.
    6            A. It's kind of just going throughout the          6        Q. And this is the one for the field notes
    7         house.                                                7     for Barbara Daniels, correct?
    8            Q. So different rooms had different relative       8        A. Correct.
    9         humidities?                                           9        Q. And before last night, you had not even
   10            A. Right.                                         10     looked for this, correct?
   11            Q. But you don't write down which one is          11        A. I believed I had sent them all to Ryan
   12         which?                                               12     months and months ago.
   13            A. Correct.                                       13        Q. But did you?
   14            Q. And then the listing of the samples --         14        A. I don't recall. I didn't send this to
   15         Well, what's the bottom half? Is that your --        15     him last night. It was in his files.
   16            A. It's the ATP samples.                          16        Q. I see. Okay. So counsel's producing
   17            Q. So that's what the numbers that you read       17     this. But you believe you sent it to him when?
   18         off the screen?                                      18        A. I can't recall.
   19            A. Yes.                                           19        Q. Months and months and months ago?
   20            Q. But you didn't take a picture of those?        20        A. Yeah.
   21            A. I do not recall. It would -- I haven't         21        Q. All right. Let's table that for the time
   22         seen the report.                                     22     being.
   23            Q. All right. And then the next page is           23              MR. REED: Walter, can we go off the
   24         what?                                                24     record for a moment?
   25            A. These are my drawings for my floor plan        25              MR. BOONE: Yes.


                                                                                         5 (Pages 14 to 17)
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                                                     Page 18                                                              Page 20
    1                   (Short break.)                               1        A. Fair.
    2                   (Exhibit 35 marked.)                         2        Q. All right. And you are going to do that
    3            Q. (By Mr. Boone) I'm going to show you             3    when we adjourn?
    4         what's been marked as Exhibit 35. See if you can       4        A. Correct.
    5         identify this for me.                                  5        Q. Okay.
    6            A. This is the field notes for the Wolf             6              (Exhibit 37 marked.)
    7         home.                                                  7        Q. (By Mr. Boone) All right. I want to go
    8            Q. All right. And it's the same pages that          8    finish up a couple of things that we talked about
    9         are referenced below before, correct?                  9    yesterday. I'm going to show you Exhibit 37. I
   10            A. Correct.                                        10    corrected my mistake from yesterday and copied an
   11            Q. And again, you got the same observations        11    excerpt of S520, the right one, that I wanted you to
   12         listed there, right?                                  12    look at. Do you see that?
   13            A. Yes.                                            13        A. Yes.
   14            Q. The sampling locations, right?                  14        Q. Do you recognize that as an excerpt from
   15            A. Correct.                                        15    S520?
   16            Q. Then a floor plan?                              16        A. Yes.
   17            A. Correct.                                        17        Q. And you remember yesterday, we were
   18            Q. All right. So that's for the Wolfs.             18    talking about the definitions of conditions,
   19                   (Exhibit 36 marked.)                        19    correct?
   20            Q. (By Mr. Boone) The last one we'll mark          20        A. Correct.
   21         is Exhibit 36. And tell us what that is.              21        Q. And these are -- S520 deals with the --
   22            A. This is a chain of custody for the              22    it's the mold remediation standard, correct?
   23         Vinales home.                                         23        A. Correct.
   24            Q. And is this the only chain of custody           24        Q. And so this gives mold remediation
   25         that you had in your records?                         25    contractors the guidelines by which they should do


                                                     Page 19                                                              Page 21
    1           A. I have to finish -- I have to go into the         1     their work, correct?
    2        portal to see if I can find the rest of them.           2        A. Correct.
    3           Q. Okay. But this is certainly a chain of            3        Q. And one of the things that it requires is
    4        custody for the sampling that you did on the Vinales    4     an assessment of the particular condition for the
    5        home, correct?                                          5     particular area of concern, correct?
    6           A. Yes.                                              6        A. Correct.
    7           Q. Did you find any field notes for Vinales?         7        Q. And it's not that you give a condition
    8           A. Not yet, sir.                                     8     for the house as a whole; it is that you give the
    9           Q. But you believe that they were stored             9     condition for particular locations within the home
   10        electronically like the others, correct?               10     that you see. Fair?
   11           A. Correct.                                         11              MR. REED: Objection; form.
   12           Q. And do you know whether you produced the         12              THE WITNESS: Fair.
   13        field notes in Vinales to Mr. Reed, or do you know?    13        Q. (By Mr. Boone) And you see here, on
   14           A. I do not recall.                                 14     Exhibit 37, the definition of the conditions that
   15           Q. Okay. Now, the documents that we have            15     are there, correct?
   16        just been through, are those up-to-date in terms       16        A. Correct.
   17        of -- are there any other documents that you are       17        Q. And the actual language is there. But as
   18        aware of that you have or have given to Mr. Reed       18     I understand it, Condition 2 is basically the
   19        that are subject to our subpoena that are not          19     presentation of settled spores, correct?
   20        included there?                                        20        A. Correct.
   21           A. Not that I'm aware of.                           21              MR. REED: Objection; form.
   22           Q. And you were starting to make a list             22        Q. (By Mr. Boone) And Condition 3 is the
   23        yesterday of the things that were subject to the       23     presence of actual mold growth; is that correct?
   24        subpoena that you believed you had and you were        24              MR. REED: Objection; form.
   25        going to look for. Fair?                               25              THE WITNESS: Correct.


                                                                                          6 (Pages 18 to 21)
Hoffman Reporting & Video Service                                                                                               210-736-3555
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                                                      Page 22                                                              Page 24
    1           Q. (By Mr. Boone) And is that the primary             1       Q. It says it right there, right?
    2        distinction between the two?                             2       A. Scientifically.
    3           A. Yes.                                               3       Q. So you're saying that the definition of
    4           Q. All right. So if you -- So to know that            4    Condition 2 scientifically is vague and subject to
    5        you have Condition 2, you obviously have to do some      5    multiple interpretations?
    6        sort of testing, correct?                                6       A. Correct.
    7           A. Correct.                                           7       Q. Okay. So then if I now understand what
    8           Q. Because you cannot see a spore with your           8    you're telling me, you would say that if there is
    9        eye, right?                                              9    visible mold anywhere in the home, you have
   10           A. Correct.                                          10    Condition 3 in that area?
   11           Q. And you do not know that Condition 2              11       A. Correct.
   12        exists without either an air sample or a tape sample    12       Q. And therefore, you have Condition 2, not
   13        or a swab sample, which are looking for the presence    13    only in that area, but everywhere else in the home.
   14        of spores, correct?                                     14    Is that what you're telling us?
   15           A. Correct.                                          15       A. Typically, it's to that area. But when
   16           Q. And I think you told us yesterday that            16    you have several areas, it goes to the home.
   17        your general assumption is that spores are              17       Q. How many areas of visible mold growth
   18        everywhere, right?                                      18    does it take before you say there's Condition 2
   19           A. Correct.                                          19    throughout the home?
   20           Q. And it's not an assumption; it actually           20       A. There's no standard for that.
   21        is a fact, right?                                       21       Q. That is all Kristy Beck-Miller saying
   22           A. Correct.                                          22    what she says?
   23           Q. And that everywhere in the indoor                 23       A. Correct.
   24        environment, in your opinion, is Condition 2,           24       Q. All right. Well, did you -- And we
   25        because spores are everywhere?                          25    talked about this in connection with the language in


                                                      Page 23                                                              Page 25
    1            A. Correct.                                          1    all of your reports. If you remember the Hiatt
    2            Q. So when it says -- So basically, every            2    report, Exhibit 9?
    3         assessment, in your opinion, is at least                3       A. Yes.
    4         Condition 2. Is that fair?                              4       Q. Remember that language in that second
    5            A. Yes.                                              5    bullet point?
    6            Q. All right. And so there are no                    6       A. Yes.
    7         Condition 1 locations that you have assessed, true?     7       Q. All right. So here you say Condition 3,
    8            A. True.                                             8    that's visible mold growth, slash, Condition 2,
    9            Q. All right. And you make that assumption           9    which is the presence of spores, right?
   10         without testing for each particular location. Fair?    10       A. Correct.
   11            A. Fair.                                            11       Q. And all you're saying in this -- Well,
   12            Q. Meaning, you come to this with the idea          12    let me ask you. What are you saying when you say
   13         that spores are everywhere, therefore, I'm going to    13    this? That you discovered visible mold somewhere in
   14         say there's Condition 2 everywhere, basically,         14    the house?
   15         correct?                                               15       A. Correct.
   16            A. If there's Condition 3.                          16       Q. On something?
   17            Q. Okay. But you don't just limit the               17       A. Correct.
   18         presentation of Condition 2 to the areas where there   18       Q. Not everything?
   19         is visible mold growth, do you?                        19       A. Correct.
   20            A. Typically, it's part of -- if there's            20       Q. And that is Condition 3?
   21         Condition 3, it's always been taught to do             21       A. Correct.
   22         Condition 2 and 3. And it is just --                   22       Q. What are you saying with respect to
   23            Q. Okay.                                            23    Condition 2 and the presence of spores?
   24            A. Unfortunately, there is not a good               24       A. That it is probable that because you have
   25         definition of what Condition 2 is.                     25    active mold growth, areas of active mold growth,


                                                                                           7 (Pages 22 to 25)
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    1        that it's probably -- you could have Condition 2.       1    the shower, for example?
    2           Q. Okay. In that location or throughout the          2       A. Correct.
    3        home?                                                   3       Q. Okay. And so even if the only place I
    4           A. In that location.                                 4    have in my house is in my washing machine area or in
    5           Q. Okay.                                             5    my shower, you're going to give this same bullet
    6           A. Also depending on where that location is.         6    point?
    7           Q. Okay. So this is -- and I'm not trying            7       A. Correct.
    8        to be critical, but this is kind of -- if you see       8       Q. All right. And that doesn't mean that
    9        visible mold growth anywhere in a home, you're going    9    the whole house is contaminated or that all the
   10        to get this same statement from you; is that true?     10    contents are ruined or anything else. It's just --
   11           A. True.                                            11       A. Correct.
   12           Q. And again, I'm not being flippant, but           12              MR. REED: Objection; form.
   13        there are areas in my home right now that have         13       Q. (By Mr. Boone) -- that there was visible
   14        visible mold growth. In my house in the washing        14    mold growth in a single location, and from that,
   15        machine area, it's an enclosed nook where the          15    you're assuming that spores are present. Fair?
   16        moisture stays in there, and there is visible mold     16       A. Fair.
   17        growth on the ceiling in there. You would give me      17              (Exhibit 38 marked.)
   18        the same assessment from this bullet point that        18       Q. (By Mr. Boone) All right. And we were
   19        you're giving all of these plaintiffs; is that true?   19    talking a bit about contents. And I just wanted to
   20           A. True.                                            20    circle that up, and then we can move on. I'm going
   21           Q. Okay.                                            21    to show you Exhibit 38, which is the report of
   22                  MR. REED: Would you like my business         22    Rachel Adams. Have you seen that before?
   23        card?                                                  23       A. I don't recall seeing this one.
   24                  MR. BOONE: Please. I might need              24       Q. Okay. She is a mold remediation
   25        that.                                                  25    contractor. And she did analysis -- looked at your


                                                     Page 27                                                              Page 29
    1                  THE WITNESS: Might need mine first.           1    reports and then looked at them side by side with
    2           Q. (By Mr. Boone) And I'm not being funny,           2    the two standards we've been talking about, S500 and
    3        but that really means, it seems to me, it's less        3    S520. Are you with me?
    4        severe than it reads.                                   4       A. Yes.
    5           A. Definitely.                                       5       Q. And I'm not going to -- I'm going to ask
    6                  MR. REED: Objection; form.                    6    you particular questions about it. You can take a
    7           Q. (By Mr. Boone) Okay. It reads like this           7    look at the whole thing or whatnot. But I think
    8        particular home has mold growth everywhere. And         8    these are some of the things that you told me
    9        that's not what you're saying?                          9    yesterday, and I just want to make sure I've got it
   10           A. Correct.                                         10    right.
   11           Q. And it reads like this particular home           11       A. Okay.
   12        has mold spores everywhere. And that's not what        12       Q. So going to Page 3 of her report,
   13        you're saying?                                         13    Exhibit 38, where it says "contents."
   14           A. Correct.                                         14       A. Yes.
   15           Q. You're saying that you saw visible mold          15       Q. Are you with me?
   16        growth in a single location or maybe more, and that    16       A. Yes.
   17        because of that, you're saying both of those           17       Q. And that's what we're going to be talking
   18        conditions may be present?                             18    about, is contents. Are you with me?
   19           A. Correct.                                         19       A. Yes.
   20           Q. All right. And you're not saying                 20       Q. All right. And she writes that S520 has
   21        anything more than that, right?                        21    adopted common features and requirements of an
   22           A. No.                                              22    appropriate contents remediation. And then she
   23           Q. And in terms of like who this same               23    lists some of the things that the standard provides.
   24        statement might apply to, it would apply to every      24    Correct?
   25        home where you see any visible mold growth, even in    25       A. Correct.


                                                                                          8 (Pages 26 to 29)
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    1            Q. And those are -- And that's true, right?         1    information.
    2            A. Yes.                                             2       A. Correct.
    3            Q. All of those things are in the standard?         3       Q. And it is also information that must be
    4            A. Correct.                                         4    done and must be performed by an expert, correct?
    5            Q. And then she cites to 9.3.2, says that           5       A. Correct.
    6         "documentation relating to contents should include     6       Q. A person like me, who doesn't have
    7         contents and personal property inventories," and       7    training or a license, cannot make that decision,
    8         then gives all of the other things that are            8    correct?
    9         required, true?                                        9       A. Correct.
   10            A. True.                                           10       Q. Because I don't have a mold remediation
   11            Q. And then she says that S520 also requires       11    consultants license, do I?
   12         the remediator to select the most appropriate         12       A. No.
   13         cleaning method for the situation, correct?           13              MR. REED: Objection; form.
   14            A. Correct.                                        14       Q. (By Mr. Boone) And I have to have one to
   15            Q. And that is in the standard?                    15    do this in Texas, true?
   16            A. Yes.                                            16       A. True.
   17            Q. All right. And that's based on what the         17       Q. So this is not something that a plaintiff
   18         thing is made of, the condition of it, where it is,   18    in this case can do on their own; they must have an
   19         and those kinds of things?                            19    expert to do it, true?
   20            A. Correct.                                        20       A. True.
   21            Q. Again, all in the standard, right?              21       Q. And to your knowledge, there is no expert
   22            A. Right.                                          22    on the contents remediation portion, correct?
   23            Q. And then she says, "After a review of the       23              MR. REED: Objection; form.
   24         Adaptive reports, I did not see evidence where        24              THE WITNESS: Correct.
   25         Adaptive considered or documented any of the          25       Q. (By Mr. Boone) Because you didn't do it.


                                                     Page 31                                                              Page 33
    1        conditions above."                                      1       A. I did not.
    2                 And that's a true statement, correct?          2       Q. All right. Moving to -- She then goes on
    3          A. Correct.                                           3    to discuss S500. And if you would turn to Page 5 of
    4          Q. You did not document any of those                  4    her report. Do you see the section called
    5        conditions required by the standards S520, correct?     5    "contents"?
    6          A. Correct.                                           6       A. Yes.
    7                 MR. REED: Objection; form.                     7       Q. And she then does a similar analysis for
    8          Q. (By Mr. Boone) And that is because you             8    what's in S500 with respect to contents remediation.
    9        did not intend to and did not give any opinion          9    Do you see that?
   10        regarding contents remediation, true?                  10       A. Yes.
   11          A. True.                                             11       Q. And then she says that the S500 requires
   12          Q. And so if anybody did anything with               12    a determination of the category and then a
   13        contents based on your report, that was mistaken and   13    determination of the composition of affected
   14        an error, true?                                        14    materials. And that includes porosity and
   15                 MR. REED: Objection; form.                    15    restorability. Correct?
   16                 THE WITNESS: True.                            16       A. Correct.
   17          Q. (By Mr. Boone) All right. And she says,           17       Q. All these things are required by the
   18        "Without consideration of this information, a proper   18    standard; do you agree?
   19        contents remediation cannot be undertaken."            19       A. Agree.
   20                 Do you see that?                              20       Q. And it says that restorability is
   21          A. Yes.                                              21    dependant on the category of water, the time of
   22          Q. And that is true, correct?                        22    exposure, what the thing is made of, the cost of
   23          A. Correct.                                          23    restoration, the value of the thing, and the types
   24          Q. And that was not done, and contents               24    of value, whether it's sentimental or whatnot,
   25        remediation cannot be undertaken without that          25    right?


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    1            A. Right.                                            1      Q. Do you agree with that?
    2            Q. All of those things are listed in the             2      A. Yes.
    3         standard as well?                                       3      Q. All right. So sitting here today, again,
    4            A. Right.                                            4    you would need an expert to do that, correct?
    5            Q. And all of those things have to be                5      A. Correct.
    6         determined on an item-by-item basis, correct?           6      Q. You did not do that, right?
    7            A. Correct.                                          7      A. Correct.
    8            Q. And they have to be determined by a mold          8      Q. And those requirements for both S500 and
    9         remediation contractor, true?                           9    S520 with respect to contents were not done by you,
   10            A. True.                                            10    correct?
   11            Q. And there it says, "S500 further provides        11      A. Correct.
   12         that for each content, the type of service required    12      Q. And to your knowledge, have not been done
   13         can be restoration, disposal or preservation." And     13    by any expert, correct?
   14         the contractor has to decide that for each item,       14             MR. REED: Objection; form.
   15         true?                                                  15             THE WITNESS: Correct.
   16            A. True.                                            16      Q. (By Mr. Boone) And without an analysis
   17            Q. All right. And it talks about the                17    complying with those standards for contents, then we
   18         Chapter 15 of the reference guide. Because this        18    don't know which contents, if any, need to be
   19         standard has a separate reference guide, doesn't it?   19    remediated or what that process is, right?
   20            A. Yes.                                             20      A. Right.
   21            Q. And it talks about the process and               21      Q. And without that information -- And an
   22         procedure for the correct identification process and   22    expert has to tell us that, right?
   23         documentation of contents remediation, doesn't it?     23      A. Right.
   24            A. Yes.                                             24      Q. Okay. So wrapping up the Hiatt report,
   25            Q. And you are familiar with that standard,         25    which we discussed in length yesterday, you agree


                                                      Page 35                                                              Page 37
    1         right?                                                  1    that this is the sum total of your opinions with
    2            A. Yes.                                              2    respect to the Hiatts, correct?
    3            Q. Okay. And she then concludes that the             3       A. Correct.
    4         Adaptive reports do not contain any of the              4       Q. And you don't hold any opinions with
    5         information which is required by S500 and its           5    respect to the Hiatts that are not contained in this
    6         reference guide. Do you see that?                       6    report, correct?
    7            A. Yes.                                              7       A. Correct.
    8            Q. That's true, correct?                             8       Q. And all of the facts and data that you
    9            A. Pertaining to contents.                           9    considered are referenced within the report itself,
   10            Q. Yes.                                             10    true?
   11            A. Yes. Because we did not do that.                 11       A. True.
   12            Q. Right.                                           12       Q. And I think for the Hiatts, we went
   13            A. Okay.                                            13    through a couple of sampling results that you had in
   14            Q. So that's all we're talking about here,          14    advance, right?
   15         is contents.                                           15       A. Right.
   16            A. Okay.                                            16       Q. But for everybody else, it's what's in
   17            Q. And you agree that your report does not          17    the four corners of their report?
   18         contain any of that information with respect to        18       A. Correct.
   19         contents, correct?                                     19       Q. All right. Let's move on to the next
   20            A. Correct.                                         20    plaintiff, which I'd like to talk about the
   21            Q. And so she concludes, "Without following         21    Paisanos. So that's Exhibit Number 12. And if you
   22         these procedures and guidance and considering this     22    remember, this is the color version of the one that
   23         information, the nature and extent of any damage to    23    has the Bates-numbers on it, because I think we
   24         contents cannot be determined."                        24    might need to talk about pictures.
   25            A. Correct.                                         25       A. Okay.


                                                                                         10 (Pages 34 to 37)
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    1            Q. It's hard to see the pictures in the              1        Q. And so all of your testimony regarding
    2         black-and-white. But you've already confirmed that      2     that common language would be the same for this
    3         this is the one.                                        3     report as for the Hiatts, true?
    4                   So generally speaking, you would              4        A. True.
    5         agree, would you not, that this report contains all     5        Q. All right. Now, Exhibit 12, beginning on
    6         of your opinions with respect to the Paisano family;    6     the first page, gives that list of potential --
    7         is that correct?                                        7     Well, I can't tell, because it differs from report
    8            A. Correct.                                          8     to report, as to whether this is the laundry list of
    9            Q. And the Paisano mold assessment, true?            9     things that you offer or these are the things that
   10            A. True.                                            10     they chose. Do you know?
   11            Q. And there are no opinions with respect to        11        A. These, we did a visual assessment, the
   12         the Paisanos that are not contained in this report,    12     water testing, laser particle counts and air
   13         right?                                                 13     sampling.
   14            A. Correct.                                         14        Q. Okay. So I noticed, from your laundry
   15            Q. And all of the facts and data that you           15     list, you don't have bulk or tape samples on there;
   16         relied upon is referenced in this report; is that      16     is that correct?
   17         true?                                                  17        A. I will need to check the results.
   18            A. True.                                            18        Q. In the first page after the pictures,
   19            Q. And you believe that there would be field        19     there are some swab sample results there.
   20         notes for this one as well?                            20        A. Yes.
   21            A. Correct.                                         21        Q. Does that mean that that was selected?
   22            Q. And those have not been produced,                22        A. It was missing on this list.
   23         correct?                                               23        Q. Okay. So you did do swab samples, but
   24            A. Correct.                                         24     you don't list them on Exhibit 12?
   25            Q. Nor have they be produced for the Hiatts,        25        A. Correct.


                                                      Page 39                                                              Page 41
    1         correct?                                                1       Q. Okay. So is that just a mistake?
    2            A. Correct.                                          2       A. Yes.
    3            Q. The only two that you gave us were the --         3       Q. All right. And again, we're starting
    4            A. Wolf and Daniels.                                 4    with the transmittal letter, right?
    5            Q. Right.                                            5       A. Yes.
    6            A. Okay.                                             6       Q. All right. So let's talk about the next
    7            Q. So on the other three, we don't have              7    section, which is where you go room by room, right?
    8         field notes, correct?                                   8       A. Right.
    9            A. Correct.                                          9       Q. Okay. So you say the master bedroom, and
   10            Q. And all of the testing that you undertook        10    you reference there air samples and tape samples --
   11         is going to be referenced in the Paisano report,       11    I'm sorry. Is this just air samples?
   12         correct?                                               12       A. Yes, sir.
   13            A. Correct.                                         13       Q. Okay. And you note -- Well, let me ask
   14            Q. And there's no testing that you did that         14    you, because I think you'll agree with me. When you
   15         is not in that report, true?                           15    use the words "extremely elevated," that is
   16            A. True.                                            16    technically incorrect, right?
   17            Q. So this is -- The four corners of this           17       A. It is an opinion.
   18         report, Exhibit 12, is all the opinions you have on    18       Q. All right. Well, but it is an opinion
   19         the Paisanos, right?                                   19    that's not based on any scientific standard or
   20            A. Yes.                                             20    guideline?
   21            Q. All right. I'm going to do my best not           21       A. Correct.
   22         to cover plowed ground, but, like the Hiatt report,    22              MR. REED: Objection; form.
   23         a lot of the same language is in this one as well,     23       Q. (By Mr. Boone) The only accepted
   24         right?                                                 24    methodology is a comparison with the control sample,
   25            A. Right.                                           25    true?


                                                                                         11 (Pages 38 to 41)
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    1            A. True.                                           1    in the same location for one 15 minutes, turn the
    2            Q. And the sample for the master bedroom was       2    machine off, put another cassette in and test the
    3         higher than the outside control sample, true?         3    same area again, and get air sample results that are
    4            A. True.                                           4    tens of thousands of spores per cubic meter
    5            Q. But the accepted scientific standards say       5    different?
    6         that that's the only thing that you can say about     6       A. Correct.
    7         those results, true?                                  7       Q. And that's you doing it back to back?
    8            A. True.                                           8       A. Correct.
    9            Q. So when you say "extremely elevated,"           9       Q. Okay. The maid's quarters. You
   10         that is not based on any scientific analysis or      10    reference the mud room off the kitchen had an area
   11         standard, true?                                      11    of water damage. Do you recall that?
   12            A. True.                                          12       A. I believe so.
   13            Q. All right. The result on the master            13       Q. That was by the back door?
   14         bedroom also references Chaetomium, doesn't it?      14       A. Right.
   15            A. Yes.                                           15       Q. And do you remember also that we did a
   16            Q. And according to the test result, there        16    walk-through, all of us --
   17         was one spore --                                     17       A. Yes.
   18            A. Correct.                                       18       Q. -- on that occasion?
   19            Q. -- of that genera, correct?                    19       A. Uh-huh.
   20            A. Correct.                                       20       Q. And do you agree that you identified for
   21            Q. And how big is one spore? In the size of       21    us what was present and what you saw during that
   22         microns?                                             22    walk-through?
   23            A. A little over 10 microns.                      23       A. I remember vaguely.
   24            Q. 10 microns. Okay.                              24       Q. Do you remember that we videotaped that?
   25                   And can you see that with the naked        25       A. I believe so.


                                                    Page 43                                                              Page 45
    1        eye?                                                   1       Q. All right. And would you agree that that
    2            A. No.                                             2    videotape would accurately reflect what you
    3            Q. And how many of those size spores would         3    discovered in your visual observation?
    4        it take to fill the head of a pin?                     4       A. I believe so.
    5            A. Oh, gosh. I would have to --                    5       Q. And the reason I ask is because I don't
    6            Q. 100,000?                                        6    have the field notes, right?
    7            A. That would be a guess.                          7       A. Right.
    8            Q. It'd be a huge number, wouldn't it?             8       Q. And we were all there together to do a
    9            A. Right.                                          9    joint inspection, right?
   10            Q. Because that's super, super small.             10       A. Right.
   11            A. Correct.                                       11       Q. And we all wanted to know what it is that
   12            Q. All right. Bedroom 1. Air sample. You          12    you saw, right?
   13        would adopt the same statements regarding, your       13       A. Right.
   14        words, "extremely elevated," correct?                 14       Q. And you went, and we all followed you
   15            A. Correct.                                       15    throughout the house, and you pointed out everything
   16            Q. Not based on any scientific standard?          16    that you saw. Do you recall that?
   17            A. Correct.                                       17       A. Yes.
   18            Q. Bedroom 2. You would say the same thing        18       Q. Okay. Living room. You would say the
   19        with regards to extremely elevated, correct?          19    same -- In one of the areas was that -- I think it
   20            A. Correct.                                       20    was beside a door in that area. But we'll check
   21            Q. And maid's quarters. You have the same         21    that in just a second. Does that refresh your
   22        language, you would agree, also with that, right?     22    recollection?
   23            A. Yes.                                           23       A. No.
   24            Q. And when you say "extremely elevated,"         24       Q. No? Okay. Fair enough.
   25        you know from your own experience that you can test   25       A. It's been a long time.


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    1            Q. That's fair. It has.                            1    respect to personal items. You are withdrawing that
    2                   Living room. Same answer with               2    statement because you did not make any opinions
    3         respect to extremely elevated, correct?               3    regarding personal items at all, correct?
    4            A. Correct.                                        4       A. Correct.
    5            Q. Chaetomium in the living room. That was         5       Q. And then I think you also agreed with
    6         two spores, right?                                    6    respect to the entire home section of these
    7            A. Yes.                                            7    transmittals. You are also withdrawing all of those
    8            Q. Dining room. Same answer with respect to        8    opinions, correct?
    9         elevated levels, right?                               9       A. Correct.
   10            A. Right.                                         10       Q. Because those opinions relating to the
   11            Q. And it says, "Visible fungal growth            11    entire home are not appropriate, because the
   12         throughout cabinets and drawers." And that was in    12    standards require that you go area by area. Fair?
   13         that butler pantry area, right?                      13       A. Fair.
   14            A. Right.                                         14       Q. Okay. And the crawl space. It says
   15            Q. That was between the dining room and the       15    crawl space was flooded with Category 3 water,
   16         kitchen, right?                                      16    right?
   17            A. Right.                                         17       A. Right.
   18            Q. Okay. Upstairs bathroom. Same answer.          18       Q. And we looked at that definition of
   19         Well, kitchen, elevated -- extremely elevated        19    Category 3. And one of those definitions was
   20         levels. The same answer that you would have there,   20    sewage, right?
   21         right?                                               21       A. Right.
   22            A. Right.                                         22       Q. So this is actually Category 3 water,
   23            Q. And the sunroom, you had a tape sample         23    right?
   24         result?                                              24       A. Right.
   25            A. A swab sample.                                 25       Q. And it's not something that used to be


                                                    Page 47                                                              Page 49
    1            Q. A swab sample? Okay.                            1    Category 1 that turned into Category 2 that turned
    2                   And what did that one show?                 2    into Category 3. This water actually was the kind
    3            A. Alternaria and Aspergillus/Penicillium          3    that's listed in Category 3, right?
    4         and Cladosporium.                                     4       A. Right.
    5            Q. All right. And that was rare                    5       Q. And that is -- on all five of these,
    6         Aspergillus/Penicillium, which is less than ten       6    that's the only indication you have ever had of that
    7         spores. Low Alternaria, which is up to 100 spores.    7    actual kind of water present in the home, true?
    8         And then medium Cladosporium. Is that correct?        8       A. True.
    9            A. Correct.                                        9       Q. And your other opinions with respect to
   10            Q. And again, this is the area that used to       10    Category 3 water were Kristy Beck-Miller's
   11         be part of the outside, is now part of the inside?   11    interpretation that anything that had Category 2
   12            A. Correct.                                       12    that had been there 24 or 48 hours must be described
   13            Q. Upstairs bathroom. You took an air             13    as Category 3, basically, right?
   14         sample in there. You'd say the same thing about      14       A. Correct.
   15         extremely elevated levels, right?                    15       Q. But you do recognize that the actual
   16            A. Correct.                                       16    Category 3 water was only present in the Paisanos,
   17            Q. And then you have a bullet here on HVAC        17    right?
   18         system. But you've agreed that you're withdrawing    18       A. Right.
   19         all of those opinions in your reports, correct?      19               MR. REED: Objection; form.
   20            A. Correct.                                       20       Q. (By Mr. Boone) Not present in the
   21            Q. Because you did not inspect that and do        21    Hiatts, correct?
   22         not have opinions on what should be done, if         22       A. Right.
   23         anything, about the HVAC system, true?               23       Q. Not present in the Wolfs, correct?
   24            A. True.                                          24       A. Not that I recall.
   25            Q. All right. And then the same thing with        25       Q. Not present in the Daniels, right?


                                                                                       13 (Pages 46 to 49)
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                                                     Page 50                                                              Page 52
    1            A. Right.                                           1        Q. When they were reporting these health
    2            Q. Not present in the Vinales, right?               2    issues, did they tell you that they had not been in
    3            A. Right.                                           3    the house? Well, when did you have that
    4            Q. All right. It has a reference to the             4    conversation with them?
    5         attic. Did somebody take a look-see up there?          5        A. I believe it came from Ryan. I don't
    6            A. Yes.                                             6    know that I've ever met them.
    7            Q. But you say here that's a non-condition          7        Q. Okay. So you didn't have any information
    8         living space, right?                                   8    from them directly at all?
    9            A. Right.                                           9        A. I don't believe so.
   10            Q. And typically, that's not part of the           10        Q. Okay. Well, at this point, a lawsuit had
   11         mold assessment unless you believe it's coming into   11    been filed, right? Or did you know that?
   12         the house some kind of way?                           12        A. Right.
   13            A. Typically, if it's safe, we'll look, but        13        Q. And it certainly alleged medical issues
   14         it being non-conditioned living space, it does not    14    in the lawsuit.
   15         follow under the Texas rules and regs.                15        A. Okay.
   16            Q. Right. So under the Texas rules and             16        Q. Did you see the complaint?
   17         regs, you were only supposed to look at the living    17        A. No.
   18         spaces, correct?                                      18        Q. Or know that at all?
   19            A. I can look anywhere. I can do basements         19        A. Uh-uh.
   20         or crawl spaces in attics.                            20        Q. Okay. But obviously, a bunch of lawyers
   21            Q. But your opinions must related to the           21    there walking through the house, you knew there was
   22         living spaces. Is that what you're saying?            22    litigation going on?
   23                  MR. BRZEZINSKI: Object to form.              23        A. Right.
   24                  THE WITNESS: I can give an opinion           24        Q. But you don't think you had any
   25         on a crawl space or an attic. It just doesn't fall    25    information directly from the Paisanos?


                                                     Page 51                                                              Page 53
    1        under the rules that -- like a mold remediation         1       A. I don't believe so.
    2        contractor has to do that work, because it's not        2       Q. And did you know -- And I think you told
    3        part of the living -- the conditioned living space.     3    me this yesterday, but did you know that the
    4           Q. (By Mr. Boone) I gotcha. Okay.                    4    Paisanos had not been living in the house since
    5                  And then you have a health statement          5    October?
    6        there where you're recommending that these results      6       A. I don't believe I did.
    7        be shared with a physician. Do you see that?            7       Q. All right. So that's new news to you
    8           A. Yes.                                              8    today, right?
    9           Q. Do you know if they were?                         9       A. Correct.
   10           A. No.                                              10       Q. And that makes a difference in the
   11           Q. Okay. Did you know that the Paisanos             11    assessment, doesn't it? Or in your conclusions,
   12        were willing to share testing results with NBC news    12    doesn't it?
   13        but they never showed it to a doctor?                  13       A. Possibly.
   14                  MR. BRZEZINSKI: Object to form.              14       Q. All right. Because, for example, an
   15                  THE WITNESS: No.                             15    unoccupied house is not being cleaned regularly,
   16           Q. (By Mr. Boone) And why did you want them         16    true?
   17        to share these with a doctor?                          17       A. True.
   18           A. Because anybody who reports health               18       Q. And so all of these things that measure
   19        statements -- because I can't -- I'm not -- If these   19    dust and dirt and whatnot would be accumulating over
   20        are saying they have health issues, I can't give       20    that period of time, right?
   21        them information. I always say, "Take this to your     21              MR. BRZEZINSKI: Object to form.
   22        doctor."                                               22              THE WITNESS: Correct.
   23           Q. And they were reporting health issues and        23       Q. (By Mr. Boone) And that could alter the
   24        complaints to you, correct?                            24    results that you're testing for and your conclusions
   25           A. Yes.                                             25    based on those, true?


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                                                      Page 54                                                              Page 56
    1             A. True.                                            1       A. I didn't see any elevated moisture
    2             Q. All right. And it also might change what         2    issues.
    3         it is that you do with respect to testing; is that      3       Q. Okay.
    4         right?                                                  4       A. We saw some areas of water damage.
    5             A. Maybe.                                           5       Q. And what is it that triggers a yes or no
    6             Q. Okay.                                            6    there? Elevated moisture issues, what does that
    7             A. It's --                                          7    mean?
    8             Q. Well, for example, on your ATP testing,          8       A. It's like when we use the moisture meter
    9         if you learned that a surface is unclean, that might    9    and it's, you know, above whatever the surface
   10         provide some background or context for why it's        10    should be.
   11         unclean.                                               11       Q. Okay.
   12             A. Correct.                                        12       A. Or standing water is another indication.
   13             Q. Right?                                          13       Q. Okay. And then it says, the next one --
   14             A. Yes.                                            14    So that's based on the moisture meter?
   15             Q. So if it hadn't be lived in in two months       15       A. Correct.
   16         and your result comes back unclean, then that's a      16       Q. And it's not based on the relative
   17         pretty good explanation for why that result            17    humidity samples?
   18         happened, true?                                        18       A. Correct.
   19             A. Correct. Yes.                                   19       Q. "Water damage or other impact issues were
   20             Q. All right. So moving to the report              20    identified by AEC." And you say yes.
   21         itself. Beginning on Page 7, we've got the laundry     21       A. Correct.
   22         list of things again. Can you tell us which ones of    22       Q. And that was the areas -- couple of areas
   23         these you did and they paid for or Ryan Reed paid      23    that you identified on the walk-through, right?
   24         for?                                                   24       A. Right.
   25             A. We did the water source testing, ATP,           25       Q. All right. And then it says, "Bacteria


                                                      Page 55                                                              Page 57
    1        laser particle, air sampling and surface sampling.       1     or other moisture-based contamination issues are
    2           Q. And you did not do the remainder?                  2     opined present." You say no, right?
    3           A. Correct.                                           3        A. Right.
    4           Q. All right. And moving to the inspection.           4        Q. I thought when we were talking about this
    5        So tell us -- In Section 2.1, beginning on Page 9,       5     yesterday, you said that gets an automatic yes --
    6        you talk about these -- these are the same               6        A. Yes.
    7        conclusion statements, right?                            7        Q. -- if there's a mold growth.
    8           A. Right.                                             8        A. And it should have been yes.
    9           Q. That are fields that you click yes or no           9        Q. So that's an error?
   10        on?                                                     10        A. Yes.
   11           A. Correct.                                          11        Q. Okay.
   12           Q. All right. And you clicked "Active                12        A. I've never seen it say no. I don't
   13        elevated moisture issues were identified." You said     13     understand that.
   14        no.                                                     14        Q. Because what you told us yesterday is,
   15           A. Correct.                                          15     that's automatically populated. When you click --
   16           Q. Why is that?                                      16        A. Click.
   17           A. I do not recall. I would -- There are --          17        Q. -- yes for mold growth, it automatically
   18        I did not -- I don't believe I saw, like, any           18     goes yes to bacteria?
   19        active, you know, water areas. But I'm trying to        19        A. Correct.
   20        look. (Reviewing document.) It's been way too long      20        Q. And you were saying that's because where
   21        since I went through there.                             21     there's potential mold growth, there's potential
   22                  I don't believe I saw any in that             22     bacteria.
   23        home.                                                   23        A. Correct.
   24           Q. You didn't see any water damage or                24        Q. But this didn't happen on this one.
   25        evidence of moisture issues?                            25        A. No. I don't recall if I went in and


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                                                     Page 58                                                              Page 60
    1        changed it, which I never -- I didn't know I could,     1    back here. I didn't see anything that looked like
    2        or if it has something to do with the elevated          2    mold growth." I believe that's the area that you
    3        moisture being no.                                      3    referred to in your report that was back by the --
    4           Q. Okay.                                             4    or in your transmittal that is related to the maid's
    5                  MR. BOONE: All right. Why don't we            5    quarters off the kitchen and the maid's quarters had
    6        take a break.                                           6    an area of water damage.
    7                  (Short break.)                                7       A. Okay.
    8           Q. (By Mr. Boone) What I want to do -- and           8       Q. Do you recall that?
    9        we'll do it later when I can get the tech worked        9       A. Not --
   10        out -- is, I'm going to show you, Ms. Miller -- if     10       Q. Okay. Fair enough.
   11        you recall, when we were there at the joint            11              Then going on, you say, "HVAC
   12        inspection, we had a videographer there. Do you        12    system's very dusty."
   13        remember?                                              13              Do you see that?
   14           A. Yes.                                             14       A. Yes.
   15           Q. And at the conclusion of all your                15       Q. Looked like they could possibly have
   16        testing, we asked you to walk us through the entire    16    condensation or they had mold growth on them.
   17        home and determine -- or tell us where you saw         17    Right?
   18        evidence of either visible mold growth or moisture     18       A. Right.
   19        water issues. Do you remember that?                    19       Q. And the HVAC system being dusty, that
   20           A. Yes.                                             20    would be another -- that happens when homes sit
   21                  (Exhibit 39 marked.)                         21    unoccupied, true?
   22           Q. (By Mr. Boone) Okay. I'm going to show           22       A. True.
   23        you Exhibit Number 39. And do you remember the         23       Q. Okay. So that could be an explanation
   24        videographer was there, kind of walking around         24    for that as well, right?
   25        behind us? Do you remember that?                       25       A. Correct.


                                                     Page 59                                                              Page 61
    1           A. Yes.                                              1       Q. And then Page 3, there's a -- it says,
    2           Q. All right. And we had a transcript of             2    "This is a big area under here where we have fungal
    3        that made. Now, as you might expect, because we         3    growth, and we got it in the mats and stuff down
    4        weren't in a deposition, some of the language is not    4    there, along the side walls and the back walls."
    5        super clear. But do you remember doing all that and     5              And those are the cabinets that were
    6        saying all that?                                        6    in that maid's quarters -- I mean, the butler
    7           A. Yes.                                              7    pantry, between the dining room and the kitchen,
    8                 MR. BRZEZINSKI: Object to form.                8    right?
    9                 MR. BOONE: That was terrible. Let              9       A. Right.
   10        me withdraw that.                                      10       Q. And we all opened up those cabinets and
   11           Q. (By Mr. Boone) Take a look at Exhibit            11    looked, and there's dishes and stuff in there,
   12        Number 39.                                             12    right?
   13           A. Okay.                                            13       A. Right.
   14           Q. And see if this refreshes your                   14       Q. Okay. And then you say, on Page 4,
   15        recollection about what you told us on                 15    "Seeing a lot of dishes, which can be cleaned," you
   16        December 10th, 2019 during that walk-through.          16    say, right?
   17           A. I believe so.                                    17       A. Yes.
   18           Q. Okay. And I will do my best to get the           18       Q. All right. And then also on Page 4, "We
   19        video so that you can actually look at it. But I       19    have an area of water damage here" -- and it doesn't
   20        kind of want to use Exhibit 39 just to walk through    20    say where it is -- but "it looks like it may have
   21        some areas that are referenced in here. Are you        21    been fixed." And then you say, "I think we're okay
   22        with me?                                               22    back here." Right? I'm on Page 4.
   23           A. Yes.                                             23       A. Okay. Yes. Okay. I see that.
   24           Q. Okay. So beginning in Exhibit 39, on             24       Q. All right. And then 4 and 5, you talk
   25        Page 2, it says, "We have some slight water damage     25    again about the vents to the AC system, right?


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                                                     Page 62                                                              Page 64
    1            A. Right.                                           1    field notes.
    2            Q. And I think we're upstairs now, because          2       Q. And those aren't here?
    3         you say, "Got some growth in the caulking around       3       A. Correct.
    4         these windows from the condensation, because it's      4       Q. Okay. But you didn't see anything there,
    5         all very wet."                                         5    right?
    6                  Do you remember that?                         6       A. Right.
    7            A. No.                                              7       Q. And so water impact noted. And you
    8            Q. Do you remember which room that was?             8    checked all the boxes for all the rooms yes, they're
    9            A. No.                                              9    here. Right?
   10            Q. All right.                                      10       A. Right.
   11            A. It says up here the master, so...               11       Q. And did you see water impact in each of
   12            Q. We may be upstairs?                             12    those rooms?
   13            A. Yeah.                                           13       A. I would have to go back through and look
   14            Q. Okay.                                           14    at the photos. It could be something as simple as
   15            A. But it's unclear.                               15    swelling on the windowsill. So we would have to
   16            Q. I'll tell you what, I'm going to switch         16    look back through it.
   17         gears. That's not helping at all, the way that        17       Q. Well, do you see in the photos that are
   18         transcript is. I'll do my best to get you the video   18    attached there? You don't have photos of every room
   19         so you can see it.                                    19    to start with, right?
   20            A. Okay.                                           20       A. Right.
   21            Q. And that might refresh your recollection.       21       Q. So you wouldn't know based on the photos
   22         All right?                                            22    alone, would you?
   23            A. It's hard to know which room we're              23       A. Not on this level, no.
   24         standing in.                                          24       Q. Okay. So is it fair to say that you
   25            Q. I know. Because we didn't say it for the        25    can't tell me what the basis is for water impact on


                                                     Page 63                                                              Page 65
    1         record, so we didn't get it that way.                  1    any of those rooms?
    2                   So move back to Exhibit Number 12,           2       A. Yes.
    3         which is your report. And here you have one of         3       Q. Okay. And you say "mold growth noted."
    4         those charts that I've seen in your reports, right?    4    Did you see actual mold growth in all of these
    5            A. Correct. Yes.                                    5    rooms?
    6            Q. You go room by room, and then a bunch of         6       A. This came from the samples, the sample
    7         questions, you ask yes or no.                          7    levels, because they were so high.
    8            A. Right.                                           8       Q. Okay. So I thought mold growth noted was
    9            Q. All of the answers on elevated moisture          9    what you saw with your eyes. It's not?
   10         are no, right?                                        10       A. Should be.
   11            A. Right.                                          11       Q. It should be what you saw with your eyes,
   12            Q. And that was because of what?                   12    right?
   13            A. We didn't find any high moisture                13       A. Correct.
   14         readings.                                             14       Q. And I get what your samples say.
   15            Q. Okay. So that's with the moisture meter?        15       A. Right.
   16            A. Right.                                          16       Q. And you have -- the next column is
   17            Q. And what level is high on a moisture            17    samples collected, and then the results from those
   18         meter?                                                18    samples.
   19            A. It depends on what kind of service it is.       19       A. Correct.
   20         So if it's drywall, it's like 14. If it's wood --     20       Q. Are you saying that's a mistake and that
   21         It just varies based on what you put it on.           21    auto-filled by mistake?
   22            Q. Well, did you write down or reference           22       A. In some areas, yes.
   23         what those moisture readings were in any particular   23       Q. Okay. Well, can you tell us which --
   24         location?                                             24    where you saw actual mold growth and in which one of
   25            A. I don't know. I would have to look on my        25    those rooms?


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                                                     Page 66                                                              Page 68
    1            A. Going to my floor plan, it would have            1    rooms, true?
    2         been the enclosed porch, the butler's pantry, the      2       A. True.
    3         master and bedroom 1 and bedroom 2.                    3       Q. And your conclusion about Category 3
    4            Q. Okay. So the "Y" would be correct for            4    water is not true as to these particular rooms,
    5         those rooms, correct?                                  5    correct?
    6            A. Correct.                                         6       A. Correct.
    7            Q. But not correct for the remainder?               7       Q. And your opinion about Category 2 water
    8            A. Correct.                                         8    is also not true with respect to these particular
    9            Q. So we've got kitchen. That "Y" should be         9    rooms?
   10         an "N," right?                                        10       A. Correct.
   11            A. Correct.                                        11       Q. So --
   12            Q. Upstairs bedroom, the "Y" should be an          12       A. It should have been.
   13         "N," right?                                           13       Q. You were -- When you were doing that at
   14            A. Correct.                                        14    the beginning of your report, you were talking
   15            Q. Dining room should be -- the "Y" should         15    about: Somewhere in this house, I found Category 3
   16         be an "N," right?                                     16    water, but only in that spot.
   17            A. Correct.                                        17             You can't then take that and say: I
   18            Q. Living room, "Y" should be an "N,"              18    found it in every spot that's listed.
   19         correct?                                              19             Correct?
   20            A. Correct.                                        20       A. Correct.
   21            Q. So about half of those are wrong, right?        21       Q. So that is incorrect, true?
   22            A. Right.                                          22       A. Yes.
   23            Q. Okay. So sample results. This is you're         23       Q. All right. And the same goes for S520
   24         picking up directly from the samples, either air      24    Condition 3, which is visible mold growth, right?
   25         samples or tape swab samples; is that correct?        25       A. Right.


                                                     Page 67                                                              Page 69
    1            A. Correct.                                         1        Q. So you say that Condition 3 exists in all
    2            Q. But you don't have samples for all of            2     of these rooms. And that's not true, right?
    3         these rooms that are marked yes, do you?               3        A. True.
    4            A. If it were visual -- well --                     4        Q. It's only located in the rooms where you
    5            Q. Well, this column is for samples                 5     actually saw visible mold growth, right?
    6         collected, right?                                      6        A. Correct.
    7            A. Right.                                           7        Q. And that's the same ones that you just
    8            Q. And look at upstairs bathroom. And               8     listed earlier. About half of these you did see
    9         confirm for me that you didn't take any kind of        9     visible mold growth?
   10         sample in the upstairs bathroom.                      10        A. Correct.
   11            A. You are correct.                                11        Q. But the other half, you did not, correct?
   12            Q. And that's a mistake there?                     12        A. Correct.
   13            A. Yes.                                            13        Q. And for those where you did not, it is
   14            Q. All right. So when it says AEC sample           14     not correct to have Condition 3 listed there, true?
   15         results for the upstairs bathroom, that is also not   15        A. True.
   16         correct?                                              16        Q. All right. And the next page is the HVAC
   17            A. Correct.                                        17     system. You've agreed you were not making any
   18            Q. And the next category is the S500               18     opinions about that --
   19         category. And that's the category of water, right?    19        A. Correct.
   20            A. Right.                                          20        Q. -- right?
   21            Q. And you agree that the only Category 3          21              And also personal items, you are not
   22         water was located underneath the house in the crawl   22     making any opinions about that, right?
   23         space, correct?                                       23        A. Correct.
   24            A. Correct.                                        24        Q. Okay. So going to the sampling data,
   25            Q. And that water entered none of these            25     beginning on Page 11. Are you with me?


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                                                    Page 70                                                             Page 72
    1            A. Yes.                                           1   Are you with me? I want to compare Mr. Coto's spore
    2            Q. You took air samples in a number of            2   trap -- And these are -- we're talking to apples and
    3         rooms. That's the first one on your list; is that    3   apples, right?
    4         right?                                               4      A. Right.
    5            A. Right.                                         5      Q. You did a spore trap analysis and got a
    6            Q. And I think you told me yesterday that         6   result that the total fungi was 390,000 spores per
    7         you had been provided a copy of George Coto's        7   cubic meter, right?
    8         report. Is that also true?                           8      A. Correct.
    9            A. Yes.                                           9      Q. He did a spore trap sample at the same
   10            Q. I'll mark this as Exhibit 40.                 10   time in the dining room, and he got 52,000 spores
   11                  (Exhibit 40 marked.)                       11   per cubic meter; is that right?
   12            Q. (By Mr. Boone) See if that refreshes          12      A. Correct.
   13         your recollection of the copy of that report.       13      Q. He saw -- or the spore trap he collected
   14            A. Yes.                                          14   had a total of a 104 spores, right?
   15            Q. And what I want to do, just so you know       15      A. Yes.
   16         what we're going to do, is, I want to talk --       16      Q. And yours had a total of 8900 spores,
   17         because you met George Coto that same day, on       17   right?
   18         December 10th, right?                               18      A. Right.
   19            A. Correct.                                      19      Q. Is that the kind of variability that you
   20            Q. And you did your sampling when we first       20   could expect side-by-side?
   21         got there in the morning, is my recollection. And   21      A. Well, we weren't doing in the same room
   22         then you left presumably to go to Hiatt's and the   22   at the same time. So he was moving through, and we
   23         Hill's house.                                       23   were on both sides of the house. So it's not like
   24            A. Correct.                                      24   we were let's start our machines.
   25            Q. All right. Mr. Coto did his sampling          25      Q. Right.


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    1         right after you left, same day.                      1       A. But you can expect huge amounts of
    2            A. I believe we were in the house at the          2    variability depending on who moved -- If somebody
    3         same time.                                           3    moved through there, it could have lowered the
    4            Q. Yeah. Were you testing at the same time?       4    numbers or raised the numbers.
    5            A. Yes.                                           5       Q. I gotcha.
    6            Q. Okay. So it was actually side-by-side          6              So I guess the difference between --
    7         testing?                                             7    in your view, between 390,000, which is your result,
    8            A. Correct.                                       8    and 52,000 would be expected, is what you're saying?
    9            Q. And go to the spore trap report of his,        9    Or could be expected.
   10         which is -- it's Appendix D of his report. And      10       A. It could be.
   11         that's about this much through.                     11       Q. Let me get at it this way: Does this
   12            A. Okay.                                         12    necessarily mean that somebody didn't do it right?
   13            Q. It is EMLab results?                          13       A. No.
   14            A. Okay.                                         14       Q. Okay. So I assume Mr. Coto knows how to
   15            Q. Are you with me?                              15    do it. I assume you know how to do it. The
   16            A. Yes.                                          16    divergence of these results is not in how the mold
   17            Q. What I want to do is look at yours            17    assessment consultant did the testing. Is that your
   18         side-by-side.                                       18    opinion?
   19            A. Okay.                                         19       A. Yes.
   20            Q. And let's pull up yours in Exhibit 12,        20       Q. It is just what can happen when you test
   21         which are at the very end, right?                   21    the same room at different times.
   22            A. Yes.                                          22       A. Correct.
   23            Q. And let's just look -- I mean, the            23       Q. Okay. Which is -- But this was on the
   24         most -- Let's just look at the dining room, for     24    same day, minutes apart?
   25         example. I don't think we have to do this much.     25       A. Yeah. Maybe 20, 30.


                                                                                      19 (Pages 70 to 73)
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                                                      Page 74                                                              Page 76
    1            Q.   Right.                                          1    If a ceiling fan or something else is moving the
    2                   And we have a wide divergence,                2    air, then that could take the spores from the rotten
    3         390,000 for you and 50,000 for him.                     3    peach and move them certainly in the dining room and
    4            A. Right.                                            4    maybe throughout the house. Is that fair?
    5            Q. And nothing in that disparity shocks your         5              MR. BRZEZINSKI: Objection. Are you
    6         mind as to what's going on?                             6    asking her to assume that there was a celling fan?
    7            A. No.                                               7    Are you telling her there was a ceiling fan? Or are
    8            Q. Okay. Let me ask you, because -- do you           8    you asking if she knows there was a ceiling fan?
    9         remember a dried up --                                  9              THE WITNESS: I do not recall even
   10            A. Pear.                                            10    turning on lights when we were there.
   11            Q. -- pear in the dining room?                      11       Q. (By Mr. Boone) All right.
   12            A. Yes.                                             12       A. So I'm not --
   13            Q. Okay. And it was -- Where was it? It             13       Q. You don't recall?
   14         was sitting out in the open on some --                 14       A. Right.
   15            A. It was like on a side table.                     15       Q. That's fair.
   16            Q. Right.                                           16              Let me move to the next part in
   17                   So you saw -- and it was what had            17    Page 12 of your report.
   18         been a pear that had been left there and was           18              And let me also, before we leave
   19         completely rotten and moldy.                           19    Coto's Exhibit 40, all of the spore trap numbers
   20            A. Correct.                                         20    that Coto got on the same day, they're all different
   21            Q. Okay. And that was right in that room            21    than the ones that you got, right?
   22         where this testing was done, correct?                  22       A. Right.
   23            A. Correct.                                         23       Q. Generally speaking, yours are higher and
   24            Q. All right. And obviously, dead fruit,            24    his are lower, right?
   25         that dead fruit had mold on it, right?                 25       A. Correct.


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    1            A. Right.                                            1       Q. And you also recall that at the Paisanos,
    2            Q. Which had nothing to do with the                  2    it had just been -- or do you recall that it had
    3         condition of the home, right?                           3    just been raining outdoors?
    4            A. Right.                                            4       A. Yes.
    5            Q. Everything to do with the fact that               5       Q. All right. And so the outdoor control
    6         somebody had left a pear there and it had rotted; is    6    sample was taken after the rain, which we had talked
    7         that right?                                             7    about earlier would lessen the amount of spores in
    8            A. Correct.                                          8    the air outside?
    9            Q. All right. Could that be an explanation           9       A. Correct.
   10         for some of these results in that room?                10       Q. So on the one hand, we have a situation
   11            A. Yes.                                             11    where we have an unoccupied house, perhaps with
   12            Q. Okay. And do you also remember that you          12    ceiling fans on, blowing stuff around, and on the
   13         and your husband turned on the ceiling fans?           13    other hand, we have a control where the rain has
   14            A. I do not recall that at all.                     14    just occurred, right?
   15            Q. Okay. Do you know or did you write               15             MR. REED: Objection; form.
   16         anywhere where the celling fans were on or off?        16             THE WITNESS: Right.
   17            A. No.                                              17       Q. (By Mr. Boone) The former would raise
   18            Q. We don't have your field notes, right?           18    the spore count in the indoors, correct?
   19            A. Right.                                           19       A. Correct.
   20            Q. Okay. If the ceiling fans were on -- and         20       Q. And the latter would lower the spore
   21         I don't believe that there was one in the dining       21    count on the outdoors, correct?
   22         room. But it's an open floor plan to the living        22       A. Correct.
   23         room. Is that your recollection?                       23       Q. All right. The surface sample in your
   24            A. Yes.                                             24    Page 12 SFC, you state that the results are not
   25            Q. And there was a ceiling fan in that room.        25    satisfactory. Do you see that?


                                                                                         20 (Pages 74 to 77)
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    1            A. Yes.                                            1               THE WITNESS: True.
    2            Q. And you agree that that is just                 2       Q. (By Mr. Boone) Moving to the laser
    3         Kristy Beck-Miller and not -- that's just your        3    particle sample. This is measuring the particle in
    4         opinion, correct?                                     4    the air again, right?
    5            A. Correct.                                        5       A. Right.
    6                   MR. REED: Objection; form.                  6       Q. And it does not reference or pick up mold
    7            Q. (By Mr. Boone) Not based on any                 7    at all, right?
    8         standard, guideline or scientific method, true?       8       A. Right.
    9                   MR. REED: Objection; form.                  9       Q. Just the stuff in the air, right?
   10                   THE WITNESS: True.                         10       A. Right.
   11            Q. (By Mr. Boone) So all of these swab            11       Q. That would be affected by ceiling fans if
   12         samples are either rare or low or medium, correct?   12    they were turned on, true?
   13            A. Correct.                                       13       A. True.
   14            Q. And there is no written standard,              14       Q. And these conclusions about what is
   15         guideline, scientific method, peer-reviewed study    15    satisfactory or not satisfactory are not based on
   16         that tells you -- that you're aware of that tells    16    any standards, guideline or peer-reviewed study.
   17         you that those levels are satisfactory or            17               MR. REED: Objection; form.
   18         unsatisfactory, true?                                18       Q. (By Mr. Boone) Correct?
   19            A. True.                                          19       A. Correct.
   20                   MR. REED: Objection; form.                 20       Q. These are your opinions and your opinions
   21            Q. (By Mr. Boone) In fact, the opposite is        21    alone, not based on anything other than what you
   22         true. There are no such standards, correct?          22    think?
   23            A. Correct.                                       23               MR. REED: Objection; form.
   24            Q. But you reached the conclusion, just           24               THE WITNESS: Correct.
   25         Kristy Beck-Miller, not satisfactory?                25       Q. (By Mr. Boone) All right. Relative


                                                     Page 79                                                             Page 81
    1                  MR. REED: Objection; form.                   1    humidity, you say those numbers are -- you have
    2                  THE WITNESS: Correct.                        2    those numbers there. And you saw high. And those
    3           Q. (By Mr. Boone) You had the crawl space           3    are above the ASHRAE and EPA limits, aren't they?
    4        bulk sample there where you were still awaiting        4       A. Yes.
    5        results, right?                                        5       Q. And you also note the temperature. I
    6           A. Right.                                           6    don't remember it being low 60s. But that's cool
    7           Q. And then the RLU, which is the ATP               7    for a living space, isn't it?
    8        results, again, you don't take a picture of those,     8       A. Yes.
    9        and your field notes would have whatever it is that    9       Q. What I'm getting at here is, I'm
   10        was handwritten at the time, right?                   10    wondering if those relative humidity results were
   11           A. Right.                                          11    explained or could be explained by the fact that the
   12           Q. And these are swab samples that you took        12    heating system or air conditioning system had not
   13        in the rooms listed; is that right?                   13    been turned on and was not pulling the humidity out
   14           A. Yes.                                            14    of the home.
   15           Q. Again, ATP measures all kinds of things,        15       A. Yes.
   16        not just mold, right?                                 16       Q. Okay. So you think the same thing?
   17           A. Correct.                                        17       A. Yes.
   18           Q. And this is a method to analyze                 18       Q. Okay. And that could be explained as
   19        cleanliness, correct?                                 19    well by the fact that the home was not occupied at
   20           A. Correct.                                        20    the time, true?
   21           Q. And as you talked about, the fact that          21       A. True.
   22        the home had been unoccupied for approximately two    22       Q. All right. Let's move to the protocol
   23        months could easily explain why the ATP results       23    section, which is Page 16. You with me?
   24        showed unclean surfaces, true?                        24       A. Yes.
   25                  MR. REED: Objection; form.                  25       Q. And remind me again how you selected


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    1         these rooms.                                            1    be cleaned.
    2            A. Based on observations and air testing.            2       Q. Okay. Well, the air samples were
    3            Q. Okay. Is it either-or or both or what?            3    throughout the house. And you don't have every room
    4            A. Both.                                             4    listed here, do you?
    5            Q. Okay. And so the master bedroom -- And            5       A. I believe so. Living room, the bedrooms,
    6         is this the place where we would need to look at        6    dining room, kitchen, upstairs bathroom.
    7         your diagram to understand what you're really           7       Q. All right. So what is to be done in the
    8         talking about?                                          8    living room?
    9            A. Yes, sir.                                         9       A. The content cleaning -- or consideration
   10            Q. And that's further in your report. So            10    of the contents, air wash action and Fungistat
   11         let's talk about the master bedroom, which is on the   11    fogging.
   12         second page of the diagram; is that right?             12       Q. And that's based only on air samples, not
   13            A. Yes.                                             13    any seeing of visible mold?
   14            Q. And what needs to be done there? This            14       A. Correct. I believe so. It's been too
   15         was an area where -- am I right, was this the area     15    long since I walked through there too. But, right.
   16         behind the bed?                                        16       Q. I'm not asking you -- Everything you need
   17            A. Yes.                                             17    to refresh your recollection is in this report,
   18            Q. Okay. And what did you see? And what             18    correct?
   19         are you concluding there?                              19       A. Correct.
   20            A. I believe there was water damage and             20       Q. So if you need to see something, please,
   21         cracking.                                              21    now's the time.
   22            Q. All right. And I see bedroom 1 in the            22       A. Okay.
   23         front of the home. And what was the issue there?       23       Q. But I didn't see any -- Well, your report
   24            A. Water damage under the windows.                  24    does not reflect that you saw any visible mold in
   25            Q. All right. And then bedroom 3.                   25    the living room whatsoever.


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    1           A. Water damage and mold on that window, I            1       A. Right. These are based on the high
    2        believe.                                                 2    fungal levels of the air samples.
    3           Q. Bedroom 2. Okay.                                   3       Q. All right. And the dining room, same
    4                  And then the maid's quarters, which            4    thing?
    5        is downstairs.                                           5       A. Yes.
    6           A. And these were due to settled spores or            6       Q. So no visible mold, air testing only?
    7        high mold counts in the Air-O-Cells.                     7       A. Correct.
    8           Q. So you're making a recommendation for              8       Q. And the kitchen, same thing; no visible
    9        remediation -- Well, I don't see anything in the         9    mold, air testing only?
   10        maid's quarters on the diagram, is there?               10       A. Correct.
   11           A. No.                                               11       Q. And did you have air tests in the
   12           Q. All right. So what are they supposed to           12    kitchen? You did. Okay.
   13        do in the maid's quarters?                              13              And then upstairs bathroom. What is
   14           A. Air wash and clean and Fungistat fog.             14    that based on?
   15           Q. Okay. But that's based only on air                15       A. Just because everything else in the house
   16        sample results, not any finding of visible mold?        16    has such high levels.
   17           A. As far as I recall.                               17       Q. Okay. Well, there's two bathrooms
   18           Q. Okay. Well, that's what your report               18    upstairs, right?
   19        reflects, right?                                        19       A. Yes. So it should have said master -- or
   20           A. Right.                                            20    upstairs bathrooms, I suppose.
   21           Q. And I thought you told me earlier that            21       Q. Well, is it one or both?
   22        you only do remediation where you have visible mold     22       A. Both.
   23        growth.                                                 23       Q. Okay. And for these two rooms, it is not
   24           A. Well, when we have air samples that are           24    even based on air sampling in those rooms, correct?
   25        super high like that, those areas generally need to     25       A. Correct.


                                                                                         22 (Pages 82 to 85)
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    1           Q. So you didn't see mold present in those           1       Q. And if Mrs. Paisano or the Paisanos threw
    2        rooms, true?                                            2    those items away, that was not based on anything you
    3           A. True.                                             3    told them; is that true?
    4           Q. And the air samples weren't done in those         4       A. True.
    5        rooms, true?                                            5       Q. And if they say they did it based on your
    6           A. True.                                             6    report, then they were not correct in relying on
    7           Q. But you want to --                                7    that report. Is that fair?
    8           A. Air wash and clean.                               8              MR. BRZEZINSKI: Object to form.
    9           Q. All right. Well, your note says that --           9              THE WITNESS: Fair.
   10        you opine wall ceiling and flooring material as        10       Q. (By Mr. Boone) That's their decision.
   11        marked on the attached diagram requires removal and    11    As you said over and over and over again, it has
   12        discard.                                               12    nothing to do with your opinions or your
   13           A. But there are no areas marked in those           13    recommendations, true?
   14        rooms.                                                 14       A. True.
   15           Q. Okay. I see. So you don't -- nothing             15       Q. All right. And ultimately, the crawl
   16        needs to be done. But you don't even write that        16    space result did come back; is that right?
   17        those rooms should be air-washed.                      17       A. Yes.
   18           A. I mean, I have it under entire home, air         18       Q. And it showed total coliform present,
   19        wash, air scrub and Fungistat fog.                     19    correct?
   20           Q. All right. And I believe, if I'm                 20       A. Correct.
   21        correct, that you have withdrawn that recommendation   21       Q. And E. coli absent, right?
   22        based on what we've talked about before; is that       22       A. Correct.
   23        right?                                                 23       Q. And total coliform would be an indication
   24           A. Correct. Yes.                                    24    of sewage?
   25           Q. And then beginning on Page 21, you're            25       A. Correct.


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    1        withdrawing and no longer -- well, don't have any       1       Q. And your recommendation about that was to
    2        opinion with respect to the HVAC system, right?         2    remove the dirt -- a certain level of dirt to get
    3           A. Right.                                            3    rid of that?
    4           Q. And no opinion with respect to the                4       A. Correct.
    5        personal items in the home?                             5       Q. And you don't know, but -- well, that was
    6           A. Correct.                                          6    ultimately done. But that's all that would, in your
    7           Q. And in fact, you didn't see any visible           7    view, need to be done underneath the home, true?
    8        mold growth on any content items at the Paisano         8       A. True.
    9        home, true?                                             9       Q. All right. You want to take a break
   10           A. True.                                            10    while we move to the next family?
   11           Q. In fact, remember, we were asking you            11       A. Sure.
   12        about that. You confirmed that -- You took us to       12              (Short break.)
   13        one dresser that had some stuff on there, and we all   13       Q. (By Mr. Boone) So let's move to the
   14        concluded that that was probably some type of makeup   14    Vinales report, which is Exhibit 16. You with me?
   15        goo --                                                 15       A. Yes.
   16           A. Yeah.                                            16       Q. Now, same questions about this, that all
   17           Q. -- left on that surface, true?                   17    of your opinions with respect to the Vinales home
   18           A. True.                                            18    are contained within the four corners of this
   19           Q. And that was -- So there was nothing on          19    report, true?
   20        any content that you saw in that home?                 20       A. True.
   21           A. Correct.                                         21       Q. And you have no opinions other than what
   22           Q. All right. And you did not opine that            22    are set forth in this report, right?
   23        those -- any of those items needed to be cleaned or    23       A. Right.
   24        stored in any form or fashion, true?                   24       Q. And that all the facts and data you
   25           A. True.                                            25    considered and all the information you considered


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    1         and the bases for all of your opinions are contained    1       A. Right.
    2         in the four corners of Exhibit 16, right?               2       Q. Okay. So let's go to Exhibit 16 and kind
    3            A. Right.                                            3    of walk our way through like we've done with the
    4            Q. And you would also adopt and abide by the         4    others.
    5         general testimony we established on the Hiatt           5              The first thing you do is, in your
    6         report, because a lot of those things are in here as    6    transmittal letter -- which is always at the front,
    7         well, true?                                             7    right?
    8            A. True.                                             8       A. Right.
    9            Q. So this report is the first of the three          9       Q. You kind of do your room-by-room
   10         that occurred on April 5th, 2019, right?               10    analysis, right?
   11            A. Right.                                           11       A. Right.
   12            Q. And I know you live in Dallas or Fort            12       Q. And the first one is the HVAC system.
   13         Worth normally, so this is not your normal neck of     13    But you are withdrawing all your comments about
   14         the woods, right?                                      14    that, true?
   15            A. Right.                                           15       A. True.
   16            Q. So we've seen both -- you were here for          16       Q. Because you didn't inspect it, and you're
   17         two days, basically, doing testing. One day,           17    not qualified to render those opinions. Fair?
   18         April 5th of 2019, right?                              18       A. Fair.
   19            A. Right.                                           19       Q. Sunroom. You say visible mold growth on
   20            Q. And on that day, you did the Vinales, the        20    the windows and on personal items in the area. You
   21         Wolfs and the Daniels, right?                          21    don't specify which personal items, though, correct?
   22            A. Correct.                                         22       A. Correct.
   23            Q. And then you were here December 10th,            23       Q. And your photographs don't really show us
   24         2019, right?                                           24    that either, do they?
   25            A. Right.                                           25       A. It's the furniture, like the desk that


                                                      Page 91                                                              Page 93
    1            Q. And on that date, you did the Paisano,            1    was in the sunroom.
    2         Hiatts and Hills, right?                                2       Q. Okay. But you're going to say the same
    3            A. Right.                                            3    thing about contents on that, that you didn't do an
    4            Q. Okay. And how long does it take you to            4    item-by-item work on that?
    5         do one of these assessments?                            5       A. Correct.
    6            A. Hour, hour and a half.                            6       Q. And not make any opinions about what that
    7            Q. Okay. So you got about -- not counting            7    means or what needs to happen with any particular
    8         getting to and from and lunch and all that stuff,       8    piece of furniture, true?
    9         but you got about six hours per day doing the stuff     9       A. True.
   10         you're doing to generate these reports?                10       Q. All right. So when you say that the area
   11            A. Right.                                           11    is to be considered cross-contaminated and all
   12            Q. All right. So all these reports are              12    personal property will require remediation, you're
   13         basically the product of about 12 hours of work,       13    saying potentially --
   14         roughly?                                               14       A. Correct.
   15            A. Well, I mean, physical onsite.                   15       Q. -- that's the case, right?
   16            Q. Okay. Some report-generation work in             16       A. Right.
   17         addition to that?                                      17       Q. That you did not do the work required by
   18            A. And laboratory, you know, reviewing the          18    the standards to make that determination, true?
   19         results and things like that.                          19       A. True.
   20            Q. Okay. So how much longer does it take            20       Q. And therefore, you're not -- you're
   21         you to generate a report and all that?                 21    withdrawing that statement and opinion. Fair?
   22            A. Probably another two hours per report.           22       A. Fair.
   23            Q. Okay. So you got two hours for the               23       Q. All right. You say that the sunroom
   24         inspection, two hours for the report. We've got six    24    windows were tested using the ATP method. And
   25         reports. We're looking at roughly 24 hours, right?     25    that's the method for cleanliness, correct?


                                                                                         24 (Pages 90 to 93)
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    1           A. Correct.                                          1    there, then no one has anything to go by on how to
    2           Q. And you say that the results showed them          2    find it or fix it, right?
    3        to be heavily contaminated by fungi. Do you see         3        A. Correct.
    4        that?                                                   4        Q. And there is no site diagram on this
    5           A. Yes.                                              5    report, is there?
    6           Q. That statement is not correct?                    6        A. No.
    7           A. Correct. It should just be heavily                7        Q. So we don't have any idea where you took
    8        contaminated by whatever.                               8    that sample or where that wood was; is that true?
    9           Q. Okay. But you cannot say from the ATP             9        A. True.
   10        method that it was fungi at all?                       10        Q. And that is not the way these things are
   11           A. Correct.                                         11    supposed to be done, correct?
   12           Q. And so that statement, heavily -- ATP            12        A. Correct.
   13        method which showed it to be heavily contaminated by   13        Q. You are a -- Mold assessment is supposed
   14        fungi, is false?                                       14    to document what you find and where specifically,
   15           A. Correct.                                         15    true?
   16           Q. You can say that it's dirty, right?              16        A. True.
   17           A. Right.                                           17        Q. And that did not happen, correct?
   18           Q. That's all that the ATP test tells you,          18        A. Correct.
   19        right?                                                 19        Q. The results themselves are what kind of
   20           A. Right.                                           20    results? And I'm on the kitchen now. So I think
   21           Q. And you make that statement over and over        21    it's --
   22        and over again in this transmittal letter, do you      22        A. Oh. Are we --
   23        not?                                                   23        Q. Right?
   24           A. Yes.                                             24        A. I'm sorry. Under the kitchen sink -- or
   25           Q. And it is false in each place where you          25    actually, next -- it was -- that was under the


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    1         say it, correct?                                       1    kitchen sink, now that I've seen the --
    2            A. Correct.                                         2       Q. So --
    3            Q. For the same reasons, correct?                   3       A. And it showed levels of Chaetomium and
    4            A. Correct.                                         4    Penicillium and Aspergillus.
    5            Q. On the kitchen, you say that a sample was        5       Q. Okay. It showed very few Chaetomium and
    6         taken in an area where the wood was warped.            6    Penicillium/Aspergillus, correct?
    7            A. Correct.                                         7       A. Correct.
    8            Q. Where?                                           8       Q. And the tape sample reference in your
    9            A. I believe it was in the cabinet. Just            9    report says kitchen sink, correct?
   10         outside the cabinet. (Reviewing photographs.)         10       A. Correct.
   11            Q. Is it the cabinet -- Well, can you tell         11       Q. And your refreshed recollection now is
   12         me where?                                             12    that you took that sample underneath the kitchen
   13            A. It was right in this area of the cabinet,       13    sink; is that right?
   14         on the -- where the sink is.                          14       A. Right.
   15            Q. So in the cabinet underneath the sink?          15       Q. And you do recognize, do you not, that
   16            A. In the cabinet beside the sink.                 16    underneath the kitchen sink is a place where there
   17            Q. But underneath the counter?                     17    is water damage in a lot of houses, true?
   18            A. Like more at floor level, if I recall.          18       A. True.
   19            Q. Well, what -- We don't have your field          19       Q. Because kitchen sinks from time to time
   20         notes, right?                                         20    leak, and water gets under that space, true?
   21            A. Correct.                                        21       A. True.
   22            Q. They don't say where you took the sample,       22       Q. All right. So the presence of mold
   23         right?                                                23    underneath a kitchen sink is not abnormal, right?
   24            A. Right.                                          24       A. Right.
   25            Q. And if you say there was water damage           25       Q. And you say that it contains a mycotoxin


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    1         producing fungi. Do you see that?                      1    floors. Do you see that?
    2            A. Yes.                                             2       A. Yes.
    3            Q. You are aware that only some species of          3       Q. Do you have a picture of that?
    4         Chaetomium produce mycotoxins, correct?                4       A. Yes.
    5            A. Correct.                                         5       Q. And would you write --
    6            Q. Not all species, right?                          6       A. Through there.
    7            A. Correct.                                         7       Q. Right. Write on the margins there
    8            Q. And this sample result does not tell you         8    "hardwood floors."
    9         which species of Chaetomium was present, correct?      9       A. (Complies.)
   10            A. Correct.                                        10       Q. And did you see visible mold growth
   11            Q. Only the genera, correct?                       11    there?
   12            A. Correct.                                        12       A. Yes.
   13            Q. So the statement that a mycotoxin               13       Q. Then write "VMG," right?
   14         producing fungi was found under the sink is not       14       A. (Complies.)
   15         true, correct? Because you don't know.                15       Q. And --
   16            A. True.                                           16       A. And here.
   17            Q. And you did not test for mycotoxins             17       Q. And the other place too?
   18         there, and you could have, right?                     18       A. Yes.
   19            A. I have the ability.                             19       Q. Okay. So help me see on those two photos
   20            Q. Right. But you did not?                         20    where the actual fungal growth is.
   21            A. Did not.                                        21       A. You can see it, the discoloration, all
   22            Q. You have that heavily contaminated by           22    through here. And especially up against the wall
   23         fungi statement regarding ATP results. That's         23    area. This one is -- you can see a bit up here of
   24         false, right?                                         24    just discoloration. But you can actually -- This
   25            A. Correct.                                        25    one's not a great picture, but this one shows the


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    1            Q. The back bathroom. On contents, you're           1    actual green discoloration.
    2        withdrawing and not making any opinions about those,    2       Q. And this looks like, to me, to be
    3        right?                                                  3    underneath a bed. Is that what I'm seeing?
    4            A. Right.                                           4       A. Behind the bed, yes.
    5            Q. The water intrusion from several areas,          5       Q. Okay. Behind the bed.
    6        what were you referring to there?                       6       A. Right.
    7            A. I believe it was a window issue.                 7       Q. And it's filthy.
    8            Q. You do not have a picture of it; is that         8       A. Correct.
    9        correct?                                                9       Q. So it has not been -- there is dust and
   10            A. (Reviewing photographs.) You cannot             10    dirt. Not casting aspersions. Underneath my bed
   11        tell.                                                  11    looks exactly the same. But where there is dust and
   12            Q. Okay. And you don't have a picture of           12    dirt, that is an invitation for mold to come and
   13        it, right?                                             13    live there. Is that true?
   14            A. Correct.                                        14       A. Correct.
   15            Q. You don't have a diagram for the Vinales        15       Q. And had that been properly cleaned, we
   16        home at all, right?                                    16    have no idea whether that same mold growth would be
   17            A. Correct.                                        17    there, true?
   18            Q. And your transmittal letter here does not       18       A. True.
   19        tell us what it is that you saw, correct?              19       Q. And whatever happens, that area has not
   20            A. Correct.                                        20    been cleaned and could be cleaned to eliminate both
   21            Q. And that is not consistent with the             21    the dirt, the dust, as well as the mold, right?
   22        requirements for a mold assessment, true?              22       A. Right.
   23            A. True.                                           23       Q. All right. The formal dining room,
   24            Q. And the downstairs bedroom, you say you         24    you're removing any opinions regarding the contents
   25        saw fungal growth along the edges of the hardwood      25    there, correct?


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    1           A. Correct.                                          1       A. Correct.
    2           Q. And you say "sweating windows." But do            2       Q. You're removing your opinion about the
    3        you have any pictures of that?                          3    personal items, right?
    4           A. Does not appear.                                  4       A. Right.
    5           Q. All right. And that is contrary to the            5       Q. Did the Vinales mention to you health
    6        requirements of a mold assessment, true?                6    complaints? Is that the reason for the health
    7           A. True.                                             7    statement?
    8           Q. Upstairs bathroom. No visible mold noted          8       A. Yes.
    9        there, right?                                           9       Q. Do you know if they ever took this report
   10           A. Right.                                           10    to any doctor?
   11           Q. And all you say is -- Well, let me ask           11       A. I do not.
   12        you. Do you have a photograph of that? I think you     12       Q. You were recommending them to do that,
   13        do.                                                    13    right?
   14           A. I've got the picture of the shower, but          14       A. Right.
   15        this is talking about the contents.                    15       Q. All right. Moving to the report itself.
   16           Q. Right. But is that the bathroom you're           16    There was, on Page 11 of the report -- are you with
   17        talking about? Is that the upstairs bathroom?          17    me -- inspection conclusions?
   18           A. Yes.                                             18       A. Yes.
   19           Q. And I'm seeing mold -- visible -- Well,          19       Q. All of these got answered yes. Is that
   20        what is that on the bathroom tile?                     20    right?
   21           A. That looks to me to be like a calcium            21       A. Right.
   22        deposit.                                               22       Q. And you have your standard language there
   23           Q. Okay. Is that not visible mold growth?           23    about Category 3 water. But there was no sewage
   24           A. It doesn't appear to be.                         24    water or anything that is within the meaning of
   25           Q. All right. And you didn't see any in             25    Category 3 water, correct?


                                                   Page 103                                                             Page 105
    1        that bathroom?                                          1       A. Other than the over the time.
    2           A. Correct. It was just about the personal           2       Q. Right. So it may have been some other
    3        contents.                                               3    kind of water --
    4           Q. All right. But you're not making any              4       A. Correct.
    5        opinions about those contents in that room.             5       Q. -- longer that 24 or 48 hours?
    6           A. Correct.                                          6       A. Correct.
    7           Q. Or any room, right?                               7       Q. All right. So going through your
    8           A. Right.                                            8    walk-through checklist, help me understand that
    9           Q. All right. Master bedroom. Where did              9    elevated moisture. You say yes in those listed
   10        you see visible water damage, fungal growth?           10    rooms?
   11           A. Yeah. It was all along several of the            11       A. Correct.
   12        walls and ceiling, which are what these two pictures   12       Q. Why?
   13        are. See, you can -- there's a big crack.              13       A. Condensation from the single-pane windows
   14           Q. Can you put "master bedroom" beside              14    leaking onto the -- it's not the sill plate, but the
   15        those?                                                 15    windowsill and down.
   16           A. Yes. (Complies.) There's more back               16       Q. Okay. And did you -- You don't specify
   17        here.                                                  17    that's what the moisture noted is, correct?
   18           Q. And those are all photos of visible mold         18       A. Correct.
   19        growth in the master bedroom?                          19       Q. And it's not documented in your report,
   20           A. And water damage as well.                        20    is it?
   21           Q. Okay. You say from a leaking roof?               21       A. I don't know.
   22           A. That's what it appeared to be.                   22       Q. It's not in any photographs, correct?
   23           Q. Okay. You are -- On the next page,               23       A. Correct.
   24        Page 3, you are removing your opinion about the        24       Q. There is no diagram, correct?
   25        entire home, correct?                                  25       A. Correct.


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    1           Q. Other than some isolated references in            1       A. Correct.
    2        the transmittal letter, it's not in the report          2       Q. Which makes it not a complete protocol,
    3        itself, is it?                                          3    right?
    4           A. I don't believe so.                               4       A. Right.
    5           Q. All right. And that wouldn't be proper            5       Q. Which makes it not a complete or accurate
    6        or appropriate for a mold assessment, would it?         6    or accepted mold assessment, correct?
    7           A. No.                                               7             MR. REED: Objection; form.
    8           Q. And water impact noted, you have yes on           8             THE WITNESS: Correct.
    9        all the rooms there. What's the basis for that?         9       Q. (By Mr. Boone) All right. And the same
   10           A. There were just several areas where --           10    thing for mold growth. Mold growth, you have yes in
   11        and that's more like along the lines of those          11    every room, but you did not actually see it in every
   12        windows as well. Typically, most everything was        12    room. Is that true?
   13        window-related in their house. And                     13       A. True.
   14        humidity-related.                                      14       Q. And we can't know which rooms you saw it
   15           Q. Okay. Well, what was the humidity in the         15    in from this table here, because you just say yes to
   16        home?                                                  16    all rooms; is that right?
   17           A. Apparently, that chart didn't make it in         17       A. Correct.
   18        here. Let me see if I noted it. It is not listed.      18       Q. And that's not the way you're supposed to
   19           Q. So you're basing your opinion in part on         19    do a mold assessment either, is it?
   20        there being high humidity, but you did not document    20       A. Correct.
   21        that fact, right?                                      21       Q. All right. And the AEC samples
   22           A. Correct.                                         22    collected, you're withdrawing your opinions
   23           Q. And that is contrary to accepted                 23    regarding the HVAC system, correct?
   24        standards regarding how to do a mold assessment,       24       A. Correct.
   25        true?                                                  25       Q. You say you collected samples in the


                                                   Page 107                                                             Page 109
    1           A. True.                                             1   sunroom. What samples was that?
    2           Q. You have to note what the relative                2      A. I believe it was a tape sample.
    3        humidity is and in which room you were taking the       3      Q. Okay. Which one was that?
    4        measurement and the conditions under which you are      4      A. The hutch. It came off the hutch in the
    5        taking it, right?                                       5   sunroom.
    6           A. Right.                                            6      Q. Okay. So that's the -- And that one
    7           Q. And you didn't do any of that?                    7   there says very few is the number of spores present,
    8           A. Correct.                                          8   correct?
    9           Q. So we have no basis to understand whether         9      A. Correct.
   10        that is true or not, correct?                          10      Q. And then it says Aspergillus as the
   11           A. Correct.                                         11   genera, right?
   12           Q. And the other was based on the                   12      A. Right. The laboratory also says mold --
   13        condensation from the windows. Did you see that on     13   their general impression is, it is mold growth.
   14        every single window or only some?                      14      Q. Gotcha.
   15           A. I do not recall.                                 15             And the kitchen on AEC samples -- And
   16           Q. Okay. And we can't know from the                 16   that one, you say not satisfactory for the same
   17        substance of this report which one of those it was,    17   reasons. That's just Kristy Beck-Miller, no
   18        true?                                                  18   standard determining that, right?
   19           A. True.                                            19      A. The laboratory, their general impression
   20           Q. So if I'm looking to go and take this            20   is that it's mold growth.
   21        report and do repairs, there's no way on earth I can   21      Q. Okay. And any mold growth anywhere is
   22        figure out which windows I need to look at, is         22   unacceptable, not satisfactory?
   23        there?                                                 23      A. When you have visible and you're looking
   24           A. Not without the diagram.                         24   at just a swab or a tape sample and the lab says
   25           Q. And the diagram is not included, correct?        25   mold growth based on, you know, the spores and the


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    1         hyphae, then I would say that would be not           1   183. Right?
    2         acceptable.                                          2      A. Correct.
    3            Q. Gotcha. All right.                             3      Q. So under what you told me for the Hiatts,
    4                   And the kitchen on samples collected,      4   that would be satisfactory, correct?
    5         that's the one sample underneath the sink, right?    5      A. Correct. But when you -- it's very rare
    6            A. Correct.                                       6   to see that high a number of basidiospores in a home
    7            Q. The back bedroom. I didn't see any             7   unless they have a bunch of plants. So, I mean,
    8         reference to a sample there. Maybe I missed it.      8   that's kind of a indicator that something could
    9         Back bedroom is there, right?                        9   possibly be going on.
   10            A. Correct. Yes.                                 10      Q. Well, do you know if the Daniels had
   11            Q. But then you say -- So that -- you            11   plants in their homes?
   12         haven't actually --                                 12      A. The Vinales.
   13            A. This is back bathroom.                        13      Q. I mean Vinales.
   14            Q. Oh, back bathroom. I gotcha.                  14      A. In the sunroom, they did, but not in the
   15            A. Yes.                                          15   back bedroom, that I recall.
   16            Q. So you did not see -- you did not take        16      Q. All right. So --
   17         any samples there?                                  17      A. That would just be a personal opinion on
   18            A. Correct.                                      18   the air samples.
   19            Q. But you did see visible mold growth?          19      Q. Right. So based on the nationally
   20            A. I believe that was on the air vents.          20   accepted standards, this would be satisfactory?
   21            Q. Do you have a photo of that?                  21      A. Correct.
   22            A. This one. These two.                          22      Q. Kristy Beck-Miller believes it's
   23            Q. You can write, if you would, "back            23   unsatisfactory without reliance on any nationally
   24         bathroom."                                          24   accepted standard. Is that what you're saying?
   25            A. (Complies.)                                   25      A. Yes.


                                                  Page 111                                                            Page 113
    1            Q. And what about did you see there?              1     Q. All right. Dining room. It says no
    2            A. Just visible mold growth on the air            2   sample collected, and then sample results, VMG.
    3         registers.                                           3   What does that mean?
    4            Q. And write "back bathroom visible mold          4     A. There was visible mold growth on some of
    5         growth, VMG," if you would.                          5   the furnishings in the living room and the formal
    6            A. Okay.                                          6   dining room.
    7            Q. Downstairs bedroom?                            7     Q. Do you have any of that documented?
    8            A. Yes. We have air samples for that.             8     A. I believe I have photos of that. This is
    9            Q. How many bedrooms were in this house?          9   part from the living room where it's got visible
   10            A. I do not recall.                              10   mold growth on that piece of furniture. Had some on
   11            Q. And you don't have a diagram, right?          11   a bag that had been sitting there.
   12            A. Correct.                                      12     Q. Well, this says formal dining room.
   13            Q. And you say the downstairs bedroom. So        13     A. Okay.
   14         you're referring to the spore trap sample that's    14     Q. Do you have any documentation of that?
   15         sample number 4; is that right?                     15     A. I am not seeing any photos of the formal
   16            A. Yes.                                          16   dining room.
   17            Q. And that sample is less than the control,     17     Q. And no diagram either, correct?
   18         right?                                              18     A. Right.
   19            A. There was one. The basidiospores were         19     Q. So there's no basis to understand what
   20         higher than the control. Or close to the control.   20   you're seeing with the visible mold growth in that
   21         I apologize.                                        21   room, right?
   22            Q. Well, the basidiospores were less than        22            MR. BRZEZINSKI: Object to form.
   23         the control, right?                                 23            THE WITNESS: Correct.
   24            A. Right.                                        24     Q. (By Mr. Boone) And that is not proper
   25            Q. The sample says 157. The control says         25   procedure, that is not compliant with the way a mold


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    1         assessment is supposed to be done, true?             1    the kitchen sink and the air register in the living
    2            A. True.                                          2    room, you say are not satisfactory; is that correct?
    3            Q. Upstairs bathroom. No sample collected.        3       A. Correct.
    4                   Master bedroom. You say a sample was       4       Q. But all of those in terms of the number
    5         collected, right?                                    5    of spores seen are all listed as very few, correct?
    6            A. Right.                                         6       A. Correct.
    7            Q. This one is also less than the control,        7       Q. And you agree that there is no nationally
    8         right?                                               8    accepted standard, guideline or peer-review study
    9            A. Correct.                                       9    that you know of that would judge whether or not
   10            Q. Yet you reach the NS conclusion. Why?         10    those test results were satisfactory or not
   11            A. Because we had visible water damage and       11    satisfactory, true?
   12         microbial growth on the ceiling and part of the     12       A. True.
   13         wall.                                               13       Q. All right. So that is -- conclusion is
   14            Q. So the sample results themselves are          14    not based on any nationally accepted standard but is
   15         satisfactory?                                       15    just Kristy Beck-Miller.
   16            A. Yes.                                          16              MR. BRZEZINSKI: Object to form.
   17            Q. Okay. And this column, as I read your         17       Q. (By Mr. Boone) Right?
   18         report, is just talking about the sample results,   18       A. Yes.
   19         right?                                              19       Q. And you noted on here that two of these
   20            A. Correct.                                      20    surface samples were SFC and one was a SWB; is that
   21            Q. And that should be "S" rather than "NS."      21    correct?
   22         Is that true?                                       22       A. Correct.
   23            A. Correct.                                      23       Q. Oh, I see. So the swab was of the air
   24            Q. So that's an error?                           24    register. The tape samples, under the kitchen sink
   25            A. Yes.                                          25    and on the hutch. Right?


                                                  Page 115                                                            Page 117
    1            Q. And you are removing your opinions             1       A. Right.
    2         regarding the entire home, correct?                  2       Q. And you include the actual air sample
    3            A. Correct.                                       3    results there, correct?
    4            Q. You are removing your opinions regarding       4       A. Correct.
    5         the personal belongings; is that correct?            5       Q. And those again indicate that the spore
    6            A. Yes.                                           6    trap samples results in both places are less than
    7            Q. We'll now go to Page 13 where we look at       7    the control and the total fungi, correct?
    8         some more sample results. The upstairs master        8       A. Correct.
    9         bedroom, you now agree that your report says not     9       Q. And less than the control on all of the
   10         satisfactory, but that is, in fact, satisfactory?   10    genera listed, correct?
   11            A. Correct.                                      11       A. Correct.
   12            Q. Okay. On the downstairs back bedroom,         12       Q. And under nationally accepted standard
   13         you agree that according to nationally accepted     13    and methodology, that comparison would be okay, for
   14         standards, that would be satisfactory, correct?     14    lack of a better word, correct?
   15            A. Correct.                                      15              MR. BRZEZINSKI: Object to form.
   16            Q. But according to Kristy Beck-Miller, it       16       Q. (By Mr. Boone) Is that true?
   17         is not?                                             17       A. True.
   18            A. Correct.                                      18       Q. Meaning, what you're looking for in the
   19            Q. All right. And the ATP samples all again      19    comparison is for the indoor samples to be less than
   20         showing cleanliness, correct?                       20    the control. And in this case, they were. Fair?
   21            A. Correct.                                      21       A. Fair.
   22            Q. You say -- And not satisfactory means         22       Q. And on this one, we do not have your
   23         unclean or dirty, right?                            23    field notes at all, correct?
   24            A. Right.                                        24       A. Correct.
   25            Q. The tape or swab samples for the hutch,       25       Q. And I don't mean to be flippant or --


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    1        Well, let's keep walking through the report. We get     1    not comply with national standards, correct?
    2        to the protocol section on Page 18; is that right?      2       A. Correct.
    3           A. Yes.                                              3       Q. And it says it will and it does, but in
    4           Q. And here again you are removing your              4    fact, it doesn't; is that true?
    5        opinions with respect to the HVAC system and the        5       A. True.
    6        contents, right?                                        6       Q. Okay. And so you don't want a court or
    7           A. Correct.                                          7    anyone else to rely on this as compliant with
    8           Q. But with respect to all of the other              8    national standards, because it is not.
    9        rooms, we don't have a description of where the         9       A. Correct.
   10        damage is in your report, correct?                     10              MR. BRZEZINSKI: Object to form.
   11           A. Correct.                                         11       Q. (By Mr. Boone) And so you would say to
   12           Q. And we don't have a photograph for where         12    the court that "I do not offer this as a reliable
   13        the damage is in all of them, correct?                 13    scientific mold assessment." Is that fair?
   14           A. Most of them.                                    14       A. Fair.
   15           Q. And we don't have a diagram saying where         15              MR. BRZEZINSKI: Object to form.
   16        the damage is, correct?                                16       Q. (By Mr. Boone) Okay. Are there any
   17           A. Correct.                                         17    other instances of visible mold growth in the
   18           Q. And we don't have a diagram that says            18    photographs other than those that you've marked
   19        your recommendations about what ought to be done to    19    already?
   20        clean or remediate a specific area, correct?           20       A. We have visible mold growth on this desk
   21           A. Correct.                                         21    that was in the sunroom. Do you want me to mark
   22           Q. And without that, you can't have a               22    those?
   23        protocol.                                              23       Q. Yes. Just tell us what it is in the
   24           A. Correct.                                         24    margin and what you saw.
   25           Q. So this can't be a protocol under the            25       A. Okay. So we've got visible mold growth


                                                   Page 119                                                             Page 121
    1         Texas rules, right?                                    1    there on the desk. (Indicating on photograph.)
    2            A. Correct.                                         2    Okay.
    3            Q. And under nationally accepted standards          3       Q. So you've noted all of the areas where
    4         that you follow, correct?                              4    you saw visible mold in the photographs that you
    5            A. Correct.                                         5    mentioned, correct?
    6            Q. And in fact, your mold assessment as a           6       A. Correct.
    7         whole does not meet those standards for this house.    7       Q. And that is all of the visible mold
    8         Would you agree?                                       8    growth that you saw in the home; is that true?
    9                   MR. BRZEZINSKI: Object to form.              9       A. I believe so.
   10                   THE WITNESS: I don't know.                  10       Q. Meaning that you tried to capture by
   11            Q. (By Mr. Boone) Okay. Well, and I don't          11    photograph wherever you saw visible mold so that you
   12         mean to be down on you, but we've been through a      12    could show it in your report, right?
   13         number of deficiencies and errors and mistakes --     13       A. Right.
   14            A. Correct.                                        14       Q. And so I don't want to -- there are no
   15            Q. -- and things that you disagree with the        15    other places or locations in the home that had
   16         nationally accepted standards and things that you     16    visible mold growth that are not in these photos
   17         said that are just not true.                          17    attached to Exhibit 16; is that true?
   18            A. Right.                                          18       A. I believe so.
   19            Q. And given all of that, you would agree          19       Q. All right. And you were not a part of
   20         with me that you would not hold this Vinales mold     20    the content sampling that occurred before the
   21         assessment report up as compliant with national       21    Vinales moved; is that correct?
   22         standards, would you?                                 22       A. That is correct.
   23                   MR. BRZEZINSKI: Object to form.             23       Q. So you don't have any opinions on whether
   24                   THE WITNESS: No.                            24    that sampling was done correctly or not or anything
   25            Q. (By Mr. Boone) So this Exhibit 16 does          25    like that?


                                                                                   31 (Pages 118 to 121)
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                                                   Page 122                                                             Page 124
    1           A. No. I wasn't even aware it existed.               1       A. Correct.
    2           Q. Okay. And we have again talked about all          2       Q. And then from Page 2, line 21 to
    3        of your opinions with respect to the Vinales            3    approximately Page 3, line 12, that was in the
    4        inspection; is that correct?                            4    dining room, correct?
    5           A. Correct.                                          5       A. Correct.
    6           Q. And there's nothing else that you -- no           6       Q. And then we have, on Page 3, line 14,
    7        opinion that you hold regarding that inspection         7    going to Page 4, about line 14, that was in the
    8        other than what's in here in your report?               8    butler pantry. Is that right?
    9           A. No.                                               9       A. Correct.
   10           Q. And as we talked about too, you are not          10       Q. Okay. On Page 4, line 15 where you talk
   11        submitting this court to the -- not submitting this    11    about an area of water damage here, that is at the
   12        report to the court, because it is not compliant and   12    back door, right?
   13        following national standards; is that true?            13       A. Correct.
   14                 MR. BRZEZINSKI: Object to form.               14       Q. And then you have a note, "I think we're
   15                 THE WITNESS: How does that work?              15    okay back here." That relates to maid's quarters on
   16           Q. (By Mr. Boone) Well, you agreed with me          16    line 17 of Page 4, correct?
   17        that there were many instances in here where you did   17       A. Correct.
   18        not follow national standards, right?                  18       Q. And then beginning on Page 4, line 24,
   19           A. Right.                                           19    "We have this vent." And that's in the kitchen,
   20           Q. And your report says that you will,              20    correct?
   21        right?                                                 21       A. Correct.
   22           A. Right.                                           22       Q. It's just that one line, "We have this
   23           Q. And you're -- just going forward, you            23    vent," is in the kitchen, right?
   24        don't want to offer this to the court as compliant     24       A. Yes.
   25        with national standards, because it's not.             25       Q. And when you say, "And we have some


                                                   Page 123                                                             Page 125
    1           A. Correct.                                          1    growth in the caulking around these windows," you
    2                 MR. BRZEZINSKI: Object to form.                2    are now in the sunroom. Is that correct?
    3                 MR. BOONE: All right. Why don't we             3       A. Correct.
    4        take a break. Maybe a lunch break.                      4       Q. And that discussion about the sunroom
    5                 (Lunch break.)                                 5    continues to Page 5, line 4, right?
    6           Q. (By Mr. Boone) So we're back on the               6       A. Right.
    7        record. And during the lunch break, I've now had a      7       Q. And then you're still downstairs.
    8        chance to show you the video of the walk-through of     8    Beginning on line 17 of Page 5, you're talking about
    9        the Paisano residence. Do you recall that?              9    the living room contents, right?
   10           A. Yes.                                             10       A. Right.
   11           Q. And we just looked at that, right?               11       Q. And then on Page 6 where your husband
   12           A. Right.                                           12    says, "We labeled this as bedroom 2," that's
   13           Q. And what I asked you to do is, on                13    upstairs in Abigail's room, which y'all note as
   14        Exhibit 39, which is the transcript, to kind of        14    bedroom 2, correct?
   15        follow along and write in the margins what room you    15       A. Correct.
   16        were in when you were talking about things; is that    16       Q. And there's a lot of discussion about
   17        right?                                                 17    that. But then Page 7, line 18, you're also in
   18           A. Right.                                           18    Abigail's room, bedroom 2, correct?
   19           Q. And you have done that in the margins.           19       A. Correct.
   20        But for clarity, I just kind of want to walk through   20       Q. And that goes to line 20 on Page 7,
   21        them just so we have it ail on the record.             21    right?
   22           A. Okay.                                            22       A. Right.
   23           Q. In Page 2, approximately lines 10 through        23       Q. Then Page 7, line 24, the texture coming
   24        15, you were in that utility closet. Is that about     24    up is in the master bedroom, right?
   25        right?                                                 25       A. Right.


                                                                                   32 (Pages 122 to 125)
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                                                    Page 126                                                             Page 128
    1            Q. And that master bedroom continues on              1       Q. Okay. What about mold growth there?
    2         Page 8, line 3 and 4, where you say "the weird split    2       A. It appeared to look like that crack maybe
    3         in the texture," that's also master bedroom, right?     3    had slight mold growth.
    4            A. Right.                                            4       Q. In it?
    5            Q. And then beginning on Page 8, line 17,            5       A. Yeah.
    6         there are general questions about contents all over     6       Q. Okay. We saw the crack. I didn't hear
    7         the house, right?                                       7    you say that there was mold in there. Was there?
    8            A. Correct.                                          8       A. I honestly don't recall without, like,
    9            Q. And that's where you say, on line 21, "I          9    being up against it again.
   10         didn't see anything that was overly concerning."       10       Q. Okay. So question mark maybe about a
   11         Right?                                                 11    mold growth in the master bedroom. Is that fair?
   12            A. Right.                                           12       A. Fair.
   13            Q. You say, "But we didn't see the                  13       Q. All right. Bedroom 1, which is the front
   14         typical" -- and then you go to the dresser but rule    14    of the house, you didn't see anything in that room.
   15         that out. And that was the dresser in the master       15    That's Julia's room, right?
   16         bedroom, right?                                        16       A. Right.
   17            A. Right.                                           17       Q. So --
   18            Q. But no mold there?                               18       A. We need to --
   19            A. Right.                                           19       Q. -- change that to no, correct?
   20            Q. And then you say, in line 13 through 16          20       A. Correct.
   21         of Page 9, "Haven't seen anything growing on the       21       Q. So that's not correct.
   22         furniture or pictures or anything." Correct?           22             And then mold growth noted, that's
   23            A. Correct.                                         23    also no; is that correct?
   24            Q. That all relates to the contents as well?        24       A. Yes.
   25            A. Correct.                                         25       Q. And then bedroom 2, which is Abigail's


                                                    Page 127                                                             Page 129
    1           Q. And then both I and Ryan Reed asked you            1   room, I think that's the one where you saw the
    2        if that's all, and you confirmed that that's all.        2   softness under the window?
    3           A. Okay.                                              3      A. Correct.
    4           Q. Is that right?                                     4      Q. So that's water impact there, yes?
    5           A. Right.                                             5      A. Yes.
    6           Q. Okay. Does that help refresh your                  6      Q. But mold growth, no?
    7        recollection about what you actually saw on              7      A. Along the window, in that -- that's where
    8        December 10th?                                           8   Brian took that tape sample.
    9           A. I believe so.                                      9      Q. Okay. All right. So those two are
   10           Q. All right. So going back to Exhibit 12,           10   correct.
   11        which is the Paisano report. I wanted to ask you        11            Maid's quarters, that was downstairs.
   12        this question. In your report itself about -- in        12   That's where you said there's nothing back here,
   13        the visual inspection part, which is your boxes.        13   right?
   14           A. Okay.                                             14      A. Yes.
   15           Q. Right?                                            15      Q. So that is no there. And no for mold
   16                   And particularly your columns "water         16   growth. Correct?
   17        impact noted" and "mold growth noted." Do you see       17      A. Correct.
   18        that?                                                   18      Q. The living room, that's also no and no,
   19           A. Right.                                            19   right?
   20           Q. So now that your memory is refreshed              20      A. With the exception of the possible mold
   21        about what you actually saw, did you see any water      21   growth noted on the HVAC system -- or the register.
   22        impact in the master?                                   22      Q. So the vent?
   23           A. Yes.                                              23      A. Right.
   24           Q. That crack?                                       24      Q. Okay. So it would be no as to water
   25           A. Right.                                            25   impact, but question mark on mold growth?


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                                                   Page 130                                                             Page 132
    1            A. Correct. It appeared to be mold growth           1       Q. (By Mr. Boone) Okay. Well, but this
    2         looking at the video.                                  2    section deals with the visual observations, which
    3            Q. Okay. Dining room, water impact? Is              3    were relatively minor, true?
    4         that correct? It's where you started.                  4       A. Define minor.
    5            A. No on water impact, and yes on visible           5       Q. Well, there were a handful or less of
    6         mold for the air register.                             6    instances that you pointed out in that walk-through,
    7            Q. So we changed dining room from yes to no.        7    weren't there?
    8         And then yes on the vent?                              8              MR. BRZEZINSKI: Object to form.
    9            A. Yes.                                             9              THE WITNESS: Yes.
   10            Q. Okay. And then the kitchen, water               10       Q. (By Mr. Boone) Okay. That's all I want
   11         impact, that's no?                                    11    to do on that. So we're going to switch to the
   12            A. And yes for the vent.                           12    Daniels. Are you with me?
   13            Q. And then yes for the vent. Okay.                13       A. Yes.
   14                  And the upstairs bathroom was                14       Q. And that's Exhibit Number 13, correct?
   15         nothing?                                              15       A. Correct.
   16            A. We didn't go in there at all.                   16       Q. All right. Same questions about this,
   17            Q. Right.                                          17    that all of your opinions with respect to the
   18            A. Well, during our walk-through.                  18    Daniels home are included in Exhibit 13, correct?
   19            Q. Which means no and no, right?                   19       A. Correct.
   20            A. Right.                                          20       Q. And all of the facts and data considered
   21            Q. Okay. And that's all of the rooms on            21    are in this exhibit, right?
   22         your checklist. Is that right?                        22       A. Correct.
   23            A. Right.                                          23       Q. And all of the bases for all of your
   24            Q. So I am counting, looks like -- one, two,       24    opinions are in this exhibit?
   25         three, four, five, six, seven, eight -- nine of       25       A. Correct.


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    1        those responses in this request for those two           1       Q. And that you have no opinions other than
    2        columns are incorrect. Did I get that right?            2    what's contained in the four corners of this report,
    3           A. Correct.                                          3    true?
    4           Q. And again, the purpose of a visual                4       A. Correct.
    5        inspection is to detail on a room-by-room basis         5       Q. And you adopt all of the general
    6        where water impact is, where visible mold growth is,    6    statements and testimony you had about the
    7        and record that fact accurately, correct?               7    provisions of this report that we went through on
    8           A. Correct.                                          8    the Hiatt?
    9           Q. And the Paisano report does not record            9       A. Yes.
   10        that accurately, does it?                              10       Q. Okay. So we don't need to re-plow all of
   11           A. Not in this section. It was a copy-paste         11    that ground, correct?
   12        error, apparently.                                     12       A. Correct.
   13           Q. Okay. Well, this is the section of your          13       Q. I want to show you first in the
   14        report talking about your walk-through inspection,     14    transmittal letter again -- which is on the front of
   15        correct?                                               15    Exhibit 13, right?
   16           A. Correct.                                         16       A. Right.
   17           Q. And we just saw a video of the summary of        17       Q. The first thing you mention is the HVAC
   18        that. And it is incorrect, true?                       18    system. And you have withdrawn all of those
   19           A. True.                                            19    opinions about that, correct?
   20           Q. All right. Does that cast all of your            20       A. Correct.
   21        conclusions into doubt?                                21       Q. Because you did not inspect the HVAC
   22                  MR. BRZEZINSKI: Object to form.              22    system, nor do you believe you're qualified to
   23                  THE WITNESS: No, not since we had            23    render an opinion on what needs to happen to it,
   24        such, you know, high numbers, you know, as far as      24    true?
   25        the air testing.                                       25       A. True.


                                                                                   34 (Pages 130 to 133)
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                                                    Page 134                                                             Page 136
    1           Q. But I wanted to call your attention to             1      Q. Right.
    2        the second sentence, "This has been backed up by         2             And you agreed and opined that this
    3        laboratory analysis of air register and boot."           3    home was dirty, correct?
    4           A. Right.                                             4             MR. BRZEZINSKI: Object to form.
    5           Q. Do you see that?                                   5             THE WITNESS: I do not recall the
    6           A. Yes.                                               6    Daniels being super dirty --
    7           Q. I didn't see any laboratory analysis of            7      Q. (By Mr. Boone) Okay.
    8        the air register and boot, but maybe I missed it.        8      A. -- per se.
    9        Is there any?                                            9      Q. Well, the ATP tests reflect that, don't
   10           A. Let me look. Do we have -- I thought              10    they?
   11        that there was a swab test done. But apparently         11      A. Yes.
   12        not. It was ATP. So that sentence should not be in      12      Q. Okay. But on the master bedroom, you did
   13        there. That is a mistake.                               13    ATP tests there, but you did not do any tape samples
   14           Q. So that's false?                                  14    there, correct?
   15           A. It's a mistake. Correct.                          15      A. Correct.
   16           Q. Okay. And I'm wondering, is that a                16      Q. Master bath, you've got a notation there.
   17        cut-and-paste error from some other report? Or          17    Do you have a photograph of that?
   18        what's the reason for that?                             18      A. I believe so. Yeah. This is the master
   19           A. Quite possibly, yes.                              19    bath. It had --
   20           Q. Okay. So the whatever -- Well, there is           20      Q. If you would just write "master bath" by
   21        no laboratory analysis of the air register and boot     21    whatever pictures are relating to the master bath.
   22        for the Daniels, correct?                               22      A. Okay. (Complies.) I believe this is the
   23           A. Correct.                                          23    whole page.
   24           Q. Okay. You have visible mold, water                24      Q. Okay. That makes it easy. So are you
   25        damage in the master bedroom and closet, right?         25    done marking all the master bath?


                                                    Page 135                                                             Page 137
    1            A. Right.                                            1      A. Yes.
    2            Q. You have a statement there about the              2      Q. All right. Moving to the son's bedroom.
    3         personal contents, but you are withdrawing all of       3   Do you see that on your report?
    4         those opinions, correct?                                4      A. Yes.
    5            A. Correct.                                          5      Q. And go to, if you would, your field
    6            Q. And you say "will require professional            6   notes, Exhibit 34. It looks like this on the front.
    7         remediation," but you don't know that to be true,       7   Exhibit 34 is your field notes taken at the time; is
    8         right?                                                  8   that right?
    9            A. Correct.                                          9      A. Right.
   10            Q. And you used the same language that you          10      Q. So you have a son's bedroom notation in
   11         used in the Vinales about the ATP results, that they   11   your transmittal. I don't see son's bedroom on your
   12         showed it was heavily contaminated by fungi,           12   field notes. Am I missing something?
   13         correct?                                               13      A. No. Sometimes I'll do it by photos or on
   14            A. Correct.                                         14   a drawing. Yeah. The boy's room is connected to
   15            Q. And that is not true?                            15   that bathroom. So we had areas around this exterior
   16            A. Correct.                                         16   wall right here and some spontaneous mold growth.
   17            Q. Because ATP does not detect fungi,               17      Q. And where is your diagram? Oh, on the
   18         correct?                                               18   field notes?
   19            A. Correct.                                         19      A. Yeah, on the field notes. And that is
   20            Q. It detects cleanliness.                          20   this, the son's room. (Indicating on photograph.)
   21            A. Cleanliness.                                     21      Q. So there's no notation on your
   22            Q. Correct?                                         22   observations about anything in the son's bedroom,
   23            A. So all of those statements throughout            23   correct?
   24         these reports should be -- instead of fungi should     24      A. Right. Sometimes if I'm mapping it out,
   25         be -- go back to cleanliness.                          25   I'll write it over there. But I don't see that I


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    1        wrote any of that down.                                1      A. (Indicating on photographs.) Okay. I
    2           Q. Okay. And it's not even in your diagram,         2    believe I got the majority of them.
    3        is it?                                                 3      Q. You finished?
    4           A. It's just about the wall issue.                  4      A. No, sir. (Indicating on photographs.)
    5           Q. Right. So there's no information in here         5    Okay.
    6        about the son's bedroom taken at the time, true?       6      Q. All right. So you have -- At my request,
    7           A. As far as we have our RLUs from the son's        7    you've written beside all of the pictures where you
    8        room window.                                           8    saw visible mold growth and written what room
    9           Q. Okay.                                            9    they're in; is that right?
   10           A. And so, yes. I mean, we've got the ATP          10      A. Yes.
   11        results.                                              11      Q. And you would agree with me, like you've
   12           Q. But visible water damage and fungal             12    done before, that you try to take pictures of every
   13        growth is not reflected in your field notes, right?   13    location where you see visible mold growth, correct?
   14           A. Right. But, I mean, a hundred percent of        14      A. Correct.
   15        what I -- not everything makes it in the field        15      Q. So there wouldn't be any other areas in
   16        notes. Some of it's up here.                          16    the Daniels house that had visible mold growth other
   17           Q. Some of it's in your head?                      17    than what you took pictures of; is that correct?
   18           A. Uh-huh.                                         18              MR. BRZEZINSKI: Object to form.
   19           Q. Okay. You got a reference there to the          19              THE WITNESS: I've got the
   20        furniture, bedding and toys, but you're not making    20    notification about the hutch, but I do not have a
   21        any opinions about that, correct?                     21    picture of the hutch.
   22           A. Correct.                                        22      Q. (By Mr. Boone) Okay. Other than that
   23           Q. And no tape samples in that room,               23    example -- And where is the indication of the hutch?
   24        correct?                                              24      A. In the dining room, living room. And it
   25           A. Correct.                                        25    was just an ATP test.


                                                   Page 139                                                            Page 141
    1            Q. And it's got that heavily contaminated by       1        Q. Okay. But that's not a finding of
    2        fungi language, which is not true, right?              2    visible mold growth, is it?
    3            A. Right.                                          3        A. No. It was just to check to see if what
    4            Q. No -- Same language in the dining room          4    was -- what they were -- you know, wondering if it
    5        about -- Well, do you have photos of the office or     5    was mold growth on it. And we just did an ATP on
    6        the dining room or the studio bathroom?                6    it.
    7            A. This is -- These are from the back room         7        Q. Okay. So that's not going to answer that
    8        studio.                                                8    question, right?
    9            Q. And when you say "these," I need you to         9        A. Right.
   10        write in the margins or draw arrows or whatever.      10        Q. You didn't take a tape sample on that to
   11            A. Okay. (Indicating on photographs.)             11    know whether it was or not, right?
   12            Q. All right. Did you write down all the          12        A. Right. I was limited by their finances.
   13        areas in the office, dining room, living room?        13        Q. Understood.
   14            A. I'll go through. Just did the back.            14              How much did each of these -- We saw
   15            Q. Or if you want to, just write on there         15    the ones that you were charging to Ryan Reed were
   16        where you see visible mold growth, what room it is,   16    about 1500 per inspection. How much did you charge
   17        on all the pictures.                                  17    these people?
   18            A. Okay. Do you want me to show where             18        A. I believe I gave them a discount on my
   19        visible mold growth is or just write "visible mold    19    time and then $75 per sample.
   20        growth"?                                              20        Q. So what would that be total?
   21            Q. Just write "VMG" that you saw it, and if       21        A. I believe it was 550 based on just that.
   22        it's not clear, what room that is.                    22        Q. Okay. The first page of the field notes,
   23            A. Okay. Because this whole page is the           23    Exhibit 34. So that's 550 total, includes your time
   24        master bath.                                          24    and all the samples?
   25            Q. Bathroom, right.                               25        A. I would have to double-check -- if I can


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                                                    Page 142                                                             Page 144
    1         get into the accounting program to double-check         1         Q. And there wasn't one in Wolf.
    2         that.                                                   2         A. Okay.
    3            Q. Okay. All right. So you didn't take as            3         Q. Is that right?
    4         many samples as you wanted to based on cost?            4         A. Correct.
    5            A. Correct.                                          5         Q. And that is, as we've been through the
    6            Q. And you didn't take the required number           6     national standards, that's a requirement for mold
    7         of samples under NIOSH 800, correct?                    7     assessment?
    8            A. Correct.                                          8         A. It's a suggestion by IICRC, by their
    9            Q. Or any of the accepted standards we've            9     standards.
   10         talked about, correct?                                 10         Q. Well, it's a requirement under the -- or
   11            A. Due to their inability to be able to pay         11     it's a should under the ASTM standard we went
   12         for it.                                                12     through, right?
   13            Q. All right. The entire home section here          13         A. Correct. But not a shall.
   14         in the transmittal, you are withdrawing all of that,   14         Q. So Page 9 of Daniels, elevated moisture
   15         correct?                                               15     is based on what?
   16            A. Correct.                                         16         A. Moisture readings.
   17            Q. And withdrawing the personal belongings          17         Q. And those are -- Again that's moisture
   18         section there, correct?                                18     meter readings in the building materials; is that
   19            A. Correct.                                         19     right?
   20            Q. And you were not present for any of the          20         A. Correct.
   21         content cleaning or clearance verification, were       21         Q. And they're not reflected or documented
   22         you?                                                   22     in any way, correct?
   23            A. I have no idea if they even had it done.         23         A. Yes.
   24            Q. Okay. So you have no basis to dispute            24         Q. And that is not proper procedure for a
   25         any of those findings?                                 25     mold assessment, is it?


                                                    Page 143                                                             Page 145
    1             A. Right.                                           1       A. That elevated moisture be not documented?
    2            Q. All right. Let's move on to your report.          2       Q. Yes. It must be documented.
    3         Page 6 has got the laundry list of things that you      3       A. Right. So we can go ahead -- if this
    4         offer. Which ones did they get?                         4    again looks like it's just a messed up chart.
    5             A. They got ATP and air samples.                    5       Q. So you would agree with me that the
    6            Q. And the rest are noes?                            6    elevated moisture noted where it says "Y," those you
    7             A. Correct.                                         7    have no documentation to support that, correct?
    8            Q. All right. Oh, I didn't see in this one           8       A. Unless it's written in my first outline
    9         a hypothesis written down either. Is that correct?      9    here, but I do not see -- in my bullet points -- But
   10             A. Yes.                                            10    I don't see anything that says that. So again, it's
   11            Q. And that's true for all of them, isn't           11    just a chart error.
   12         it?                                                    12       Q. Okay. And is that because -- So you were
   13             A. Yes.                                            13    withdrawing that -- all of those answers?
   14            Q. We went through it with Hiatt.                   14       A. Yes.
   15             A. Right.                                          15       Q. Okay. And did you actually -- Well, so
   16            Q. It wasn't in Hiatt.                              16    you don't have -- I mean, you know how you do that
   17             A. Right.                                          17    is, you go room by room and you check with the
   18            Q. There's no hypothesis in the Paisano one         18    moisture meter, building materials in that room to
   19         either, right?                                         19    see whether or not they are high or low, right?
   20             A. Correct.                                        20       A. Correct.
   21            Q. The Vinales we've been through. There            21       Q. And you don't have any documentation that
   22         wasn't one in there, correct?                          22    you did that?
   23             A. Correct.                                        23       A. No. I typically will do it if I see
   24            Q. Wasn't one in Daniels, right?                    24    something that's questionable. But I'm not seeing
   25             A. Right.                                          25    in any of my notes on here that I did that.


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                                                  Page 146                                                             Page 148
    1          Q. Okay. So it's not just that you don't             1    any kind there?
    2        have documentation; it's that you actually did not     2       A. No.
    3        do that?                                               3       Q. All right. What about the dining room,
    4           A. I do not recall that I did or didn't.            4    living room?
    5        But since it's not written down here -- I mean, we     5       A. Other than the cleanliness test for the
    6        can -- because I would have written, you know, that    6    hutch, no.
    7        there was an area, you know, that was at, you know,    7       Q. What about the studio bathroom?
    8        X and X, you know, X percent of moisture.              8       A. Yes. Oh. Well, they were both together.
    9          Q. Right. You'd put the moisture meter at            9       Q. Okay.
   10        the baseboard, and it gave a reading of blank?        10       A. So it's the studio and the bathroom, yes.
   11           A. Right.                                          11       Q. Okay. And skip HVAC.
   12          Q. But you don't have that anywhere?                12             Kitchen?
   13           A. I don't. So strike that.                        13       A. No.
   14          Q. So this elevated moisture noted, that is         14       Q. No.
   15        not reliable and you don't want us to rely on that?   15             And then back den?
   16           A. Correct.                                        16       A. We did an ATP test on the windows.
   17          Q. Okay. Water impact noted. Are all of             17       Q. Okay. So that was one, two, three --
   18        those rooms -- did you see water impact in each?      18    four of the responses in the samples collected
   19           A. In the master bedroom, yes. Master              19    column are incorrect?
   20        bathroom, yes. Son's bedroom, yes. Office, yes.       20       A. Correct.
   21        Dining room and living room, no. Studio bathroom      21       Q. Is that true?
   22        yes. Kitchen, no. And back den, yes.                  22       A. True.
   23          Q. So two of those responses in that column         23       Q. And the sample results, let's just go to
   24        are not correct?                                      24    the next page, 10, where you summarize those; is
   25           A. Correct.                                        25    that correct?


                                                  Page 147                                                             Page 149
    1           Q. And mold growth noted. Can you do the            1       A. Correct.
    2        same thing for me? Are all those rooms correct?        2       Q. And you took two air samples; is that
    3           A. In the master bedroom and closet, that is        3    right?
    4        correct. Master bathroom, correct. Son's bedroom,      4       A. Yes.
    5        correct. Office is correct. Dining room and living     5       Q. And those results are on Page 10 and 11
    6        room, incorrect. Studio and bathroom, correct.         6    of the report, right?
    7        Kitchen, not correct. Back den, correct.               7       A. Right.
    8           Q. So there are two items in that column            8       Q. And both of those air samples were less
    9        that are not correct in your report?                   9    than the outdoor control, correct?
   10           A. Correct.                                        10       A. No.
   11           Q. All right. And then it says "AEC samples        11       Q. Well, they're less in the total spores,
   12        collected." Can you --                                12    correct?
   13           A. Those would have been -- they were taken        13       A. The Aspergillus/Penicillium in both are
   14        in the studio, back studio -- back room and the       14    much higher than the outdoors.
   15        master bedroom. Which it's kind of -- their           15       Q. Okay.
   16        bedrooms are connected, the son's room and the        16       A. Maybe easier to look at it from the lab.
   17        master. So it was taken in between both, so we        17       Q. Yeah, maybe.
   18        could say bedrooms, basically.                        18             All right. So we've got -- the total
   19           Q. So the master and the son's bedroom is          19    spore count is less in both rooms than the control?
   20        correct.                                              20       A. Correct.
   21           A. Correct.                                        21       Q. What you're saying is, the
   22           Q. But no samples of any kind in the master        22    Aspergillus/Penicillium is greater than the control,
   23        bath; is that right?                                  23    right?
   24           A. Correct.                                        24       A. Correct.
   25           Q. What about the office? Any samples of           25       Q. All right. And is that the basis for the


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    1         not satisfactory?                                      1    correct?
    2            A. Yes.                                             2       A. If mold remediation will be done.
    3            Q. Is that a mixed bag, fair to say? Total          3       Q. Right. And in this instance, your
    4         mold is okay, but that particular one, not?            4    opinion was it needs to be done, right?
    5            A. That's fair to say.                              5       A. Correct.
    6            Q. All right. ATP, that's the cleanliness           6       Q. So it would have to have a protocol?
    7         standard. Again, that's Kristy Beck-Miller's           7       A. Not necessarily. You can -- It has to
    8         perception of satisfactory or not, right?              8    have a protocol, yes.
    9                   MR. BRZEZINSKI: Object to form.              9       Q. Yeah.
   10                   THE WITNESS: Well, it's based on the        10       A. But the protocol is not required to have
   11         number that the RLU returns, which are listed on      11    the drawing.
   12         Page 2 in each section.                               12       Q. A step at a time.
   13            Q. (By Mr. Boone) So you list those in the         13       A. Okay.
   14         transmittal letter?                                   14       Q. The assessment must have a protocol if
   15            A. Right. So for, like, the master bedroom,        15    you believe remediation is necessary in your
   16         it was 7851.                                          16    opinion, correct?
   17            Q. All right. And that's the cleanliness           17       A. Yes.
   18         standard, right?                                      18       Q. A protocol must tell the remediation
   19            A. Correct.                                        19    contractor what needs to be repaired, how much needs
   20            Q. Okay. And so going to the protocol,             20    to be repaired, in which rooms it needs to be
   21         beginning on Page 15. Are you with me?                21    repaired, and give specific directions on how to do
   22            A. Yes.                                            22    that, right?
   23            Q. This is the section again where you talk        23       A. Correct.
   24         about what needs to be done in each room, right?      24       Q. In your practice, you put all of that
   25            A. Right.                                          25    information on the diagram, correct?


                                                    Page 151                                                            Page 153
    1           Q. And tell me how you reach the conclusion          1        A. Correct.
    2        about which rooms to include on this list.              2        Q. It is not included in this written
    3           A. Based on visual observations, some on the         3    protocol piece beginning on Page 15, correct?
    4        air samples and the, you know, visual areas of          4        A. Correct.
    5        fungal growth.                                          5        Q. So without the diagram in your practice,
    6           Q. All right. There is no diagram attached           6    this doesn't get to -- doesn't amount to a protocol.
    7        to this report, correct?                                7        A. Correct.
    8           A. Correct. We are going to have to look             8        Q. Okay. That's what I thought.
    9        into that, because I normally always do one. So I       9              THE WITNESS: Sometimes I feel like
   10        don't know why there was not one produced.             10    he and I are arguing the same point.
   11           Q. Okay. Well, I don't either. This is the          11        Q. (By Mr. Boone) And then you -- So there
   12        only one I was given and the one that I was told you   12    is no protocol here, correct?
   13        were going to opine about.                             13        A. I would call this an assessment report.
   14           A. Right.                                           14        Q. An assessment report. So when it says on
   15           Q. But there is no diagram. And as we've            15    the front page "and protocol," that is not correct?
   16        been through before, without the diagram, it's not a   16        A. It should not say -- Unless there's a
   17        Texas-compliant protocol, true?                        17    diagram, it should not say protocol.
   18           A. It's not industry -- There's nothing in          18        Q. Okay. And you also saw that there were
   19        Texas that says I have to produce it. But I prefer     19    multiple errors in the visual observation, right?
   20        it on a professional level so that it makes it         20        A. Right.
   21        easier.                                                21        Q. One, two, three, four, five, six, seven,
   22           Q. Okay. Well, let me see if I can clarify.         22    eight, nine -- eight examples where you put yes and
   23        Maybe my question wasn't good enough.                  23    it should have been no, right?
   24                  But Texas does require a mold                24        A. Right.
   25        assessment consultant to complete a protocol,          25        Q. And does that affect the reliability --


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    1        It certainly affects the reliability of those          1    range. But they also live right across from each
    2        statements, doesn't it?                                2    other, relatively speaking, in the same area. So --
    3           A. For that section, yes.                           3       Q. Who lives across from who?
    4           Q. Okay. All right. Let's put Exhibit 13            4       A. Don't the Daniels and the Vinales live
    5        down.                                                  5    relatively close? From what I recall.
    6                  Now, I want to show you what has             6       Q. Okay. Well, let me unpack that for a
    7        already been marked as Exhibit Number 380.             7    minute.
    8           A. Okay.                                            8       A. Okay.
    9                  MR. BRZEZINSKI: That's a big number.         9       Q. Because you would agree with me that it
   10                  MR. BOONE: Yeah, it is.                     10    doesn't matter if they live next door, you need to
   11           Q. (By Mr. Boone) And is that your                 11    be taking the control sample from the area where --
   12        handwriting on Exhibit 380?                           12    outside the building you tested, correct?
   13           A. Yes.                                            13       A. Correct.
   14           Q. And it says, "Add outdoor from Vinales."        14       Q. So close doesn't really matter, does it?
   15        Right?                                                15             MR. BRZEZINSKI: Object to form.
   16           A. Right. Because it was raining that              16             THE WITNESS: If they're very close.
   17        night. But I didn't do it. I took it off the mold     17    But I don't recall how close they are. If they were
   18        lab reports. On the mold range as well, which are     18    next door to each other, one right in the middle
   19        here.                                                 19    would suffice.
   20           Q. Well, that's what I wanted to -- And when       20       Q. (By Mr. Boone) Fair enough. But they
   21        you say "here," let's be more specific.               21    weren't next door to one another.
   22           A. It's right after the -- right after the         22       A. Yeah, I don't recall.
   23        outdoor baseline.                                     23       Q. They're multiple houses in between,
   24           Q. Okay. Well, I want to understand what's         24    right?
   25        going on.                                             25       A. I don't recall.


                                                   Page 155                                                            Page 157
    1           A. Certainly.                                       1       Q. Okay. Well, if they're multiple houses
    2           Q. Did you send a spore trap sample for the         2    in between, you can't use a control sample from one
    3        Vinales?                                               3    house for the other; is that true?
    4           A. I am sure I did, because they were all           4       A. True.
    5        together.                                              5       Q. Okay. And that's what -- The control
    6           Q. Okay. So you sent -- So the test results         6    sample is, you test the air that's immediately
    7        from the Vinales were from an actual control at the    7    outside the home you're testing so you have
    8        Vinales residence; is that correct?                    8    something to compare what's going on inside versus
    9           A. Correct.                                         9    the air that's outside right by that house, right?
   10           Q. Okay. And let's look at -- that's               10       A. Right.
   11        Exhibit 16.                                           11       Q. And so a control sample from ten doors
   12           A. That I recall.                                  12    down is not going to fulfill that purpose, correct?
   13           Q. That's too many pieces of paper. My             13       A. Correct.
   14        apologies.                                            14       Q. And every national accepted standard
   15           A. I'm trying to remember why -- I know it         15    would say you got to take it at the place where
   16        was raining when we left. It was very, very late,     16    you're doing the indoor sample, correct?
   17        and it was raining. And --                            17       A. Correct.
   18           Q. When we left who?                               18       Q. And there is no provision in any national
   19           A. When I left Daniels. I did them late            19    standard that you do anything but take the control
   20        that night.                                           20    at the location where you're doing the indoor
   21           Q. The last one?                                   21    sampling, correct?
   22           A. The last one.                                   22       A. As far as I know.
   23           Q. All right.                                      23       Q. Right. Okay.
   24           A. And I know it was raining. And we needed        24              So in this instance, you believe you
   25        to -- I also needed to make a note to get the mold    25    took an outdoor sample at the Vinales, correct?


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                                                   Page 158                                                             Page 160
    1          A. Correct.                                           1       A. I'm lost.
    2          Q. But then with respect to the Daniels, you          2       Q. I apologize. It's confusing. But let's
    3        just told EMLab to add the outdoor sample from the      3    go to the Daniels report, Exhibit Number 13.
    4        Vinales to the Daniels, right?                          4       A. Okay.
    5          A. The data so that we could get the mold             5       Q. Okay?
    6        range. Because I have to have an outdoor to get a       6       A. Right.
    7        mold range for Texas for that area.                     7       Q. This one says, on the face of the report,
    8          Q. Well, are you telling them to just use             8    "outside," right?
    9        the results from the Vinales?                           9       A. Right.
   10          A. So that I could get this data.                    10       Q. Okay. And then the following page is
   11          Q. But I thought you --                              11    this mold range analysis that's prepared by EMLab.
   12          A. Get this data.                                    12    Do you see that?
   13          Q. I thought you told me you took an outdoor         13       A. Correct. Yes.
   14        sample from the Vinales.                               14       Q. And this is based on data in Texas as a
   15          A. I did.                                            15    whole, right?
   16          Q. Okay. And what are you asking them to             16       A. Texas as a whole for an entire year and
   17        do? I read it as "Just use the Vinales results for     17    in the month of April.
   18        the control for the Daniels." Is that what you did?    18       Q. Right. So when you were talking about
   19          A. I don't recall.                                   19    ZIP codes earlier, it's not ZIP codes. It's the
   20          Q. Okay.                                             20    whole state --
   21          A. But I know that it was pouring down rain,         21       A. It's the state. You are correct.
   22        and I needed this data, the mold range data.           22       Q. So that's --
   23          Q. For which one?                                    23       A. Different.
   24          A. For Daniels, because it was pouring down          24       Q. Yeah. Because Texas is like a huge
   25        rain.                                                  25    state, right? Austin's a lot different than


                                                   Page 159                                                             Page 161
    1            Q. Okay. So you didn't use the Vinales              1    El Paso, right?
    2         sample.                                                2        A. Right.
    3            A. Well, if you look -- and I didn't realize        3        Q. And it's taking data from all of those
    4         this -- this is the same as in the Vinales, which I    4    and some kind of average that they come up with on
    5         just looked at.                                        5    the mold range, right?
    6            Q. Right.                                           6        A. Right.
    7            A. Right.                                           7        Q. And it has an average of total spores,
    8            Q. And it's also the same as in the Wolf.           8    43,000 total spores, correct?
    9            A. It is?                                           9        A. Correct.
   10            Q. Yeah.                                           10        Q. And then 39,000 of that is Cladosporium?
   11                   MR. BRZEZINSKI: Object to form.             11        A. Correct.
   12                   THE WITNESS: Okay.                          12        Q. All right. But that's their estimate
   13            Q. (By Mr. Boone) Look at Exhibit                  13    that -- I mean, is that -- do you rely on that?
   14         Number 10.                                            14        A. We do when it's raining.
   15            A. You are correct.                                15        Q. Okay.
   16            Q. So here's what I'm getting at. If you           16        A. And in fact, I think even in part of
   17         took an actual sample of the Vinales and sent it in   17    my -- it used to say in my report that we -- at
   18         to EMLab, do you think they just sent you back the    18    times, we have -- yeah, AEC may use mold range
   19         mold score numbers?                                   19    tables for air sample comparison and analysis.
   20            A. I don't know.                                   20        Q. Okay. Well, it's one thing to say you
   21            Q. Okay. Because --                                21    may use it, and it's another to say that you've used
   22            A. Mold range numbers.                             22    it three times and not tell anybody. Do you agree?
   23            Q. Okay. Mold range numbers. So let's be           23               MR. BRZEZINSKI: Object to form.
   24         clear about what we're talking about. In Exhibit      24               THE WITNESS: I agree.
   25         Number 16 -- Well, let's do --                        25        Q. (By Mr. Boone) And none of these reports


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                                                    Page 162                                                            Page 164
    1        tell anybody that you're using the mold range           1    it up.
    2        estimate at all, do they?                               2       Q. All right. Aren't you responsible under
    3           A. I guess not.                                      3    the nationally accepted standards for keeping the
    4           Q. Well, I mean, you've got the reports in           4    chain of custody?
    5        front of you. They're your reports. They all say        5       A. It's in the mold portal.
    6        outside as if the control sample were taken at the      6       Q. And have you accessed that?
    7        particular residence, correct?                          7       A. No.
    8           A. Correct.                                          8       Q. Have you produced that?
    9           Q. And that's not true, is it?                       9       A. No.
   10           A. Correct.                                         10       Q. Have we asked you to produce that?
   11           Q. It's not a sample taken from outside of          11       A. Yes.
   12        anywhere, is it?                                       12       Q. Okay. So do you know what's on the chain
   13           A. No. It's based on the sample taken               13    of custody?
   14        outside of the Vinales, which was put in to do the     14       A. I do not.
   15        mold range. Because you have to have an outdoor for    15       Q. Okay. But what we have here, would you
   16        them to give you a mold range. I know, it's...         16    agree, is that you, in your reports, are using some
   17           Q. Well, then how does a mold range                 17    lab's estimate of outdoor spore counts for the whole
   18        substitute if it's raining outside?                    18    state of Texas?
   19           A. It's just based on that -- It wasn't             19       A. In these --
   20        raining when I did Vinales.                            20       Q. Correct?
   21           Q. Okay. So you're telling me that Vinales          21       A. -- three, yes.
   22        is an accurate report of the outside air at the        22       Q. Okay. And in the reports -- So they are
   23        Vinales residence when you took it?                    23    not control samples from the particular locations at
   24           A. I believe so.                                    24    issue, correct?
   25           Q. Okay. And so look at those numbers, if           25       A. Correct.


                                                    Page 163                                                            Page 165
    1         you would, in Exhibit 16. And look then in             1       Q. And they are not, therefore, taken
    2         Exhibit 13 at the mold range numbers. And tell me      2    according to nationally accepted standards, correct?
    3         if they're the same.                                   3              MR. BRZEZINSKI: Object to form.
    4             A. They are the same.                              4              THE WITNESS: Correct. But many
    5             Q. They're identical.                              5    people -- many assessors use mold range when they
    6             A. Yes.                                            6    can't get an accurate -- take an accurate sample due
    7             Q. For every species, correct?                     7    to weather.
    8             A. Yes.                                            8       Q. (By Mr. Boone) I don't know whether
    9             Q. And the odds of you returning an actual         9    that's true about whether many people do it or not.
   10         sample at the Vinales residence that matches up per   10    What I do know is that the national standards, ASTM,
   11         spore to precisely what the mold range is is          11    NIOSH 800, all the -- AIHA, ACGIH, none of them
   12         infinitesimal. Do you agree?                          12    authorize or recognize the use of an average for the
   13             A. I agree.                                       13    control, do they?
   14             Q. So this is the mold range in the Vinales       14              MR. BRZEZINSKI: Object to form.
   15         test result; is that right?                           15              THE WITNESS: True.
   16             A. Yes. I'm seeing that now, that that's          16       Q. (By Mr. Boone) All right. And so your
   17         what they returned as outdoors.                       17    use of the average for the control here is against
   18             Q. Now, my question is, did you actually          18    those accepted standards, true?
   19         take a sample at Vinales and the lab screwed it up    19              MR. BRZEZINSKI: Object to form.
   20         and sent you a bogus result? Or did you just use      20              THE WITNESS: True.
   21         the mold range to start with?                         21       Q. (By Mr. Boone) All right. And would you
   22             A. Well, do we have the Vinales chain of          22    agree with me that based on that fact alone, you
   23         custody?                                              23    don't have anything to compare these samples to that
   24             Q. Do you?                                        24    is recognized by the national accepted standards,
   25             A. I don't believe so. I would have to look       25    correct?


                                                                                   42 (Pages 162 to 165)
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    1            A. Correct.                                          1             Do you recall receiving that?
    2            Q. And for that reason, you cannot make a            2       A. I do not recall that.
    3         comparison that is compliant with the national          3       Q. All right. Then it says, "Michael filed
    4         accepted standards, correct?                            4    an additional TDLR complaint, and we haven't heard
    5            A. Correct.                                          5    anything."
    6            Q. And therefore, the air testing in these           6             Do you know who that --
    7         three instances is not reliable according to the        7       A. I do not recall.
    8         national accepted standards, correct?                   8       Q. Do you know who they filed the complaint
    9                   MR. BRZEZINSKI: Object to form.               9    against?
   10                   THE WITNESS: Correct. But it can             10       A. I don't. I don't recall. If you've got
   11         also be -- I mean, maybe not national standards, but   11    it somewhere, then I would know. I don't recall.
   12         as far as, you know, industry standards, you know,     12       Q. I'm asking you.
   13         when we have to do something different, we use the     13       A. Right.
   14         mold range. That's the whole reason why it's there.    14       Q. I don't know. The e-mail's to you.
   15            Q. (By Mr. Boone) Kristy Beck-Miller can            15             (Exhibit 42 marked.)
   16         decide to do what she wants to do, right? And          16       Q. (By Mr. Boone) Let me show you Exhibit
   17         that's what you're saying, is that it was raining, I   17    Number 42. It's another e-mail. Have you seen that
   18         couldn't take a control, and so I used the estimate.   18    before?
   19                   MR. BRZEZINSKI: Object to form.              19       A. Yes. I don't -- It says I wrote it to
   20            Q. (By Mr. Boone) Right?                            20    look at the report to see if there was anything that
   21            A. The next best thing I had.                       21    I had missed.
   22            Q. All right. But it wasn't raining at the          22       Q. All right. So this is a draft of the
   23         Vinales house, and you actually were able to take a    23    report that you sent to the Daniels, right?
   24         sample there. But you used the mold range anyway,      24       A. Correct.
   25         right?                                                 25       Q. And this is in an e-mail. This is not


                                                    Page 167                                                             Page 169
    1           A. I used what the lab sent back to me as my          1    any kind of portal or anything else, right?
    2        outside.                                                 2       A. Correct.
    3           Q. Okay. All right.                                   3       Q. And you're asking if there's -- to see if
    4                  THE WITNESS: Can we take a break               4    there's anything that I missed, right?
    5        before we --                                             5       A. Right.
    6                  MR. BOONE: Sure.                               6       Q. It says, "I still have to do the floor
    7                  (Short break.)                                 7    plan drawings for the remediation, but that will
    8                  (Exhibit 41 marked.)                           8    take me across the weekend to do. But I want to go
    9           Q. (By Mr. Boone) I want to show you now              9    ahead and get these into your hands."
   10        some e-mails that are between you and the Daniels       10              Correct?
   11        family.                                                 11       A. Correct.
   12           A. Okay.                                             12       Q. Does that refresh your recollection about
   13           Q. Exhibit 41 is one. If you remember, I             13    whether you ever did a floor plan?
   14        asked you at the beginning of the deposition whether    14       A. No, sir, it doesn't. It's just rare.
   15        you had looked for any correspondence -- well, you      15    But I don't, so...
   16        hadn't produced any correspondence with any of the      16              (Exhibit 43 marked.)
   17        plaintiffs.                                             17       Q. (By Mr. Boone) Let me show you
   18           A. Right. I was having a hard time finding           18    Exhibit 43. More e-mail communication.
   19        them.                                                   19       A. So it looks as though I did review the
   20           Q. All right. Well, this is some e-mail              20    Argus report, which it's been so long, I don't
   21        correspondence with Barbara High-Daniels, is it not?    21    recall. Because I have comments on that.
   22           A. Yes.                                              22       Q. Okay. And your comments are, "I don't
   23           Q. It says, "I wonder if you could provide           23    know what method they're using for what should be
   24        Michael and I with feedback from our latest mold        24    considered clean."
   25        result from Argus."                                     25              What is -- You've done clearance


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    1        verification before. What is the standard operating     1   appropriate, would it?
    2        procedure?                                              2     A. What?
    3           A. Is this post-clearance?                           3     Q. Using the same tape over and over again?
    4           Q. Yes.                                              4     A. No. That's why it says -- because it's
    5           A. I guess so, yes.                                  5   not going to be as sticky.
    6                  It has to be visually clean of dust           6             (Exhibit 45 marked.)
    7        and debris, and it also has to be either an air         7     Q. (By Mr. Boone) All right. I'll show you
    8        sample or a tape sample. And you have to use a --       8   Exhibit Number 45, which is some more communication.
    9        like a standard to --                                   9             Well, let me -- back on 44. You
   10           Q. What is the standard?                            10   didn't intend to opine about any of that stuff, do
   11           A. That's what I'm getting -- I'm sorry. My         11   you?
   12        brain's going 90 to nothing.                           12     A. No. It's somebody else's test.
   13                  You have to use a nationally --              13     Q. Okay. And that's what I'm going to say.
   14        accredited is not the word -- a nationally accepted    14   You don't have any opinions about what Argus did,
   15        clearance procedure.                                   15   whether they did it right or the answers. You don't
   16           Q. All right. And who comes up with those?          16   have any criticisms of anything they did, right?
   17           A. It could be -- according to the state of         17     A. I don't even remember the report, so no.
   18        Texas, I mean, any of the standards.                   18     Q. And Exhibit 45.
   19           Q. I know, but you've done verification             19     A. This is a continuation of 43.
   20        clearance before, right?                               20     Q. Yes.
   21           A. Right.                                           21     A. Right. Because that's when I sent this
   22           Q. What standard --                                 22   from 43.
   23           A. ACGIH, IIC -- Well, not IIC or -- They           23     Q. Right.
   24        talk about it in the S520.                             24             So they ask you, "Can you translate
   25           Q. Well, what definition do you use of              25   the mold reports?"


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    1        cleaning when you do verification clearance?            1              You say, "Send them over."
    2           A. It has be less than the non-control, it           2              They say, "Thanks for your
    3        has to not have any of the suspect -- the high          3    willingness."
    4        moisture suspect fungal spores in it, such as           4              And then later, you give some
    5        Chaetomium or Stachybotrys, things like that, and       5    comments back.
    6        visually clean. And also, I use ATP for surface         6       A. Correct.
    7        sampling. It has to get rid of the biofilm.             7              (Exhibit 44 marked.)
    8           Q. All right. When you say less than the             8       Q. (By Mr. Boone) All right. I'll show you
    9        control, you're talking about air sampling?             9    Exhibit Number 44.
   10           A. Correct.                                         10       A. And that's a continuation of 41 where
   11           Q. That is for contents, though, isn't it?          11    she's asking about whoever they complained about.
   12           A. I do not recall.                                 12       Q. Right.
   13           Q. Okay. Because there is no -- It's                13       A. And so I say, typically, they -- what
   14        talking about tape sampling.                           14    they do is, they go to the inspector.
   15                   Well, I'm just wondering, can you           15       Q. All right. And I'm not going to -- You
   16        answer any of the questions that you're asking for     16    weren't involved in the content sampling at the
   17        yourself? So what is the term clean when you do a      17    Daniels home, correct?
   18        verification clearance?                                18       A. Correct.
   19           A. Well, I would have to go back -- I mean,         19       Q. You have no opinions about whether that
   20        if this is on contents, I would have to -- I mean, I   20    was done correctly or incorrectly, correct?
   21        have to see how they sampled. Because what I'm         21       A. Correct.
   22        reading is, it looks like they used one tape and       22       Q. And we've just been through about five or
   23        went in several different areas. But you can't do      23    six different e-mails, which were subject to our
   24        that. You have to use one tape sample per area.        24    subpoena, right?
   25           Q. Okay. Well, they -- that wouldn't be             25       A. Right.


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    1           Q. We asked for communications with the              1       Q. And there are no other opinions that you
    2        plaintiffs, right?                                      2    want to give about the Wolf residence other than
    3           A. Right.                                            3    what's in here?
    4           Q. These were produced by the plaintiffs.            4       A. Correct.
    5           A. Okay.                                             5       Q. All right. The transmittal is first.
    6           Q. Did you even look for any --                      6    And on the Wolf report, I don't see any photographs
    7           A. Yes.                                              7    at all. Is that correct?
    8           Q. -- communications?                                8       A. They are not attached to this report.
    9           A. Uh-huh. We went through this yesterday,           9       Q. Okay.
   10        where I went and searched through the names and        10       A. For which reason, I do not know.
   11        everything. And I don't know -- I don't know.          11       Q. Okay. Did you take photographs?
   12           Q. So you looked in the right place where           12       A. I can't believe that I would not have
   13        these e-mails would have been?                         13    taken photographs.
   14           A. Yes.                                             14       Q. Okay. Well, we went through and looked
   15           Q. And you did not find these five or six           15    at the designation and read the numbers off, and
   16        e-mails?                                               16    this is what we were given.
   17           A. No, sir.                                         17       A. Okay.
   18           Q. Okay. And you knew that you -- Well, you         18       Q. Are there photos somewhere that relate to
   19        knew that you had only done reports for five of        19    the Wolfs?
   20        these plaintiffs, right?                               20       A. I would have to look. I typically put
   21           A. Right.                                           21    them all in here when I do the report.
   22           Q. One of whom's name was Daniels, right?           22       Q. All right. Well, did you -- I mean,
   23           A. Right.                                           23    obviously we asked for that in the subpoena,
   24           Q. I presume you searched by "Daniels,"             24    correct?
   25        right?                                                 25       A. Correct.


                                                   Page 175                                                             Page 177
    1          A. And High-Daniels.                                  1        Q. And did you even look?
    2          Q. And High-Daniels.                                  2        A. Of course I did. Yes.
    3          A. Correct.                                           3        Q. Okay. So the Wolfs, we don't have any
    4          Q. And there's five e-mails right here that           4    pictures to look at. Fair?
    5        would have come up on that search, right?               5        A. Fair.
    6          A. Right.                                             6        Q. And we don't have any diagram to look at,
    7          Q. Are you saying that it didn't come up on           7    right?
    8        your search?                                            8        A. Right.
    9          A. It did not.                                        9        Q. So that's not going to be any
   10          Q. Okay. So now let's move to the Wolfs.             10    documentation of any kind that's in the report,
   11          A. Okay.                                             11    right?
   12          Q. And that's Exhibit 10. And if you would,          12        A. Right.
   13        get out your field notes, which is also Exhibit 35.    13        Q. So we've got HVAC closet, talking about
   14        Looks like this.                                       14    visible water damage and fungal growth, but no
   15          A. Okay.                                             15    documentation of what that is, how big it was, where
   16          Q. All right. So same questions, last one.           16    it is, any of that?
   17        Your opinions with respect to the Wolf residence are   17        A. It's a six-by-three-foot closet, based on
   18        contained in this report, Exhibit 10, correct?         18    my field notes.
   19          A. Correct.                                          19        Q. All right.
   20          Q. And all the facts and data you considered         20        A. And having drawn this, it -- I mean, I
   21        are in here, right?                                    21    would have done a floor plan. So as to where it is,
   22          A. Yes.                                              22    why it's not attached to these reports with the
   23          Q. The basis for all your opinions is in             23    photos, I do not know.
   24        here, right?                                           24        Q. Okay. But the dimensions of the
   25          A. Yes.                                              25    closet -- you just told us the dimensions of the


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    1        closet, not of the water damage and fungal growth,      1    visible fungal growth there is anywhere, right?
    2        right?                                                  2       A. Correct.
    3           A. Right.                                            3       Q. And nor are there any pictures of that,
    4           Q. So we don't know what the size is of the          4    right?
    5        fungal growth from this report, right?                  5       A. Correct.
    6           A. Correct.                                          6       Q. And heavily contaminated by fungi per ATP
    7           Q. Or your field notes, right?                       7    results is not true, right?
    8           A. Correct.                                          8       A. Correct.
    9           Q. And you talk about the living room                9       Q. Upstairs bathroom. This is the culprit
   10        celling being wet at the time --                       10    bathroom, right?
   11           A. Correct.                                         11       A. Right.
   12           Q. -- due to a toilet seal leak above,              12       Q. So this is where the toilet seal was
   13        correct?                                               13    leaking downstairs, right?
   14           A. Correct.                                         14       A. Right.
   15           Q. Do you know whether that had been                15       Q. You say visible mold growth present, but
   16        reported to maintenance or not?                        16    you don't say where or how much, type, any of that,
   17           A. I have no idea.                                  17    right?
   18           Q. Okay. Because toilet seals do leak from          18       A. Right.
   19        time to time, don't they?                              19       Q. And there's no documentation of that in
   20           A. Yes.                                             20    your file or in -- well, anywhere, right?
   21           Q. All right. And I assume -- But you don't         21       A. Right.
   22        know what the maintenance status of that request was   22       Q. And I'm not making that up, am I? One of
   23        or not?                                                23    the things of a mold assessment inspection is to
   24           A. No idea.                                         24    identify where you see fungal growth, state where it
   25           Q. Fair enough.                                     25    is, how much it is, describe it as best you can,


                                                   Page 179                                                             Page 181
    1                  Master bedroom had visible water              1    either in words, pictures or both, right?
    2        damage on the wall. Is that from this same water        2       A. Right.
    3        leak?                                                   3       Q. And that is not here.
    4           A. Yes.                                              4       A. Right.
    5           Q. Okay. So it sounds like there was a               5       Q. Kitchen floor sustained repeated water
    6        toilet seal leak that was active while you were         6    damage, causing flooring to drop in one corner.
    7        there?                                                  7    What's that about?
    8           A. Correct.                                          8       A. The kitchen leaned, and it's away from
    9           Q. Okay. In the master bedroom, you used             9    where this bathroom leak is. So it appeared that
   10        the same language "heavily contaminated by fungi."     10    there was a leak in, like, maybe from an exterior or
   11        That is not true for ATP sampling, correct?            11    something, and it caused the floor to just kind of
   12           A. Correct.                                         12    get soft and drop a little. Or a lot, actually.
   13           Q. You use that over and over again on this         13       Q. But no pictures to verify any of that?
   14        transmittal as well, right?                            14       A. Right.
   15           A. Right.                                           15       Q. No diagram to verify any of that?
   16           Q. And that's not correct, right?                   16       A. Correct.
   17           A. Right.                                           17       Q. You are withdrawing your statement about
   18           Q. Master bathroom. It says visible fungal          18    the HVAC system, correct?
   19        growth, but you don't say how much or where or the     19       A. Correct.
   20        cause, do you?                                         20       Q. And this has that same language in it
   21           A. It's all part of that bathroom seal. And         21    about "This has been backed up by laboratory
   22        I got it written -- It's in my field notes. So the     22    analysis of air register and boot." Right?
   23        master bathroom would have been from a leak above      23       A. Right.
   24        that.                                                  24       Q. There was no such laboratory analysis of
   25           Q. Okay. But you don't write how much               25    air register or boot for the Wolf family, was there?


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    1            A. I'll have to look at the -- No.                   1    doing that in this home.
    2            Q. So this is a cut-and-paste -- Or it's not         2       Q. Okay.
    3         true as to the Wolfs, right?                            3       A. Because of the water that was coming from
    4            A. It's a cut-and-paste error.                       4    up above.
    5            Q. And that made its way to the Wolf report,         5       Q. All right. Well, do you document what
    6         correct?                                                6    those moisture readings were?
    7            A. Correct.                                          7       A. I believe they were on photographs. But
    8            Q. And the Daniels report, correct?                  8    I'm not seeing -- I'm not seeing the lab results,
    9            A. Correct.                                          9    I'm not seeing the photographs, and nor am I seeing
   10            Q. And it's just not true in either, right?         10    the floor plan, which makes me think this is --
   11            A. Correct.                                         11    sometimes they don't get put together in one -- a
   12                   MR. REED: Objection; form.                   12    lot of times, they'll put them into one PDF, but
   13            Q. (By Mr. Boone) And you're withdrawing            13    sometimes I send them as three. So I don't -- There
   14         the HVAC system opinion, right?                        14    should be more to this report. I just do not know
   15            A. Yes.                                             15    where it is.
   16            Q. Withdrawing the entire home opinion,             16       Q. Okay.
   17         right?                                                 17       A. I don't know if it was missing in -- I
   18            A. Right.                                           18    don't know.
   19            Q. Withdrawing the personal items and               19       Q. Okay.
   20         contents opinion, right?                               20       A. It's been so long since I put these files
   21            A. Right.                                           21    together for this that -- I mean, I haven't looked,
   22            Q. Did Ms. Wolf express any health-related          22    revisited that.
   23         claims to you?                                         23       Q. That's fair, except that in November of
   24            A. For her children.                                24    2020, we issued a subpoena to you to look, correct?
   25            Q. Okay. And you recommended she share the          25       A. Right.


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    1         results of this with a physician, right?                1      Q. Did you look?
    2            A. Right.                                            2      A. We went through the documents that Ryan
    3            Q. Do you know if she did that?                      3   needed from me based on what he had and what else
    4            A. No.                                               4   was needed.
    5            Q. All right. Let's go to the report                 5      Q. Well, did you look for your reports? It
    6         itself. And which ones of the laundry list of           6   seems like that would be the first thing you would
    7         things did the Wolfs get?                               7   look for, is where are my reports for these people?
    8            A. Air samples and ATPs.                             8      A. I thought they were already given to him,
    9            Q. So air sample, nonviable, right?                  9   because he didn't say he needed them; he said he
   10            A. Correct.                                         10   already had them, so...
   11            Q. And ATP. But none of the others; is that         11      Q. Well, did you look for your reports or
   12         right?                                                 12   not? I get that you think there's more, but it
   13            A. Correct.                                         13   shouldn't be a surprise as of today that we're just
   14            Q. Okay. And the active elevated -- Well,           14   coming to this, because we issued a subpoena a year
   15         the report -- preliminary report conclusions are all   15   and a half ago.
   16         yes, right?                                            16      A. Right.
   17            A. Yes.                                             17      Q. And then again a couple months ago,
   18            Q. And elevated moisture, is that again the         18   right?
   19         moisture meter --                                      19      A. Right.
   20            A. Yes.                                             20      Q. And on neither occasion did you actually
   21            Q. -- calculation that you did?                     21   generate or produce what you believe to be a
   22            A. Yes.                                             22   complete report for this family. Is that fair?
   23            Q. Or I guess you don't know whether you            23             MR. REED: Objection; form.
   24         did. Is that fair?                                     24             THE WITNESS: I generated it. I'm
   25            A. I would have had to. And I remember              25   just not sure where it -- why it's not all given to


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                                                        Page 186                                                       Page 188
    1       you.                                                    1    these notes.
    2         Q. (By Mr. Boone) Right. Okay.                        2       Q. All right. And then AEC samples
    3                So let me see if we can get it this            3    collected, same thing. Did you collect them in all
    4       way. This elevated moisture business, you have a        4    those --
    5       personal recollection of taking those readings? Is      5       A. They were collected in the kids' bedroom,
    6       that what you're telling me?                            6    in the living room downstairs.
    7          A. Yeah. And also just from my drawings              7       Q. So what about the master bedroom?
    8       here. So the HVAC closet was wet, part of the           8       A. Those were ATPs. And then the upstairs
    9       living room, the master bedroom, the master             9    bathroom was an ATP.
   10       bathroom, the upstairs bathroom where the water leak   10       Q. And do you count those as samples?
   11       was.                                                   11       A. Yes, I do.
   12          Q. Yeah. But what I'm -- Then the squiggly          12       Q. All right. But upstairs bathroom,
   13       is where the water is?                                 13    there's ATP, right?
   14          A. Yes.                                             14       A. Right.
   15          Q. Okay. I get that. I get you saw water.           15       Q. What about kitchen?
   16         A. Right.                                            16       A. I am not seeing ATP sample for the
   17         Q. What I'm trying to get is what the                17    kitchen.
   18       moisture readings were and where you took them and     18       Q. Or an air sample, right?
   19       what they were.                                        19       A. Correct.
   20         A. Okay. I do not have those listed on               20       Q. So kitchen says yes but should be no?
   21       here.                                                  21       A. Correct.
   22         Q. Okay. So you say that there are                   22       Q. So one of those is wrong?
   23       moisture -- elevated moisture in all of these rooms,   23       A. Yes.
   24       but you don't have any documentation to support        24       Q. Okay. And then the category of water
   25       that; is that true?                                    25    under S500, you saw an active toilet leak, but


                                                        Page 187                                                       Page 189
    1           A. Correct.                                         1    that's not Category 3 water, correct?
    2           Q. Okay. And you say water impact noted.            2        A. It was by this time due to time that the
    3        Is that in all of these rooms?                         3    toilet had been running.
    4           A. With the exception of the HVAC system,           4        Q. So that gets to your 24-hour rule or
    5        the personal items in the entire home.                 5    whatever?
    6           Q. So you're withdrawing all those, right?          6        A. Yes.
    7           A. Right.                                           7        Q. If it's water there longer than 24 hours,
    8           Q. Okay. But everything else, is there              8    it's automatically --
    9        water impact in the kitchen, upstairs bathroom,        9        A. 24 or 48.
   10        master bathroom, master bedroom, living room?         10        Q. Okay. Between 24 to 48, then it's
   11           A. Yes.                                            11    automatically Category 3?
   12           Q. All right. And did you see mold growth          12        A. Right.
   13        in all of those?                                      13        Q. All right. Okay. So let's talk about
   14           A. HVAC closet, yes. Master bedroom, yes.          14    the air sampling beginning on Page 10. This, we've
   15        Master bathroom, yes. Upstairs bathroom. So that      15    already been through. It says outside here. That's
   16        would -- I do not have it noted in the living room    16    not an outside control sample, is it?
   17        or the kitchen.                                       17        A. It's based on the mold range.
   18           Q. All right. So --                                18        Q. It says outside.
   19           A. Wait. Kitchen over here, visible mold           19        A. Correct.
   20        growth.                                               20        Q. And that's not true.
   21           Q. So on this one, it says "living room mold       21        A. Correct.
   22        growth noted." Your report says yes. But that's       22              MR. REED: Objection; form.
   23        not correct?                                          23        Q. (By Mr. Boone) But even if you use that,
   24           A. As far as just looking back on these            24    the living room is less than the control, whatever
   25        notes that I have, I did not write that down in       25    that was, right?


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    1            A. With the exception of                            1       A. Fair.
    2         Aspergillus/Penicillium.                               2       Q. And that means that this cannot be a
    3            Q. And what was that?                               3    nationally recognized or accepted protocol, right?
    4            A. 3600.                                            4              MR. REED: Objection; form.
    5            Q. All right. And is that the reason why            5              THE WITNESS: Correct.
    6         that was not satisfactory?                             6       Q. (By Mr. Boone) And without it being a
    7            A. Yes.                                             7    protocol, you got to take that off the title of the
    8            Q. All right. And the ATP is the                    8    report like you did before?
    9         cleanliness standard we talked about over and over,    9       A. Right. It would be a mold assessment
   10         right?                                                10    report.
   11            A. Correct.                                        11       Q. All right. And you believe in this one,
   12            Q. So when you say not satisfactory, that          12    like the last one, that some type of mold
   13         just means not clean, right?                          13    remediation is warranted, correct?
   14            A. Correct.                                        14       A. Correct.
   15            Q. You didn't do any laser particle counting       15       Q. And under Texas rules, when you reach
   16         on this one, right?                                   16    that conclusion as a mold assessor, you have to
   17            A. I did not.                                      17    include a protocol, right?
   18            Q. Or the Daniels, right?                          18       A. No. No. If the work is going to be
   19            A. Right.                                          19    remediated by a professional mold remediation
   20            Q. Or the Vinales, right?                          20    company, they have to have a protocol to do it.
   21            A. Right.                                          21       Q. Okay. But you don't, as a mold
   22            Q. Any particular reason?                          22    assessment person, have to generate a protocol under
   23            A. I don't recall.                                 23    the TDLR?
   24            Q. All right. Do you charge extra for LPC?         24       A. No.
   25            A. No.                                             25       Q. All right. And again, removing your


                                                   Page 191                                                             Page 193
    1           Q. And I didn't see any relative humidity            1    opinions about the HVAC system and about the
    2        recordings here anywhere either, right?                 2    personal contents in the Wolf home, right?
    3           A. Correct.                                          3       A. Right.
    4           Q. And that's for Wolf.                              4       Q. And removing your sections about the
    5                 I didn't see them in Daniels either,           5    entire home in this Wolf report, right?
    6        right?                                                  6       A. Right.
    7           A. Right.                                            7       Q. All right. Do you recall having any
    8           Q. Or Vinales, right?                                8    conversations with Kassandra Wolf about any of this
    9           A. Right.                                            9    testing?
   10           Q. And relative humidity is a standard --           10       A. Regarding my testing?
   11        one of the tools in your tool kit, right?              11       Q. Yeah.
   12           A. It's one of my tools. So is laser                12       A. I don't recall. I believe she had asked
   13        particle counter. It's just one of the tools.          13    a few questions, but I don't recall what they were.
   14           Q. I gotcha.                                        14       Q. Were you provided any other test results
   15                 But you didn't use that tool --               15    of the Wolf home in connection -- well, at any time?
   16           A. Correct.                                         16       A. Not that I recall.
   17           Q. -- on any of these three that you did            17       Q. And not as reflected in your report,
   18        this day?                                              18    right?
   19           A. Correct.                                         19       A. Right.
   20           Q. So going to the protocol section of the          20             (Exhibit 46 marked.)
   21        report, beginning on Page 15, here again we've got a   21       Q. (By Mr. Boone) Okay. I'll show you
   22        situation where we don't have a diagram. And so we     22    Exhibit Number 46. E-mail message with Kassandra
   23        don't have a description of what needs -- what you     23    Wolf. Do you see that at the bottom?
   24        found in what rooms, in what dimensions, and what      24       A. Yes.
   25        needs to be done about it. Fair?                       25       Q. This is another communication with


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    1        another one of your clients that was not produced by    1    isn't correct?"
    2        you, right?                                             2              Do you see that?
    3           A. Right.                                            3       A. Yes.
    4                  MR. REED: It was produced.                    4       Q. Did you tell any of these plaintiffs that
    5                  MR. BOONE: That's fair.                       5    everything they had would have to be cleaned or
    6                  THE WITNESS: This is just my                  6    everything would be recontaminated?
    7        preliminary, you know, take a look at this and I        7       A. I do not recall saying those words. I
    8        have to finish the report.                              8    know that if a mold remediation issue or a water
    9           Q. (By Mr. Boone) Right. And again, it               9    issue is ongoing, it will contaminate everything.
   10        says -- it's the same language that we saw with the    10       Q. I understand. We've been through now all
   11        last one, wasn't it?                                   11    five of your reports. And you were very careful to
   12           A. Right.                                           12    say that you did not make any opinions as to the
   13           Q. So I haven't done the floor plan                 13    state of anyone's contents, right?
   14        drawings, take me across the weekend to do it, and     14       A. Right.
   15        here's the draft. Right?                               15       Q. I'm just wondering if you would tell
   16           A. Right.                                           16    something different to these plaintiffs.
   17           Q. Do you know whether you actually even            17       A. I -- No. Not that I know of.
   18        finished the draft?                                    18       Q. Okay. So if Ms. --
   19           A. You've got the draft. I just have to             19       A. I'm assuming -- Is she talking about the
   20        do -- I just -- I don't recall, but more than likely   20    house, or is she talking about her goods?
   21        I finished the floor plan.                             21       Q. It looks like, to me, that they're
   22           Q. Okay. Well, that's all I'm asking, is,           22    talking about the goods.
   23        does this -- Now that you've seen it, you sent two     23       A. Okay.
   24        of them out without the floor plan, does that          24              MR. REED: We're not going to assume
   25        refresh your recollection of maybe I never did a       25    anything.


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    1        floor plan on these?                                    1            MR. BOONE: Well, I don't know. I
    2           A. I don't know. It would be very rare.              2   wasn't in the conversation for sure.
    3           Q. All right. Did you ever have                      3      Q. (By Mr. Boone) But all I'm doing is to
    4        conversations with Chief Latagne at Randolph?           4   ask you -- So as best you recall, did you tell any
    5           A. It does not ring a bell.                          5   of your clients that everything -- their contents
    6           Q. Do you know that the plaintiffs Kassandra         6   would have to be cleaned or everything would be
    7        Wolf, Leilani Hamilton and others were lobbying         7   recontaminated?
    8        Chief Latagne for you to do mold testing all across     8      A. Not as far as their contents. I would
    9        Randolph?                                               9   think it would just be in whatever was wet, if
   10           A. Not that I was aware of.                         10   something was wet, or the buildings, you know, where
   11                  (Exhibit 47 marked.)                         11   their stuff is, if there's visible mold growth.
   12           Q. (By Mr. Boone) Show you Exhibit 47.              12      Q. All right. So the answer's no?
   13        These are some social media messages. Look at the      13      A. Yeah. As far as I remember.
   14        control number 59 at the bottom. It looks like this    14      Q. All right. And you did not participate
   15        page right here. Do you see this?                      15   in any of the mold assessment or any other work at
   16           A. Yes.                                             16   the Wolf residence after that one day you were
   17           Q. And this is Chief Latagne in the gray and        17   there, correct?
   18        then I believe Kassandra Wolf in the blue. And she     18      A. Correct.
   19        says, "When we had the meeting with my mold            19      Q. So you don't have any opinions about the
   20        assessor, she was very clear that everything had to    20   quality of that work, whether they got it right or
   21        be cleaned or everything would be recontaminated.      21   wrong or too much or too little, no opinions about
   22        If they aren't cleaning everything, then what I was    22   that?
   23        promised in the room with you and my husband's --      23      A. No opinions.
   24        Can we please start an open e-mail conversation        24      Q. All right. We're at a good stopping
   25        including you and Kristy so she can explain why this   25   place. You want to take another break?


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    1           A. Sure.                                            1       A. Right.
    2                 (Short break.)                                2       Q. And you believe Becky Vinales may have
    3           Q. (By Mr. Boone) So the next -- and                3    asked you to do so?
    4        actually, this is the last of the things that were     4       A. Maybe.
    5        identified in the designation, if you remember when    5       Q. All right. Any other of the others?
    6        we started, right?                                     6       A. I don't recall exactly.
    7           A. Right.                                           7       Q. All right. And at this time, we are just
    8           Q. This is the letter to -- Well, tell me           8    talking about Wolf, Daniels, Vinales, correct?
    9        what this is.                                          9       A. Correct.
   10           A. It's a letter to Brigadier General              10       Q. All right. You mention personal items,
   11        Lenderman, just kind of asking for a sit-down to      11    visible fungal growth on personal items. Which you
   12        talk with her about just the things that I had        12    had seen and documented that we've been through,
   13        visually seen and tested through those three          13    right?
   14        families, the Wolfs, Daniels and Vinales.             14       A. Correct.
   15           Q. Okay. And that's on Exhibit 14?                 15       Q. Did you tell or -- I didn't see in this
   16           A. Yes.                                            16    letter that you were not making an opinion as to
   17           Q. And the pitch was that you wanted to do         17    what needed to happen to those contents. Did you at
   18        at Randolph what you had been doing at Fort Hood,     18    any point ever tell General Lenderman that you had
   19        right?                                                19    no opinions about that?
   20           A. I wanted to kind of just talk to her. It        20              MR. REED: Objection; form.
   21        wasn't so much about getting the work. I just felt    21              THE WITNESS: I don't recall.
   22        like somebody up needed to know what was going on.    22       Q. (By Mr. Boone) Okay. And the next --
   23           Q. But you asked for the work?                     23    the sentence that says "the level of
   24           A. Of course.                                      24    cross-contamination in these homes." And you've
   25           Q. All right. So what was -- what                  25    used this word before in these reports, right?


                                                  Page 199                                                             Page 201
    1        precipitated this?                                     1       A. Right.
    2           A. There was -- We had a very large meeting.        2       Q. And what you mean by that word is the
    3           Q. Who was at the meeting?                          3    potential for something in one place to be
    4           A. Brigadier General Lenderman and about 30         4    transmitted to someplace else, right?
    5        other people.                                          5       A. Right.
    6           Q. Okay. So this is a -- So your letter led         6       Q. Okay. But did you explain that
    7        to that meeting?                                       7    distinction to General Lenderman?
    8           A. Yes.                                             8       A. I don't recall.
    9           Q. Okay. Let's start in the timeline. What          9       Q. All right. So you say, "These homes are
   10        led you to write the letter? Was there a phone        10    some of the worst I have encountered in my 20-year
   11        call? Meetings with any of these plaintiffs? Or       11    career."
   12        what was the situation?                               12       A. I said the level of cross-contamination
   13           A. I honestly do not recall. I don't know          13    in these homes.
   14        if Becky Vinales asked me to do it.                   14       Q. Okay. Well, what we have been through
   15           Q. Surely some or one -- all of the                15    today is that you do not have any documented proof
   16        plaintiffs had to ask you to go talk to her.          16    of cross-contamination anywhere. You only have your
   17           A. Well, I had to get their permission.            17    assumption that that is true based upon what you
   18                  MR. REED: Objection; form.                  18    believe to be spores going elsewhere. True?
   19           Q. (By Mr. Boone) Okay. Because you                19       A. And based --
   20        couldn't just go and see what -- tell what you had    20              MR. REED: Objection; form.
   21        seen in their homes without their permission?         21              You can answer.
   22           A. Correct.                                        22              THE WITNESS: And based on the air
   23           Q. So you had their permission --                  23    sample and the things that I've seen, and
   24           A. Right.                                          24    experience.
   25           Q. -- to go and write her, right?                  25       Q. (By Mr. Boone) I'm curious about whether


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                                                  Page 202                                                             Page 204
    1         the things that you saw at Fort Hood were worse or    1     A. Correct.
    2         not.                                                  2     Q. Okay. So, for example, you have not seen
    3            A. It varies some, but these were some of          3   maintenance record number one on any of those three
    4         the worst I had seen.                                 4   homes to this day, have you?
    5            Q. Okay. You say, "I've been given                 5      A. No.
    6         permission." Right? That confirms that the three      6      Q. So you have no idea whether any of the
    7         families have authorized you to do it, right?         7   things they were complaining about had even been
    8            A. Right.                                          8   reported to maintenance, do you?
    9            Q. And you provided the reports to General         9     A. No.
   10         Lenderman, correct?                                  10            MR. REED: Objection; form.
   11            A. Correct.                                       11     Q. (By Mr. Boone) Nor do you know what the
   12            Q. And you acknowledge after our experience       12   maintenance response was to any of those complaints,
   13         today that those three reports are full of errors,   13   correct?
   14         aren't they?                                         14      A. Correct.
   15            A. Correct.                                       15      Q. And without any of that information, you,
   16                   MR. REED: Objection; form.                 16   Kristy Beck-Miller, can't comment on whether or not
   17            Q. (By Mr. Boone) All right. And there are        17   they did their job or not, can you?
   18         many factual inaccuracies in them, correct?          18             MR. REED: Objection; form.
   19            A. Correct.                                       19             THE WITNESS: True.
   20            Q. And that with respect to one of them, the      20      Q. (By Mr. Boone) All right. And it says
   21         Vinales report, you do not even believe it is        21   that "issues are not being handled in accordance
   22         reliable according to national standards, correct?   22   with the TDLR." What issues?
   23                   MR. REED: Objection; form.                 23     A. Like mold, any mold remediations, from
   24                   THE WITNESS: Correct.                      24   what I was being told, were not being handled by
   25            Q. (By Mr. Boone) And you sent those              25   mold remediation companies, but just by maintenance.


                                                  Page 203                                                             Page 205
    1        reports to General Lenderman without disclosing any    1       Q. Okay. Well, would you also agree that
    2        of that information, true?                             2    that is 100 percent based upon what those three
    3           A. I did not know it at the time.                   3    families told you?
    4           Q. All right. You say that "my statement            4       A. Yes.
    5        that base housing is not being handled well by the     5       Q. And zero percent based upon what you
    6        current maintenance company." You see that?            6    actually know?
    7           A. Yes.                                             7       A. Correct.
    8           Q. That's not --                                    8       Q. So you don't know how any mold
    9           A. It's my opinion.                                 9    remediation at any of these three or any other thing
   10                  MR. REED: Wait till the question is         10    was handled by Randolph Family Housing, do you?
   11        asked.                                                11               MR. REED: Objection; form.
   12                  THE WITNESS: I'm sorry.                     12               THE WITNESS: Correct.
   13           Q. (By Mr. Boone) Well, you don't have any         13       Q. (By Mr. Boone) And so you don't know
   14        information about that, do you?                       14    whether those practices were being done in
   15           A. Just based on what they -- what the three       15    accordance with the TDLR or not, right?
   16        families were saying, you know, I couldn't get this   16       A. Right.
   17        fixed or that fixed, or anything like that.           17       Q. And then it says "and to our national
   18           Q. And that's exactly where I'm going.             18    standards." You likewise don't have any idea
   19           A. Right.                                          19    whether that's true or not, correct?
   20           Q. 100 percent of the basis of that                20               MR. REED: Objection; form.
   21        statement is what those three families told you,      21               THE WITNESS: Correct.
   22        correct?                                              22       Q. (By Mr. Boone) So why would you believe
   23           A. Correct.                                        23    everything these three families told you and act
   24           Q. You have no idea about whether what they        24    like it's a fact to the general in charge of the
   25        told you is actually true.                            25    whole base?


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                                                    Page 206                                                             Page 208
    1                  MR. REED: Objection; form.                     1              THE WITNESS: No, because I did not
    2                  THE WITNESS: I do not recall why.              2    realize it at the time.
    3            Q. (By Mr. Boone) Okay. You would agree,             3       Q. (By Mr. Boone) All right. You disclose,
    4         would you not, that General Lenderman, when she         4    in the last paragraph, that you had been hired by
    5         reads this, doesn't have any idea whether that is --    5    Fort Hood, right?
    6         she might think that's your Kristy Beck-Miller's        6       A. Right.
    7         opinion about those, right?                             7       Q. And that was 176 homes you told me
    8                  MR. REED: Objection; form.                     8    before, right?
    9                  THE WITNESS: I don't know what she             9       A. Correct.
   10         would assume.                                          10       Q. And what was your base -- what was your
   11            Q. (By Mr. Boone) Well, that's what the             11    pay for that per home?
   12         plain language says, that -- well, it does not say     12       A. I don't remember.
   13         that based solely on what these people are telling     13       Q. Was it about what you charged at
   14         me those things. It says those things, right?          14    Randolph?
   15            A. It says these things, but you asked me           15       A. Yeah.
   16         what she would assume or think. I don't --             16       Q. Somewhere in the neighborhood of 1500 an
   17            Q. That's fair.                                     17    inspection?
   18                  So when you say that would back up my         18       A. No. It was a lot less than that.
   19         statement that base housing -- When you say "my        19       Q. Like a thousand?
   20         statement," that's not really your statement.          20       A. Like 450 a home.
   21                  MR. REED: Objection; form.                    21       Q. Were you doing just assessments or
   22                  THE WITNESS: Correct. I suppose.              22    verifications, or what?
   23            Q. (By Mr. Boone) Yep.                              23       A. Yes. Both.
   24                  You say, "Due to some of the evidence         24       Q. Okay. And you were only charging 450 a
   25         I have seen in these three houses, these industry      25    home?


                                                    Page 207                                                             Page 209
    1        controls are not being met."                             1      A. That was the only way I could get the
    2                  Which industry controls are you                2   contract.
    3        talking about?                                           3      Q. Okay. At 500 a home, that's still
    4           A. I'm talking about, you know, the going             4   $85,000?
    5        in, doing an assessment, doing a -- by the base.         5      A. Approximately.
    6        Having it assessed, doing a mold remediation, you        6      Q. All right. And here at the end is that
    7        know, by a licensed contractor and having it             7   you would strongly recommend that Randolph hire you,
    8        cleared, and dealing with the things that are the        8   right?
    9        cause of the issues.                                     9      A. No. I said we would -- I do not want
   10           Q. Okay. With respect to one of the                  10   this letter to be about us seeking a contract from
   11        families, there was an active toilet leak going on      11   you. I was recommending that they do the same, have
   12        when you were there. You don't even know whether        12   somebody come in and look at it.
   13        maintenance had had the opportunity to respond to       13      Q. All right. Well, you're pitching for the
   14        that yet, do you?                                       14   business, though.
   15           A. I do not.                                         15      A. There's nothing wrong with that.
   16           Q. Okay. So you don't know whether the               16      Q. There is not. But let's be honest about
   17        controls were being met or not; is that true?           17   it. You're asking her, I would strongly recommend
   18                  MR. REED: Objection; form.                    18   that Randolph hire me to do the same, right?
   19                  THE WITNESS: I suppose so.                    19      A. It doesn't say that.
   20           Q. (By Mr. Boone) All right. When you                20      Q. Okay. The last sentence there says "in
   21        disclosed the three reports, did you also disclose      21   helping them have a healthy home to breathe in."
   22        to her that there were things that were missing that    22   You have been clear with me, I think, that you -- it
   23        are required by the national standards you hold         23   is beyond your expertise to comment on whether any
   24        yourself to?                                            24   home is healthy or not, true?
   25                  MR. REED: Objection; form.                    25      A. True.


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    1           Q. That's not something that Kristy                  1      A. Correct.
    2        Beck-Miller is qualified to do, correct?                2             (Exhibit 51 marked.)
    3           A. Correct.                                          3      Q. (By Mr. Boone) And Exhibit 51, you're
    4           Q. And you didn't -- you did not intend to           4   also in the chain. Your search did not uncover any
    5        insinuate that any of these homes were unhealthy,       5   of that?
    6        did you?                                                6             MR. REED: Walter, we produced all of
    7           A. No.                                               7   these.
    8           Q. All right. I'll show you -- You also              8             MR. BOONE: That's true. But she
    9        remember at the beginning I asked you whether you       9   didn't.
   10        had looked for any e-mails with Air Force personnel;   10             MR. REED: They all came through us.
   11        do you recall that?                                    11             MR. BOONE: She didn't.
   12           A. Yes.                                             12             MR. REED: She's our expert. You
   13           Q. And you told me that you had searched but        13   have all the e-mails.
   14        you had not located any. Is that --                    14      Q. (By Mr. Boone) The answer to the
   15           A. It's hard for me to find anything that           15   question is, your search did not uncover that,
   16        goes back that far in my files, so...                  16   correct?
   17           Q. Okay. Well, this correspondence occurred         17      A. Correct.
   18        in April of 2019, right?                               18      Q. All right. So to Mr. Reed's point, you
   19           A. Okay.                                            19   produced no correspondence. You, Kristy
   20                 (Exhibit 48 marked.)                          20   Beck-Miller, produced no correspondence to or from
   21           Q. (By Mr. Boone) I'll show you Exhibit             21   the Air Force, right?
   22        Number 48 and ask if that's your e-mail address on     22      A. As far as I know. I know that -- like I
   23        there.                                                 23   said, from the beginning when this all started over
   24           A. Yes.                                             24   a year ago, I put together everything in files for
   25           Q. And so here's some communication by              25   Ryan, and then he came to me with what was missing.


                                                    Page 211                                                            Page 213
    1        Captain Herrmann, trying to set up this meeting with    1    So I could have done it back then, I could -- But
    2        Lenderman you're talking about, right?                  2    when I looked earlier -- well, last year, I didn't
    3            A. Right.                                           3    find anything left.
    4            Q. Your search did not uncover this e-mail?         4       Q. All right. So we asked for
    5            A. No.                                              5    correspondence with the Air Force, and you didn't
    6            Q. All right.                                       6    produce any, right?
    7                  (Exhibit 49 marked.)                          7       A. Correct.
    8            Q. (By Mr. Boone) Exhibit 49 is another             8              MR. REED: Objection; form.
    9        series of e-mails. Same kind of link that your          9       Q. (By Mr. Boone) And we asked for
   10        search did not uncover Exhibit 49 either? Is that      10    correspondence with the plaintiffs, and you didn't
   11        right?                                                 11    produce any?
   12            A. Correct.                                        12              MR. REED: Objection; form.
   13            Q. And you are listed on there in the loop         13              THE WITNESS: Correct.
   14        somewhere, aren't you?                                 14       Q. (By Mr. Boone) I want to ask a question
   15                  Actually, maybe not on Exhibit 49.           15    about the original designation -- or maybe the first
   16        It's about you but not to or from you; is that         16    amended designation, which is Exhibit 6.
   17        right?                                                 17              MR. BOONE: That's from yesterday.
   18            A. Correct.                                        18    In this stack?
   19            Q. All right.                                      19              THE REPORTER: Yes.
   20                  (Exhibit 50 marked.)                         20       Q. (By Mr. Boone) You with me?
   21            Q. (By Mr. Boone) But Exhibit 50, you're in        21       A. Yes.
   22        the chain, are you not?                                22       Q. Okay. I want to draw your attention to
   23            A. Yes.                                            23    Page 2 of this. It says, "Ms. Beck-Miller will
   24            Q. And your search did not uncover any of          24    testify that the environmental conditions she
   25        that?                                                  25    observed in houses on Randolph Air Force Base were


                                                                                   54 (Pages 210 to 213)
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                                                    Page 214                                                             Page 216
    1         similar and consistent, and that mold was frequently    1       Q. You did not have -- Well, you have not
    2         discovered in elevated quantities in the houses."       2    read their depositions?
    3                   Do you see that?                              3       A. No.
    4            A. Yes.                                              4       Q. You have not read their sworn
    5            Q. Okay. I want to -- My understanding is            5    interrogatory responses?
    6         that you have seen six houses total at Randolph; is     6       A. No.
    7         that true?                                              7       Q. You have not reviewed any of the
    8            A. True.                                             8    documents relating to that home, right?
    9            Q. The five that we've talked about plus the         9       A. Right.
   10         Hill residence, correct?                               10       Q. None of the maintenance records or
   11            A. Correct.                                         11    anything else, right?
   12            Q. And you are not intending to opine as to         12       A. Correct.
   13         any other home at Randolph, correct?                   13       Q. You don't know whether the conditions
   14            A. Correct.                                         14    that you saw had been reported by any of those
   15            Q. All right. And I think you told me               15    plaintiffs, do you?
   16         yesterday that to do -- You are a mold assessor,       16              MR. REED: Objection; form.
   17         right?                                                 17              THE WITNESS: No.
   18            A. Right.                                           18       Q. (By Mr. Boone) And you don't know what
   19            Q. And to assess a home, you actually have          19    the maintenance response, if any, had been, true?
   20         to go to the home, right?                              20       A. True.
   21            A. Correct.                                         21       Q. And you don't know whether the response
   22            Q. So you would not be qualified and would          22    was timely or appropriate, right?
   23         not have any of the relevant information to render     23       A. Right.
   24         an opinion about anything other than the six homes     24       Q. And you don't know whether the problem
   25         that you've seen.                                      25    was fixed or not, right?


                                                    Page 215                                                             Page 217
    1                  MR. REED: Objection; form.                     1        A. Right.
    2                  THE WITNESS: Correct.                          2       Q. You don't know whether the problem had
    3            Q. (By Mr. Boone) And you would also agree           3     occurred before that time or since that time,
    4         with me, would you not, that there are differences      4     correct?
    5         between the six homes that you saw?                     5        A. Correct.
    6            A. Yes.                                              6       Q. You don't know whether the plaintiff
    7            Q. All right. And both in terms of what you          7     family was satisfied with the repair or not --
    8         saw, the severity of what you saw, the test results,    8        A. Correct.
    9         they are different home to home, as we've been          9       Q. -- right?
   10         through in agonizing detail, right?                    10               You've not read any of the
   11            A. Right.                                           11     correspondence about any of repairs?
   12            Q. Okay. So you're not intending to give            12        A. Correct.
   13         any opinions as to any home other than those six,      13       Q. Nor any of documents that the defendants
   14         right?                                                 14     produced about them, correct?
   15            A. Right.                                           15        A. Correct.
   16            Q. And in fact, none of your reports touch          16       Q. You've seen no photos that any of the
   17         on any of those homes -- anything other than the six   17     plaintiffs took of the homes, have you?
   18         that you've written reports about?                     18        A. No.
   19            A. Correct.                                         19       Q. You took all your own photos?
   20            Q. Okay. And for the five plaintiffs in the         20        A. Correct.
   21         Daniels case --                                        21       Q. You have not inspected any home at
   22            A. Okay.                                            22     Randolph other than the six we've talked about?
   23            Q. -- that's Paisano, Hiatt, Daniels, Wolf,         23        A. Correct.
   24         Vinales, right?                                        24       Q. And you've only prepared reports for
   25            A. Right.                                           25     those six houses?


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                                                  Page 218                                                            Page 220
    1          A. Correct.                                         1              (Exhibit 52 marked.)
    2          Q. You don't know anything about the                2       Q. (By Mr. Boone) I'll show you Exhibit 52,
    3        Humidity Reduction Project, do you?                   3    which is the rebuttal designation. Take a minute to
    4          A. No.                                              4    read your section of that.
    5          Q. Or even what that is, right?                     5       A. (Reviewing document.)
    6          A. No.                                              6       Q. Have you read it?
    7          Q. Or whether that has worked or not worked;        7       A. Yes.
    8        you don't know anything about it?                     8       Q. All right. Have you seen this before?
    9          A. Nothing.                                         9       A. I don't believe so.
   10          Q. And you've reviewed none of the documents       10       Q. All right. This is Plaintiffs'
   11        about that project?                                  11    Designation of Rebuttal Expert Witnesses. Do you
   12          A. No.                                             12    know what a rebuttal expert witness is?
   13          Q. You haven't conducted any tests or any          13       A. Can you explain it to me so I can be
   14        other kind of measurements on any other home other   14    clear?
   15        than the six we're talking about?                    15       Q. Yeah. You have an expert witness that
   16          A. Correct.                                        16    says "I'm going to opine as to A-B-C." And the
   17                  MR. REED: At Randolph or in general?       17    other side has the opportunity to designate a
   18                  MR. BOONE: At Randolph.                    18    rebuttal expert witness, which says, "I disagree
   19                  THE WITNESS: I made the assumption         19    with what he" -- or she -- "said about A-B-C."
   20        he was speaking Randolph.                            20       A. Okay.
   21                  MR. BOONE: I was. And thank you for        21       Q. So did you know that you were a rebuttal
   22        the objection. I was speaking about Randolph.        22    expert witness?
   23                  MR. REED: Fair enough.                     23       A. I'm sure that he's told me. I did not --
   24          Q. (By Mr. Boone) And there are four other         24    I'm learning new terms here, so yeah.
   25        plaintiffs that are in the Daniels case, Conzen,     25       Q. I gotcha.


                                                  Page 219                                                            Page 221
    1         Alexander, Kline and Hamilton. You have not done     1              It's for the first time in, I guess,
    2         mold assessments for those homes?                    2    federal court you've ever done this, right?
    3           A. No.                                             3       A. Right.
    4           Q. Rendering no opinions --                        4       Q. And the rules require an expert rebuttal
    5           A. Wait.                                           5    report. And you have not drafted such, have you?
    6                 THE WITNESS: Did I do Hamilton?              6       A. No.
    7                 MR. REED: Was it in the stack?               7              MR. REED: And let me offer something
    8                 MR. BOONE: No.                               8    just to see if it clarifies. We are only offering
    9                 THE WITNESS: Okay.                           9    her as a rebuttal to stand by the testing she does
   10           Q. (By Mr. Boone) Hill was in the stack.          10    to the extent your folks have said she's done it
   11           A. Okay. Yes.                                     11    wrong.
   12           Q. But that was in the other case.                12              MR. BOONE: Okay. But I guess I
   13           A. Okay.                                          13    don't know what parts of that she disagrees with,
   14                 MR. REED: And you did a Hamilton at         14    and that's my point.
   15         Fort Hood.                                          15              MR. REED: Sure. Understood.
   16                 THE WITNESS: Fort Hood. Right.              16       Q. (By Mr. Boone) So we don't have a report
   17         Okay. You're correct.                               17    from you saying -- Well, let me back up.
   18           Q. (By Mr. Boone) Okay. So to clean that          18              Let's go with Exhibit 52. It says
   19         up, no mold assessments at Conzen, Alexander,       19    that you were designated as a rebuttal witness to
   20         Hamilton or Kline, right?                           20    all mold assessment consultants designated by
   21           A. Right.                                         21    defendant and specifically to George Coto and to
   22           Q. Giving no opinions about any of those          22    Rachel Adams. Do you see that?
   23         homes whatsoever, right?                            23       A. Yes.
   24           A. No. None.                                      24       Q. Now, I have, in the course of the
   25           Q. Okay. Last subject.                            25    deposition, shown you both of those reports, right?


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                                                    Page 222                                                             Page 224
    1            A. Right.                                            1              MR. REED: We'll reserve our
    2            Q. George Coto you told me you had seen              2      questions for trial.
    3         before, right?                                          3              (Deposition concluded, 4:11 p.m.)
    4            A. Right.                                            4                     -oOo-
    5            Q. All right. And Rachel Adams, you told me          5
    6         that you had not even seen that one before.             6
    7            A. Correct.                                          7
    8            Q. So you don't know what's in that                  8
    9         report -- Well, we went through it, actually. And       9
   10         you agreed with all that she said about contents; is   10
   11         that correct?                                          11
   12            A. Correct.                                         12
   13            Q. All right. But other than that, you              13
   14         don't know what's in that report that you may          14
   15         disagree with or not, true?                            15
   16            A. True.                                            16
   17            Q. Okay. And as to George Coto,                     17
   18         you don't -- can you tell me specifically what it is   18
   19         you disagree about what he said?                       19
   20            A. Not without going through line by line           20
   21         and things like that.                                  21
   22            Q. Okay. And that's -- And that's what              22
   23         rebuttal expert witnesses do. They go line by line     23
   24         and say, "You said this, and I disagree. You           24
   25         haven't done that analysis." Correct?                  25

                                                    Page 223                                                             Page 225
    1          A. Correct.                                            1           CHANGES AND SIGNATURE
    2          Q. So you can't tell me sitting here today             2   KRISTY BECK-MILLER                   MAY 5, 2022
    3        which specific opinions of George Coto's that you        3   PAGE LINE      CHANGE         REASON FOR CHANGE
    4        rebut or disagree with, true?                            4   ____________________________________________________
    5          A. True.                                               5   ____________________________________________________
    6          Q. All right. And George Coto's report is              6   ____________________________________________________
    7        the only report that you have seen from the              7   ____________________________________________________
    8        defendants; is that correct?                             8   ____________________________________________________
    9          A. Correct.                                            9   ____________________________________________________
   10          Q. All right. I think those are all the               10   ____________________________________________________
   11        questions I have. Let me just do a little               11   ____________________________________________________
   12        housekeeping and make sure. So it'll be about five      12   ____________________________________________________
   13        minutes, and I'll let you know for sure.                13   ____________________________________________________
   14                 (Short break.)                                 14   ____________________________________________________
   15                 (Exhibit 53 marked.)                           15   ____________________________________________________
   16          Q. (By Mr. Boone) Ms. Beck-Miller, just one           16   ____________________________________________________
   17        more final housekeeping matter. I've marked, as         17   ____________________________________________________
   18        Exhibit Number 53, your list of things that you're      18   ____________________________________________________
   19        going to look for, correct?                             19   ____________________________________________________
   20          A. Correct.                                           20   ____________________________________________________
   21          Q. And you're going to provide those to               21   ____________________________________________________
   22        Mr. Reed. Mr. Reed will send those on to me, right?     22   ____________________________________________________
   23          A. Right.                                             23   ____________________________________________________
   24                 MR. BOONE: With that, no further               24   ____________________________________________________
   25        questions.                                              25   ____________________________________________________



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                                                             Page 226                                                       Page 228
    1             I, KRISTY BECK-MILLER, have read the                   1    herein on ___________________.
    2       foregoing deposition and hereby affix my signature           2           I further certify that pursuant to FRCP
    3       that same is true and correct, except as noted               3    Rule 30 (f)(1) that the signature of the deponent:
    4       above.                                                       4           _______ was requested by the deponent or
                                                                         5    a party before the completion of the deposition and
    5
                                                                         6    that the signature is to be before any notary public
    6                ____________________________
                                                                         7    and returned within 30 days from date of receipt of
    7                KRISTY BECK-MILLER                                  8    the transcript. If returned, the attached Changes
    8                                                                    9    and Signature Page contains any changes and the
    9       THE STATE OF __________ )                                   10    reasons therefore:
   10       COUNTY OF _____________ )                                   11           _______ was not requested by the deponent
   11                                                                   12    or a party before the completion of the deposition.
   12             Before me ____________________ on this
                                                                        13           I further certify that I am neither
                                                                        14    counsel for, related to, nor employed by any of the
   13       day personally appeared KRISTY BECK-MILLER, known to
                                                                        15    parties or attorneys in the action in which this
   14       me to be the person whose name is subscribed to the         16    proceeding was taken, and further that I am not
   15       foregoing instrument and acknowledged to me that            17    financially or otherwise interested in the outcome
   16       they executed the same for the purpose and                  18    of the action.
   17       consideration therein expressed.                            19           Certified to by me on this _____ day of
   18             Given under my hand and seal of office                20    __________, _____.
   19       this _____ day of ____________, ______.                     21              _________________________________
                                                                        22              TERRY L. SCHULTZ, Texas CSR 7042
   20
                                                                                        Expiration Date: 12/31/22
   21
                                                                        23              Hoffman Reporting & Video Service
   22                __________________________________                                 206 E. Locust
   23                NOTARY PUBLIC IN AND FOR                           24              San Antonio, Texas 78212
   24                THE STATE OF ______________                                        Telephone No.: (210) 736-3555
   25                My Commission Expires: ___________                 25              Fax No.: (210) 736-6679


                                                             Page 227                                                       Page 229
     1          IN THE UNITED STATES DISTRICT COURT                      1    COUNTY OF BEXAR )
                 FOR THE WESTERN DISTRICT OF TEXAS                       2    STATE OF TEXAS )
     2               SAN ANTONIO DIVISION                                3
     3      MICHAEL J. DANIELS, ET AL., )
                                                                         4
                          )
                                                                         5           I hereby certify that the witness was
     4       PLAINTIFFS,         )
                          )                                              6    notified on ____________________ that the witness
     5      VS.             ) CASE NO.                                   7    has 30 days or (________ days per agreement of
                          ) SA-19-CA-01280-FB                            8    counsel) after being notified by the officer that
     6      AETC II PRIVATIZED HOUSING, )                                9    the transcript is available for review by the
            LLC, ET AL.,        )                                       10    witness and if there are changes in the form or
     7                    )                                             11    substance to be made, then the witness shall sign a
              DEFENDANTS.          )                                    12    statement reciting such changes and the reasons
    8                                                                   13    given by the witness for making them:
    9       ****************************************************        14           That the witness' signature was/was not
   10                  REPORTER'S CERTIFICATE
                                                                        15    returned as of _________________.
   11            ORAL DEPOSITION OF KRISTY BECK-MILLER
   12                     MAY 5, 2022
                                                                        16           Subscribed and sworn to on this, the
   13                      VOLUME TWO                                   17    _____ day of _________, _____.
   14       ****************************************************        18
   15              I, TERRY L. SCHULTZ, Certified Court                 19              _________________________________
   16       Reporter in and for the State of Texas, hereby              20              Hoffman Reporting & Video Service
   17       certify to the following:                                                   206 E. Locust
   18              That the witness, KRISTY BECK-MILLER, was            21              San Antonio, Texas 78212
   19       duly sworn by the officer and that the transcript of                        Telephone No.: (210) 736-3555
   20       the oral deposition is a true record of the                 22              Fax No.: (210) 736-6679
   21       testimony given by the witness;
                                                                                        Firm Registration No. 93
   22              That the original deposition transcript
   23       was delivered to _________________________________;
                                                                        23
   24              That a copy of this certificate was                  24
   25       served on all parties and/or the witness shown              25


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